Case1 6:08-cv-00088-LED
                   IN THE Document
                          UNITED STATES DISTRICT
                                   421 Filed     COURT Page 1 of 252 PageID #: 38572
                                             10/20/10
                       FOR THE EASTERN DISTRICT OF TEXAS
    2                           TYLER DIVISION

    3   MIRROR WORLDS, LLC            *       Civil Docket No.
                                          *
    4                                 *       6:08-CV-88
        VS.                           *       Tyler, Texas
    5                                 *
                                      *       September 29, 2010
    6   APPLE, INC., ET AL            *       12:30 P.M.

    7
                        TRANSCRIPT OF JURY TRIAL
    8                       AFTERNOON SESSION
                   BEFORE THE HONORABLE LEONARD DAVIS
    9                 UNITED STATES DISTRICT JUDGE

   10   APPEARANCES:

   11                          FOR THE PLAINTIFF

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        MR. KENNETH STEIN
   13   MR. IAN G. DIBERNARDO
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   21   MS. JUDY WERLINGER, CSR
        Official Court Reporters
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   23   903/590-1171

   24   (Proceedings recorded by mechanical stenography,
        transcript produced on CAT system.)
   25
Case1 6:08-cv-00088-LED Document
                        FOR THE DEFENDANTS
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   2

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                                            G S     Page 3 of 252 PageID #: 38574
   2                     COURT SECURITY OFFICER:      All rise.

   3                     (Jury in.)

   4                     THE COURT:     All right.   Please be seated.

   5                     All right.     I hope you had a good lunch,

   6   although hurried.

   7                     JUROR:   Great.     Thank you.

   8                     THE COURT:     All right.   You may proceed.

   9                     MR. CARROLL:      Thank you, Your Honor.

  10      GUY LESLIE "BUD" TRIBBLE, M.D., Ph.D., PLAINTIFF'S

  11                     WITNESS, PREVIOUSLY SWORN

  12                   DIRECT EXAMINATION (CONTINUED)

  13   BY MR. CARROLL:

  14        Q    Dr. Tribble, if I've got it right, you're here

  15   to tell the jury about your company, Apple?

  16        A    That's correct, yes.

  17        Q    Okay.     And it's true, is it not, that Apple --

  18   excuse me -- was founded by three fellows:         Mr. Jobs,

  19   whom we've heard about; Mr. Wozniak -- is that how you

  20   pronounce it?

  21        A    Wozniak, or people call him Woz.

  22        Q    Woz.     And there was a third founder, a guy

  23   named Ron Wayne; not John Wayne, but Ron Wayne, correct?

  24        A    I'm not real familiar with that.         That was

  25   prior to 1980 when I joined the company.
Case1 6:08-cv-00088-LED
             Q    Right. Document
                         That was 421
                                  -- but  you10/20/10
                                       Filed  know the Page
                                                        story.
                                                             4 of 252 PageID #: 38575
    2   He was the older of the -- the oldest of the three, and

    3   right after he founded the company with Woz and Jobs, he

    4   got cold feet and sold his 10 percent of Apple for less

    5   than $3,000.

    6                You know that story, do you not?

    7        A       I actually don't.

    8        Q       Really?

    9        A       No.

   10        Q       Well, the point is, that today, that's -- that

   11   interest in Apple --

   12                        MR. RANDALL:     I'm going to object, Your

   13   Honor.    There's no foundation for this, and it's just

   14   testimony.

   15                        THE COURT:     Sustained.

   16        Q       (By Mr. Carroll) Do you own interest in Apple

   17   shares?

   18                I say own it; you own Apple shares, correct?

   19        A       Yes, I do.

   20        Q       Okay.     So in that regard, you have an interest

   21   in the outcome of this case, do you not?

   22        A       Sure.

   23        Q       To the effect that -- or to the point that it

   24   may affect share prices?

   25        A       To the point it may affect the share price,
Case1 6:08-cv-00088-LED
        that would affect Document
                          my -- the421
                                    shares  that
                                        Filed    I own. Page 5 of 252 PageID #: 38576
                                              10/20/10
    2           Q   Right.   And, of course, you are still an

    3   employee drawing a salary?

    4           A   That's correct.

    5                     MR. CARROLL:     Pass the witness.

    6                     THE COURT:     All right.

    7                     MR. RANDALL:     No questions, Your Honor.

    8                     THE COURT:     All right.    You may step

    9   down.

   10                     Who will be your next witness?

   11                     MR. CARROLL:     Walt -- Walt Bratic, Your

   12   Honor.

   13                     THE COURT:     Mr. Bratic.

   14                     COURT SECURITY OFFICER:        Were you sworn?

   15                     THE WITNESS:     Yes, sir, I was sworn.

   16                     May I be seated, Your Honor?

   17                     THE COURT:     Yes, you may.

   18                     MR. CARROLL:     If the Court please, Your

   19   Honor.

   20                     THE COURT:     You may proceed.

   21     WALTER BRATIC, PLAINTIFF'S WITNESS, PREVIOUSLY SWORN

   22                         DIRECT EXAMINATION

   23   BY MR. CARROLL:

   24           Q   Mr. Bratic, would you give the jury your name

   25   and where you live and what you do, please?
Case1 6:08-cv-00088-LED
             A    Sure. My name is421
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                                        Bratic,  and I Page
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    2   Houston, Texas.      I'm a certified public accountant.     I

    3   have some other credentials and degrees, and I am

    4   basically a financial and economic analyst.      And I work

    5   with a lot of statistical, accounting, economic, and

    6   financial data.

    7        Q     Tell the jury, please, what your job in this

    8   case is.

    9        A     My job in this case was to determine the

   10   amount of royalties, the amount of damages that are due

   11   and owing to Mirror Worlds, assuming that Apple has

   12   infringed the three patents-in-suit.

   13        Q     Look --

   14                     MR. CARROLL:   Can we put up the first

   15   Bratic slide, James, with Mr. Bratic's qualifications

   16   and experience -- or education?

   17        Q     (By Mr. Carroll) Tell the jury pretty quickly,

   18   Mr. Bratic, what this slide is telling us, other than

   19   just reading it?

   20        A     Well, sure.     It's just got highlights of some

   21   things I've done.

   22              For example, I've been a certified public

   23   accountant here in Texas for almost 30 years now.         I'm

   24   also a certified licensing professional.      What that

   25   means is that I've been -- received the qualification
Case1 6:08-cv-00088-LED
        and credentials toDocument
                           be a certified licensing
                                   421 Filed 10/20/10 Page 7 of 252 PageID #: 38578
   2   professional, because I've been doing licensing work for

   3   clients for 30 years now -- actually, 35 years, if you

   4   go back to the very first time I executed a license.

   5             I also have an undergraduate degree and an MBA

   6   from the Wharton School of Business at the University of

   7   Pennsylvania.   I speak a lot on the subject of

   8   intellectual property, including patents.

   9             I've spoken at many conferences in the United

  10   States and overseas as far away as South Africa.

  11             I teach on the subject of intellectual

  12   property as well every year.   I teach classes at the

  13   University of Houston Law School in the fall and in the

  14   spring on intellectual property subject matter.

  15             I'm also sitting on the editorial board of a

  16   publication called Managing Intellectual Property.      Now,

  17   that's a publication that's written for lawyers and

  18   business people about intellectual property issues.      And

  19   it's published around the world, and I sit on the

  20   editorial board.

  21             And what it means -- being on the editorial

  22   board, it means when people want to submit articles for

  23   publication in that journal, I have to go in -- one of

  24   my jobs is to review those articles to see if they meet

  25   our standards and if they would teach somebody something
Case1 6:08-cv-00088-LED
        useful.         Document 421 Filed 10/20/10 Page 8 of 252 PageID #: 38579
   2           Q   Now, my note says that you are presently the

   3   Managing Director of OverMont Consulting, LLC; is that

   4   true?

   5           A   Yes.

   6           Q   And what's the specialty of OverMont

   7   Consulting, LLC?

   8           A   Well, we work on a variety of financial,

   9   economic, accounting, and statistical issues, so we

  10   delve into a lot of data and pour through data and

  11   analyze data and try to figure out what it means.

  12               We do a lot of licensing work for clients.      We

  13   value business assets, whether they're software,

  14   computers, companies that make these.     Any type of

  15   business assets, we actually also place a value on.

  16               And then from time to time, and quite often, I

  17   end up serving as an expert witness in matters like the

  18   one before us today.

  19           Q   Excuse me.   Going back to your work

  20   background, have you been involved with intellectual

  21   property as an accountant back when you practiced?

  22           A   Oh, yes.

  23           Q   Tell the jury about that.

  24           A   Well, part of my work there was I was doing

  25   licensing work and I was doing tax returns.        I was doing
Case1 6:08-cv-00088-LED
        valuation of intellectual
                         Documentproperty and
                                  421 Filed   other assets.
                                            10/20/10 Page 9 of 252 PageID #: 38580
   2        Q      Let me ask you this at this point, Mr. Bratic:

   3   There's been some suggestion that tax returns reflect

   4   the value of an asset.     You're a CPA.

   5               Is that true or false?

   6        A      No, that's not true at all.

   7        Q      Tell the jury why.

   8        A      Well, because companies are required to put

   9   their assets on the balance sheet, and what they are

  10   required to report to the IRS is what they paid for an

  11   asset.   And that's what recognition interface did, is

  12   they reported to the IRS, the Internal Revenue Service,

  13   that they paid $218,000 approximately, to acquire the

  14   assets of Mirror Worlds.

  15               Now, that is different than the issue of what

  16   is the value of those patents and other assets that were

  17   acquired.

  18               For example, you look at Apple's balance sheet

  19   today, Apple, on its books, is worth about $43 billion.

  20   That's billion.    Yet the value of Apple is about $265

  21   billion, based on the stock price back this past Monday.

  22               So here you have Apple that's worth six times

  23   more than what its books show it's worth.    And that's

  24   why valuation doesn't necessarily have to do with what a

  25   company reports that it paid for acquiring certain
Case16:08-cv-00088-LED
        assets.        Document 421 Filed 10/20/10 Page 10 of 252 PageID #: 38581
    2        Q    Okay.     Now -- thank you.

    3             You told the jury -- excuse me -- a second ago

    4   that you have a lot of experience in calculating

    5   economic damages in patent disputes.

    6             What does that mean?

    7        A    Sorry.     I'm destroying federal property.    I

    8   lost the cap to this, but I guess I'll find it later.

    9             Okay, I'm sorry.     Would you repeat?

   10        Q    You want me to ask the question again?

   11        A    Please.

   12        Q    Tell the jury what it means to calculate

   13   economic damages in patent disputes.

   14        A    Well, the idea of determining economic damages

   15   in a patent dispute is find out what is the technology

   16   worth to those who use the technology.

   17             In this case, I am required to assume, for the

   18   purpose of my analysis, that the three patents that are

   19   in litigation in this court are valid patents and that

   20   Apple has infringed them.

   21             Apple's damages expert, Dr. Ugone, has to make

   22   that same assumption.     So the issue is, what is the

   23   value of using that property or that asset, because

   24   intellectual property is just like real estate.     Like

   25   the Farmer Brown example you gave, it's real estate;
Case16:08-cv-00088-LED
        it's property. Document 421 Filed 10/20/10 Page 11 of 252 PageID #: 38582
    2               And you have rights associated with the

    3   property.    You can sell it; you can license that real

    4   estate; you can charge rent for the use of that real

    5   estate or what's underneath, like the minerals.

    6               And that's no different than patents.

    7        Q      Now, have you testified before as an expert on

    8   the issue of economic damages in a patent infringement

    9   lawsuit?

   10        A      Yes, I have, on numerous occasions.

   11        Q      Have you testified in this very courtroom in

   12   front of this very Judge?

   13        A      I have on several occasions.

   14        Q      Have you worked for me?

   15        A      Yes, I have.

   16        Q      Have you worked against me?

   17        A      Yes, I have.

   18        Q      In this very courtroom?

   19        A      Yes, in this very courtroom.

   20        Q      And have you worked for the law firm that

   21   Apple is using?

   22        A      Yes, I have.

   23        Q      Okay.   Tell the jury what -- have you ever

   24   been hired or appointed by a court to serve as an expert

   25   or an Examiner?
Case16:08-cv-00088-LED
             A    Yes, I Document
                         have.    421 Filed 10/20/10 Page 12 of 252 PageID #: 38583
    2        Q       Tell the jury about that.

    3        A       Well, I've been hired by federal -- I mean --

    4   excuse me -- I've been hired by a federal court to be a

    5   court-appointed expert where I consulted with the Court

    6   on a patent infringement matter on the economic issues.

    7   And both parties agreed to pay my expenses for me to

    8   basically educate the judge about various economic

    9   issues, not the law, of course.

   10                And then I've also been hired by various state

   11   judges here in Texas, in Dallas and in Houston, as a

   12   court-appointed expert, and that's where I get hired by

   13   the Court.     I prepare a report for the Court.      And when

   14   the Court adopts my findings, then they are binding on

   15   all the parties.

   16                And so I've done that on several occasions.

   17        Q       Okay.

   18                        MR. CARROLL:   James, let's put up

   19   Slide 3, please.

   20        Q       (By Mr. Carroll) What's the slide telling the

   21   jury, Mr. Bratic?

   22        A       Well, this is kind of a roadmap to what I did

   23   to investigate the issue of patent damages in this case.

   24   So there are a number of things I did.

   25                And not to read everything for you, but
Case16:08-cv-00088-LED
        obviously I had read the patents-in-suit,
                         Document                 the Page
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    2   patents, but I'm not a lawyer; I'm not a technical

    3   expert.   But I obviously wanted to learn something about

    4   the patents, so I read them before I interviewed the

    5   technical expert in this case, Dr. Levy.

    6              Then I interviewed a number of people in this

    7   matter, including Dr. Gelernter.   I also interviewed Dr.

    8   Levy on several occasions.   I interviewed Frank Weil,

    9   Dr. Levy's colleague, Dr. Loy, and I interviewed Robert

   10   Raich, as an example.

   11              I also read a number of deposition transcripts

   12   of various people who were deposed, such as, for

   13   example, Mr. Lindsay and Mr. Serlet.

   14              I also reviewed a number of business records.

   15   Apple has produced a lot of business records regarding

   16   their sales of various products, so I reviewed and

   17   analyzed all those to find and figure out, one, how much

   18   money Apple has generated; how much sales has it had of

   19   these accused products in the last five-and-a-half years

   20   of infringement; and, second, how much profits they've

   21   made on those infringing sales.

   22              So that's an example of some of the work I

   23   did.

   24              I also did independent research going out on

   25   the internet looking up references made to Apple,
Case16:08-cv-00088-LED
        Apple's products,Document
                          and the accused products
                                  421 Filed        in Page
                                            10/20/10  the 14 of 252 PageID #: 38585

    2   literature.

    3        Q    Now, the last bullet point on this slide says

    4   that you filed two expert reports.

    5             Are those voluminous?

    6        A    Yes.     Well, the first one is.   The first one

    7   is short of 200 pages.

    8        Q    All right.

    9        A    And the second one is thinner, because it's a

   10   narrower subject matter.

   11        Q    And approximately, how long have you worked on

   12   this engagement?

   13        A    Well, over a year, but really it picked up

   14   this spring when we started getting documents.      So I

   15   would say six months.

   16        Q    All right.     And obviously, you're being paid?

   17        A    Yes.

   18        Q    Or your company's being paid?

   19        A    Correct.

   20        Q    What's the rate that you're being paid?

   21        A    Well, my billing rate is $580 an hour.

   22        Q    Do you have an estimate of how much your

   23   company's charged Mirror Worlds for this engagement?

   24        A    Yes.     For our investigation, we've billed

   25   about $400,000.
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             Q    Okay. Document 421 Filed 10/20/10 Page 15 of 252 PageID #: 38586

    2                    MR. CARROLL:   Now, let's go to Slide 4.

    3           Q   (By Mr. Carroll) What does Slide 4 tell us?

    4           A   Oh, this is just a patent statute.   Patent

    5   statute says, basically, that a patentee is entitled to

    6   compensation for damages, and it says in no event less

    7   than a reasonable royalty.

    8               So because Mirror Worlds doesn't compete with

    9   Apple, Mirror Worlds doesn't make products that compete

   10   with Apple, Mirror Worlds would only be seeking a

   11   reasonable royalty, like the rent for the use of

   12   somebody's land.

   13           Q   Let's --

   14                    MR. CARROLL:   Let's go to Slide 5, James.

   15           Q   (By Mr. Carroll) What is Slide 5 telling the

   16   jury?

   17           A   Slide 5 is my conclusion regarding the amount

   18   of reasonable royalties that are due and owing Mirror

   19   Worlds, assuming the patents-in-suit are valid and have

   20   been infringed by Apple.     And that number is $625

   21   million.

   22           Q   Now, that's a lot of money.

   23           A   Well, it is, but you have to put it all in

   24   perspective.

   25           Q   How much did Apple sell of the products that
Case16:08-cv-00088-LED
        include the features we've 421
                         Document   accused
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                                                 this lawsuit?
                                                         Page 16 of 252 PageID #: 38587
    2        A      Apple has sold over 72 billion dollars' worth

    3   of product.    So this $625 million represents less than

    4   one penny on every dollar of sales.

    5        Q      Is that what this slide is telling us?

    6        A      Yeah, this is exactly what this is showing.

    7               So here I've got an example.   I've got Apple

    8   selling $72 billion of infringing sales going back to

    9   the spring of 2005, when the Tiger OS operating system

   10   upgrade was first sold.

   11               And then the royalty of $625 million is just

   12   less -- it's .8 percent, so it's just under a penny.

   13   That's why the penny is sliced off at the top, because

   14   the royalty is less than a penny.

   15        Q      You heard -- you've been in the courtroom

   16   during the whole trial, have you not?

   17        A      I've been here, yes.

   18        Q      You heard me tell the jury on opening

   19   statement that Apple was making $50 million today for

   20   selling the products that have the accused features.

   21               Is that true?

   22        A      Correct.

   23        Q      And they made it yesterday and they'll make it

   24   tomorrow?

   25        A      Correct.
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             Q    Based on that rate,
                         Document 421 how many
                                       Filed    days would
                                             10/20/10  Pageit
                                                            17 of 252 PageID #: 38588
    2   take for Apple to recoup the money that we're asking the

    3   jury to give us for patent infringement?

    4        A     About 13 days.

    5        Q     And they would have completely been

    6   reimbursed?

    7        A     Yes.

    8        Q     Mr. Bratic, do you believe that there are

    9   factors that you've seen and considered in this patent

   10   infringement case that are special?

   11        A     Yes.

   12        Q     Can you tell the jury about that?

   13        A     Well, I've been involved in a number of patent

   14   cases over the years, and this one is very unique in

   15   several respects, based on my analysis.

   16              And that is that we have Dr. Gelernter, who's

   17   considered a visionary and pioneer in his field.      We

   18   have Steve Jobs, the CEO of Apple, who claimed that --

   19   who made the statement that Spotlight, one of the

   20   accused features, was a revolutionary product.

   21              We also have then -- so he's the CEO of the

   22   company.   And not only does he say the product is

   23   revolutionary, but then he becomes a spokesman for the

   24   product, and he's telling everybody how wonderful the

   25   product is at two conferences.   So he becomes very
Case16:08-cv-00088-LED
        active in promoting that product.
                         Document 421 Filed 10/20/10 Page 18 of 252 PageID #: 38589
    2                And he also went so far as to be the person

    3   who named that product Spotlight.        So he was very

    4   intimately involved.

    5                And you don't see that -- I have not seen that

    6   in other cases where the CEO of a company basically

    7   embraces the technology and becomes really a champion

    8   for it.     I've never seen that before in a patent case.

    9        Q       Now, you were in the courtroom when the jury

   10   heard evidence about the -- what Dr. Tribble referred to

   11   as senior executives took an interest in the Mirror

   12   Worlds technology.

   13                Is that significant?

   14        A       Yes.    I mean, that's -- that's an example of

   15   how the top brass at Apple took a very serious interest

   16   in this technology.

   17                And I shouldn't say just a serious, one-time

   18   interest.     It was an ongoing interest, going all the way

   19   back to when that first e-mail was released by Mr. Jobs

   20   saying take a look at this and let's see about securing

   21   a license ASAP.

   22                This one from -- this is from 2001, all the

   23   way to very recently.

   24        Q       All right.

   25                       MR. CARROLL:   Let's go to Slide No. 8.
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Carroll) 421
                                    What Filed
                                         is Slide   No. 8Page
                                               10/20/10   telling
                                                              19 of 252 PageID #: 38590
    2   the jury, Mr. Bratic?

    3         A   Are we on 8 or -- 8 we just saw.     That was the

    4   one about seeking a license.

    5                  MR. CARROLL:     I want the patent damage

    6   terms.

    7                  There we go.

    8         A   This one?

    9         Q   (By Mr. Carroll) Yeah.

   10             What's this designed to help the jury with?

   11         A   Well, there's some terms I'm going to be using

   12   during my testimony, and I just thought I'd summarize

   13   these terms for the jury.     When they hear them, they'll

   14   know what I'm referring to.

   15             So, for example, when I talk about Apple's

   16   infringing software products, that would be this little

   17   box that's got the software -- the Leopard software in

   18   it.

   19             When I talk about Apple's infringing hardware

   20   products, I'm talking about the PC, as an example,

   21   that's in this box.

   22             So I'm going to set this aside for a second.

   23             So this is the infringing hardware.

   24             Now, the royalty base is the infringing sales.

   25   How much accused product has been sold of these type
Case16:08-cv-00088-LED
        products?      Document 421 Filed 10/20/10 Page 20 of 252 PageID #: 38591
    2           Q      Let me interrupt you.     Is that the $72

    3   billion?

    4           A      Yes, that's the $72 billion.     That's the

    5   royalty base.         It's part of a formula I'm going to show

    6   you in a minute.

    7                  The other part of the formula is the royalty

    8   rate.       What amount of rent or royalties do you charge

    9   Apple for the right to include the patented features in

   10   these products?

   11           Q      Let me stop you right there.

   12                         MR. CARROLL:   Put up Farmer Brown 3.

   13                         Here we go.

   14           Q      (By Mr. Carroll) Some people in East Texas are

   15   fortunate enough to have oil or gas under the minerals

   16   that -- that they own.

   17           A      Correct.

   18           Q      And those folks may have an oil and gas lease.

   19           A      Correct.

   20           Q      And that lease may call for a percentage of

   21   the production that comes from Apple -- from under their

   22   ground.

   23           A      Yes.

   24           Q      You know all about that?

   25           A      Yes.
Case16:08-cv-00088-LED
             Q    Are youDocument
                          such a fortunate
                                  421 Filedsoul?
                                            10/20/10 Page 21 of 252 PageID #: 38592
    2        A     I am not.    That's why I am here working today.

    3        Q     But let's assume that Farmer Brown and the oil

    4   company here have an oil and gas lease, and that Farmer

    5   Brown's lease, let's say, is 1/8, 12-1/2 percent.

    6              What would that mean --

    7        A     That would be --

    8        Q     -- by an example?

    9        A     That would be the royalty rate that he would

   10   be charging --

   11        Q     Let's assume -- I'm sorry.     Go ahead.

   12        A     That he would be charging the oil company for

   13   the oil it pumps out of his ground.

   14        Q     And let's assume -- so for -- let's assume

   15   that's an oil well.     Maybe that's over in New London or

   16   Kilgore or somewhere; and that for every hundred barrels

   17   that comes out of that well, the farmer would get what?

   18        A     He would get $8.

   19        Q     For 12-1/2 barrels?

   20        A     I'm sorry?

   21        Q     If it's --

   22        A     A hundred barrels, yeah, he'd get 12-1/2

   23   barrels.

   24        Q     He would get 12-1/2 barrels?

   25        A     Yes, 8 percent of that.
Case16:08-cv-00088-LED
             Q    Okay. Document
                        Or an eighth?
                                 421 Filed 10/20/10 Page 22 of 252 PageID #: 38593
    2        A     Or an eighth.

    3        Q     Okay.   Now, if the -- and, again, the math is

    4   the math, but the fact of the matter is that what the

    5   farmer gets would be based upon what, Mr. Bratic?

    6        A     What's called throughput, volume, the amount

    7   of oil produced.      And that's -- the analogy I gave you

    8   earlier in your Farmer Brown analogy is the royalty that

    9   we're talking about is applied to the amount of oil that

   10   comes out of the ground.

   11              And that's very much like the formula that I

   12   have here for patent damages in this case.      We have a

   13   royalty rate that I've explained, times a royalty base,

   14   which is the $72 billion of infringing product that have

   15   been sold in the last five-and-a-half years.

   16        Q     So the more the oil, the better for both,

   17   right?

   18        A     Correct.

   19        Q     The more the sales, the better for both,

   20   correct?

   21        A     That's right.

   22        Q     Is that the formula that you understand the

   23   law favors?

   24        A     Yes.

   25        Q     Now, the Apple folks have a damage expert, Dr.
Case16:08-cv-00088-LED
        Ugone, who's sitting way back
                         Document 421 onFiled
                                          the 10/20/10
                                               back, correct?
                                                        Page 23 of 252 PageID #: 38594
    2           A      Correct.

    3           Q      And you've looked at his work?

    4           A      Correct.

    5           Q      He doesn't use this formula, does he?

    6           A      No, he doesn't.

    7           Q      And as a matter of fact, he focuses on a sale

    8   of the intellectual property that the jury has heard

    9   people talk about, correct?

   10           A      Correct.

   11           Q      And you were in the courtroom yesterday when

   12   Mike Satow used the words, not an arm's length sale, to

   13   describe that sale.

   14                  You were here, were you not?

   15           A      Correct.

   16           Q      What does that mean to you as an accountant?

   17           A      Well, what it means is it doesn't reflect the

   18   value of the intellectual property or assets that were

   19   sold.       If it's not an arm's length transaction, that

   20   does not reflect the value.       It's your brother-in-law

   21   transaction you talked about in opening in trial.

   22           Q      So that if -- if the oil company has a lease,

   23   in my example up here, where they're supposed to pay

   24   Farmer Brown an eighth of what they get, under that

   25   deal, can they tell the farmer, no, we're not going to
Case16:08-cv-00088-LED
        pay you, even though we made
                         Document 421a lot
                                       Filedof10/20/10
                                                money, because
                                                        Page 24we
                                                                of 252 PageID #: 38595
    2   just found out that you bought your brother-in-law's

    3   piece of this property for a thousand dollars?

    4        A     Right.     Well, that would make no sense,

    5   because it doesn't reflect the value that the oil

    6   company's getting off that land.

    7        Q     And is that what you understand that the law

    8   requires you as a patent -- or as a patent damage

    9   evaluator to look to, among other things?

   10        A     Yes.

   11        Q     The value that the infringer made of the

   12   product?

   13        A     Yes.     The benefits.

   14        Q     Is that right?

   15        A     The extent of the use of the patented

   16   technology by the infringer and the benefits enjoyed by

   17   the infringer.

   18        Q     And just so the jury will have it plain in its

   19   mind where the battle lines are, did Mr. Ugone back here

   20   pay any attention to the $72 billion of infringing sales

   21   that Apple has made in this lawsuit?

   22        A     No.    Excuse me.   No.

   23        Q     Or the $50 million in infringing sales that

   24   they will make this very day?

   25        A     No, he did not.
Case16:08-cv-00088-LED
             Q    Okay. Document 421 Filed 10/20/10 Page 25 of 252 PageID #: 38596

    2                   THE WITNESS:     By the way, can I trouble

    3   somebody for some water?     I've got allergies.

    4                   MR. CARROLL:     I bet we can.   You want one

    5   of my pills?

    6                   THE WITNESS:     No.

    7                   MR. CARROLL:     I will share.

    8                   MR. RANDALL:     Your Honor, may I approach

    9   the bench briefly?

   10                   THE COURT:     Pardon?

   11                   MR. RANDALL:     May I approach the bench

   12   briefly?

   13                   THE COURT:     You may.

   14                   (Bench conference.)

   15                   MR. RANDALL:     Your Honor, we moved in

   16   limine, Motion in Limine No. 15, to exclude from

   17   admittance the underlying surveys that this witness is

   18   relying on, because they're unreliable and not the type

   19   of documents that an expert should rely on.

   20                   That ruling -- that motion has not been

   21   ruled on.   I want to make sure that I preserve my

   22   objection to the attempt to admit both; the documents

   23   underlying his opinions into evidence, but also his

   24   opinion based on those defective surveys.

   25                   THE COURT:     What exhibits are these?
Case16:08-cv-00088-LEDMR. RANDALL:421It's
                        Document          a set
                                       Filed     -- it's
                                             10/20/10    a set
                                                       Page    of252 PageID #: 38597
                                                            26 of
    2   surveys that we talked about in the motion in limine.

    3                  We did argue it, Your Honor.     We argued

    4   it on the record sometime ago, I realize that.

    5                  But we argued it because he took one

    6   marketing survey, I believe, of only ten features.        He

    7   took a very, very small sample based on that survey, and

    8   then he extrapolated it across both software and

    9   hardware and came up with this huge damage number.        And

   10   it's not the type of documents that a witness -- that an

   11   expert should rely on.

   12                  MR. CARROLL:     These are Apple surveys

   13   that they paid $20 million for.

   14                  THE COURT:     You can handle it on

   15   cross-examination.    Your objection's overruled.

   16                  MR. RANDALL:     Thank you, Your Honor.

   17                  (Bench conference concluded.)

   18        Q    (By Mr. Carroll) Okay.     Mr. Bratic, you ready

   19   to go?

   20        A    Yes, sir.

   21        Q    Now, you've told us about what you believe is

   22   significant in this case fact-wise.     You've told us

   23   about what the royalty base means and what you believe

   24   it is.

   25                  MR. CARROLL:     Leave that up, please.
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Carroll) 421
                                    What Filed
                                         the rate   it is,
                                               10/20/10    and27
                                                         Page  you
                                                                 of 252 PageID #: 38598
    2   believe that would be appropriate.       Then you have a

    3   name, Georgia-Pacific Factors.

    4               What does that mean?

    5        A      Well, what it means is there was a case, a

    6   well-known patent case from the very early 1970s, in

    7   federal court called Georgia-Pacific versus U.S.

    8   Plywood.    It involved a patent lawsuit over plywood.

    9               Anyway, in that case, the Court set down 15

   10   factors, a checklist, that said here are guidelines for

   11   you to look at as damages experts to help you determine

   12   what a reasonable royalty would be in a patent case.

   13   And so that's come down through the ages to be known as

   14   the Georgia-Pacific Factors.

   15        Q      All right.

   16        A      And there's 15 of them, and I have a list I'll

   17   show you shortly.

   18        Q      Let's go ahead.

   19                      MR. CARROLL:   Can we find the list?    Do

   20   you have the Georgia-Pacific list while we're talking

   21   about it?

   22                      There we go.

   23        Q      (By Mr. Carroll) All right.     Now, these are

   24   the 15 factors that this court suggested be considered?

   25        A      Yes.
Case16:08-cv-00088-LED
             Q    In all Document
                         the patent421
                                    cases that
                                       Filed    you've Page
                                             10/20/10  been 28 of 252 PageID #: 38599

    2   involved in, Mr. Bratic, have you made use of all or

    3   some of these factors in one way or the other?

    4           A   Yes, absolutely.

    5           Q   Do you understand that's what ought to be

    6   done?

    7           A   Right.   In fact, my expert report, one of the

    8   reasons it's pretty long is because I go through a

    9   detailed discussion of each of these 15 factors.

   10           Q   Now, going back to the discussion you and I

   11   had about the cartoon with the oil company on the

   12   farmer's land, look at Factor No. 11.

   13                     MR. CARROLL:   Blow that out, would you,

   14   James?

   15           Q   (By Mr. Carroll) And while we're waiting --

   16   everybody can see it -- it says extent of infringer's

   17   use.

   18               Do you see that?

   19           A   Yes, I do.

   20           Q   Did you consider the extent of the use that

   21   the Apple folks made of Dr. G.'s patents?

   22           A   Yes, I did.   That's the $72 billion in sales.

   23           Q   And, again, is that something that Mr. Ugone

   24   out here in the back paid any attention to?

   25           A   No.
Case16:08-cv-00088-LED
             Q    Is thatDocument
                          the primary
                                  421 difference  between
                                       Filed 10/20/10     your
                                                       Page 29 of 252 PageID #: 38600
    2   approach and his approach?

    3        A      That's one of the key differences between his

    4   approach and my approach.     He ignored the accused sales.

    5        Q      While we have the screen -- the slide up here,

    6   are there any other of these factors that the law

    7   commends to your attention that you think are

    8   significant to point out to the jury at this time?

    9        A      Well, sure.   For example, look at Factor 8,

   10   the established profitability and the commercial

   11   success.

   12               These products that include the patented

   13   features have been very successful to the tune of 72

   14   billion in sales for the last five years.

   15               The utility and advantages of the invention,

   16   my understanding is that these inventions are very, very

   17   important, based on my discussions with Dr. Levy.       And

   18   even in the documents I've seen, they've called them --

   19   they've been called paradigm shift.     They've been called

   20   revolutionary, changing, game changing, changing the way

   21   people use computers.     So that's the information I

   22   considered.

   23               Also, you know -- and so that ties to Factor 9

   24   and 10.    And so those are the more important ones; but

   25   then also is the opinion of experts, because I did rely
Case16:08-cv-00088-LED
        on my discussionsDocument
                          with Dr. 421
                                    Levy Filed
                                         for some   of myPage
                                               10/20/10   opinions.
                                                              30 of 252 PageID #: 38601
    2        Q    All right.   Let me ask you a couple of

    3   questions before we get off this slide.

    4             Question No. 3 -- excuse me -- Point No. 3

    5   says nature and scope of license.

    6             What does that mean?

    7        A    That means that -- and I should --

    8        Q    Answer that one first.

    9        A    Yeah.   Nature and scope of the license would

   10   be what kind of license would Apple get from Mirror

   11   Worlds?

   12             Apple would get a non-exclusive patent

   13   right -- a patent license for the three patents-in-suit.

   14   So they would be able to go out and practice them as

   15   they wish or not, but they have a license.     And so they

   16   would be free from any threat of litigation.

   17        Q    And what's the difference between -- and

   18   everybody in the courtroom probably knows this -- but

   19   just so we'll be sure, what's the difference between a

   20   non-exclusive and an exclusive?

   21        A    Well, an exclusive license would be if

   22   Apple -- excuse me -- if Mirror Worlds licensed Apple,

   23   then Mirror Worlds could not turn around and license

   24   anybody else, like Apple's competitors, like Google you

   25   heard about this morning, or Microsoft.
Case16:08-cv-00088-LED
                  They would not be421
                         Document   ableFiled
                                          to --  Mirror Page
                                              10/20/10  Worlds
                                                             31 of 252 PageID #: 38602
    2   would not be able to license anybody else, because the

    3   folks at Apple would have an exclusive license.     It

    4   would be all theirs.

    5        Q     And, again, this is kind of an elemental -- or

    6   elementary, I guess, question; but would a person in

    7   your experience pay more or less for a non-exclusive

    8   license?

    9        A     You would pay less for a non-exclusive

   10   license.

   11        Q     So when you made your calculations and gave

   12   the jury your opinion, was it based upon the assumption

   13   that Apple would negotiate and pay for an exclusive

   14   license or the less expensive non-exclusive?

   15        A     It would be for the less expensive

   16   non-exclusive license.

   17        Q     All right.    And then the other two questions

   18   or other two bullet points I wanted to ask you about are

   19   the -- the 1 and 2.

   20              Did you consider any comparable licenses out

   21   there in arriving at your opinion?

   22        A     Well, first of all, Mirror Worlds did not

   23   license these patents to anyone else, so there were no

   24   licenses to look at under Georgia-Pacific Factor 1.

   25              Under Georgia-Pacific Factor No. 2, based on
Case16:08-cv-00088-LED
        my investigation Document
                         and my discussions
                                  421 Filed with Dr. Levy,
                                            10/20/10       I of 252 PageID #: 38603
                                                      Page 32
    2   found no other licenses that were involving the same

    3   comparable technology.

    4        Q      Now, we all know the tales of the East Texas

    5   oilfield and the Lou Della Crim and the great gushers in

    6   history down to the ones that I'm personally familiar

    7   with where they don't pay for themselves.

    8               And is it true that royalty rates depend upon

    9   how hot a deal you're presented with?

   10        A      Yes.

   11        Q      Well, based on everything you know, when the

   12   parties sat down to negotiate, if they really had, would

   13   this have been a hot deal, a lukewarm deal, or an

   14   ice-cold deal?

   15        A      This would have been a hot deal.

   16        Q      Now, let's go down to No. 15, and I want to

   17   talk about that.      That's hypothetical negotiations.

   18               You were in the courtroom when I described to

   19   the jury on the opening statement that the law requires

   20   a play-like deal where we assume that everybody had

   21   played nice and fair and sat down and tried to work a

   22   deal out?

   23        A      That's correct.

   24        Q      All right.

   25                      MR. CARROLL:   Put that up Farmer Brown
Case16:08-cv-00088-LED
        No. 4.         Document 421 Filed 10/20/10 Page 33 of 252 PageID #: 38604
    2           Q   (By Mr. Carroll) Okay.   Now, the caption of

    3   this says the law requires the trespasser or the

    4   infringer -- in this case, we say it's Apple -- to

    5   negotiate a license with his cards face up.     Patent is

    6   valid, infringed, and a royalty is owed.

    7               Tell the jury what that means.

    8           A   Well, just like you talked about, it's the

    9   play-like scenario.    We know that Mirror Worlds and

   10   Apple never sat down and completed a license, and

   11   they're in litigation now over those patents.

   12               So the law requires this hypothetical

   13   negotiation that didn't ever happen, and we're supposed

   14   to pretend it did happen.

   15               So you have the representation here in this

   16   cartoon of the oil company and Farmer Brown sitting down

   17   and negotiate a license for them to be able to take oil

   18   off his land.

   19               And likewise, the key thing here is we assume

   20   that Farmer Brown owns the property; it's his.      There's

   21   no question about he's the sole and lawful owner of that

   22   land, and the oil company has to go to him and him only

   23   to get a license and permission to extract oil off his

   24   land.

   25               And then the other thing is, you would know,
Case16:08-cv-00088-LED
        because the cardsDocument
                          are on the
                                  421table,
                                       Filed there's
                                             10/20/10noPage
                                                        secrets.
                                                            34 of 252 PageID #: 38605
    2                And what I mean by that is, for example, in

    3   our hypothetical negotiation between Mirror Worlds --

    4   I'm pointing at this table and Apple at that table --

    5   what we know, for example, in the hypothetical

    6   negotiation is both parties would know, and Apple would

    7   be forced to share information with Mirror Worlds in

    8   recognition interface, such that, one, for example, they

    9   would know about Steve Jobs' e-mail from back in 2001,

   10   still talking about looking into this ASAP.

   11                They would know that Steve Jobs made a comment

   12   to the Worldwide Developers Conference in 2004 that

   13   Spotlight was revolutionary.

   14                They would also know that he had made a

   15   statement to the Mac World Conference in 2005, before

   16   the hypothetical negotiation, that the -- that these

   17   patents were game-changing and change the way people use

   18   computers.

   19                So all of those facts would have been known to

   20   both parties.

   21        Q       Okay.   Another question that may be pretty

   22   obvious, but based on what the law says at this

   23   hypothetical negotiation, who's got the whip in hand?

   24        A       Well, it's clearly Mirror Worlds as a

   25   recognition interface.
Case16:08-cv-00088-LED
             Q    We're going to hear
                         Document 421 a Filed
                                        lot more   aboutPage 35 of 252 PageID #: 38606
                                              10/20/10
    2   invalidity.

    3             Is that something that would even come up in

    4   this hypothetical negotiation?

    5        A    No, it would it not, because you're supposed

    6   to assume -- both parties are supposed to assume that

    7   the Mirror Worlds patents are valid and that Apple has

    8   infringed them.

    9             So that's not even an issue that would ever

   10   come up in the hypothetical negotiation.

   11        Q    We've heard a lot already and I expect we'll

   12   hear a lot more about why Apple doesn't infringe our

   13   patent.

   14             Would that even come up at this play-like

   15   negotiation?

   16        A    No, it would not.

   17        Q    And is that what the law says?

   18        A    Yes.

   19        Q    Okay.   Let's go on.

   20             When -- when would the date of this

   21   hypothetical negotiation take place?

   22        A    It would take place on or about April 2005,

   23   and that's when Apple released what was called the Tiger

   24   OS operating system.   Now, this is not the Tiger.    This

   25   is a later version, Leopard.
Case16:08-cv-00088-LED
                  But back in '05 --
                         Document 421in Filed
                                        April10/20/10
                                               of '05 is when
                                                       Page 36 of 252 PageID #: 38607
    2   Apple formally released the Tiger OS X operating system.

    3             So that's when the parties would have sat down

    4   and negotiated this hypothetical license.

    5        Q    Have you got two dates for this hypothetical

    6   negotiation?

    7        A    I do.

    8        Q    And why is that?

    9        A    Well, because the first date I just mentioned

   10   to you, April 2005, that relates to, if you assume that

   11   Apple infringed, first began infringing the '227 patent.

   12             If the jury decides that the '227 patent is

   13   either invalid or has not been infringed, then we have

   14   to consider the '313 patent and '427 patents.     And if

   15   they are determined to be valid patents and infringed,

   16   then there would have been a separate -- a different

   17   hypothetical negotiation about a year later, in

   18   September 2006.

   19             And the facts would have been a little

   20   different, but you would carry all of that knowledge

   21   with you from the earlier hypothetical negotiation in

   22   2005 to the one in 2006.

   23        Q    Okay.   Mr. Bratic, your opinion to the jury

   24   that you just showed them of $620 --

   25        A    5 million.
Case16:08-cv-00088-LED
             Q    5 million, was that
                         Document 421 based
                                       Filed on the older
                                             10/20/10     date
                                                       Page    of252 PageID #: 38608
                                                            37 of
    2   infringement or the newer date of infringement?

    3           A   The earlier date of infringement.

    4           Q   The earlier?

    5           A   Right.

    6           Q   Now, if the jury, for whatever reason, chooses

    7   the later date and rules -- believes that Apple hasn't

    8   infringed that long, does the damage number go up or

    9   down?

   10           A   It actually goes up.

   11           Q   Why -- why in the world would that be?

   12           A   It goes up, because some of the factors that

   13   come into play at that time are different than the

   14   earlier hypothetical negotiation.

   15               And by that time, Apple gets a license for all

   16   three products.       In other words, all three products are

   17   already out and in the works.

   18               What I mean by products, I mean the accused

   19   features:    Spotlight, Coverflow, Time Machine.

   20           Q   Okay.     Did you consider --

   21                       MR. CARROLL:   First of all, let's find

   22   the formula, James, the rate-time-base formula.

   23                       THE WITNESS:   That's Slide 12.

   24                       MR. CARROLL:   Slide what?

   25                       THE WITNESS:   12.
Case16:08-cv-00088-LEDMR. CARROLL:421Slide
                        Document       Filed12.
                                             10/20/10 Page 38 of 252 PageID #: 38609
    2                       THE WITNESS:   Right.

    3                       MR. CARROLL:   Yeah.

    4        Q       (By Mr. Carroll) Okay.        And, again, the bottom

    5   of that says Dr. Ugone did not use this formula.

    6                Is that true?

    7        A       That's true.

    8        Q       Now, you've told us the royalty base.        Is that

    9   the $72 billion?

   10        A       Yes.

   11                       THE WITNESS:   If you look at the next

   12   slide.     Nope, sorry.     I thought it was the next slide.

   13   It's Slide -- Slide 15.

   14                       MR. CARROLL:   There we go.

   15        A       Right.    So there's your royalty base of 72

   16   billion.

   17        Q       (By Mr. Carroll) Okay.        Let me interrupt you

   18   there.

   19                That's $72 billion under royalty base; is that

   20   a fact or an opinion for the hypothetical negotiation?

   21        A       Well, that's a fact.

   22        Q       And how do you know that?

   23        A       Well, because Apple has produced the

   24   information, the records, for me to determine how much

   25   product they've sold.
Case16:08-cv-00088-LED
             Q    As far Document
                         as you can421
                                    tell, is 10/20/10
                                       Filed  there anyPage
                                                        dispute
                                                            39 of 252 PageID #: 38610
    2   between you and the Apple man over that

    3   72-billion-dollar historical number?

    4          A   No.

    5          Q   Now, the royalty rate is where the fuss comes

    6   in, correct?

    7          A   Well, as well as whether to use the formula or

    8   not.

    9          Q   Okay.   Because he doesn't even use the

   10   formula?

   11          A   Correct.

   12          Q   All right.   So your opinion comes into play in

   13   calculating what a fair rate would be, just like if

   14   Farmer Brown was negotiating with that oil company?

   15          A   Correct.

   16          Q   Whether it's a third or a quarter or 25

   17   percent or whatever it is, right?

   18          A   That's correct.

   19          Q   And what number did you come up with?

   20          A   Well, I came up with two numbers for the

   21   hypothetical negotiation April 2005.

   22              For these standalone sales of these software

   23   products just by themselves, infringing software, the

   24   royalty is 8.8 percent of every box sold.

   25              When a larger device, like a PC and iPod and
Case16:08-cv-00088-LED
        iPad, for example, when they're
                         Document       sold,10/20/10
                                  421 Filed    the royalty
                                                       Pageis
                                                            40 of 252 PageID #: 38611
    2   less than 1 cent; it's .8 percent, .81 percent.

    3                And the reason that there's such a big

    4   difference in a royalty rate, this royalty rate is 10

    5   times higher than this one, is because I have to

    6   recognize there are a lot of features in this product

    7   that aren't infringing.       And I have to give Apple full

    8   credit for that, as I did also in the 8-percent royalty

    9   in here (indicates).

   10        Q       All right.    Now, in deciding what you believe

   11   to be a reasonable royalty rate, did you calculate that

   12   with an eye toward leaving some of the meat on the bone

   13   for Apple?

   14        A       Well, I calculated with the view to leaving a

   15   lot of meat on the bone for Apple.

   16        Q       Did you consider, among other things, whether

   17   there had been any offers to buy these patents?

   18        A       Yes, I did.

   19        Q       Have you ever heard of a company called

   20   Intellectual Ventures?

   21        A       I have.

   22        Q       What is Intellectual Ventures?

   23        A       Intellectual Ventures is a company that was

   24   formed out in California, and it was formed by a lot of

   25   high-tech companies.       And one of its owners is Apple,
Case16:08-cv-00088-LED
        and they go out and they try
                         Document 421to Filed
                                        negotiate   and Page
                                              10/20/10  buy 41 of 252 PageID #: 38612

    2   patents from companies like Mirror Worlds and other

    3   companies.

    4        Q       Did you see written evidence of an offer by

    5   Intellectual Ventures, this company you just described,

    6   to buy Dr. G.'s intellectual property?

    7        A       Yes.

    8        Q       Tell the jury about that.

    9        A       Well, that was an offer that was made before

   10   the filing of the lawsuit, and it was in the order of $7

   11   million plus a percentage participation.             In other

   12   words, they got an interest in future revenues.

   13        Q       Do you remember what that piece was?

   14        A       I'm going by recollection.          Maybe 19 percent.

   15        Q       Okay.     So did you consider that in your

   16   calculation of this less-than-1-percent royalty rate?

   17        A       Yes.

   18        Q       Did you consider any other discussions between

   19   Intellectual Ventures and the Mirror Worlds folks?

   20        A       Yes.

   21        Q       What were those?

   22                        MR. RANDALL:     Your Honor, I'm going to

   23   object.   This is hearsay and irrelevant.            It's also

   24   subject to the motion in limine as improper.

   25                        THE COURT:     Overruled.
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Carroll) 421
                                    All right.   Go ahead,
                                        Filed 10/20/10  Page 42 of 252 PageID #: 38613
    2   Mr. Bratic.

    3        A     After the filing of this lawsuit, Intellectual

    4   Ventures contacted Mirror Worlds and sought to buy --

    5   discussed buying the Mirror Worlds' patents in the range

    6   of 30 to $50 million, plus Mirror Worlds would end up

    7   with 10 percent of any revenue stream that Apple --

    8   that -- excuse me -- that Intellectual Ventures received

    9   when they went out to license the patents.

   10        Q     So Intellectual Ventures would get the patents

   11   and carry a 10-percent piece for Mirror Worlds?

   12        A     Correct.

   13        Q     And now, how do you know that's so?

   14        A     Well, because I've interviewed Frank Weil.

   15   I've interviewed Mr. Raich.      I've also read Mr. Weil's,

   16   Mr. Raich's, and other depositions on that topic.

   17        Q     Who are the other, to your understanding,

   18   participants or co-owners in this Intellectual Ventures

   19   combine?

   20        A     They include --

   21                   MR. RANDALL:     Objection, Your Honor.

   22   Lack of foundation.

   23                   THE COURT:     Overruled.

   24        A     They include companies like Microsoft, Intel,

   25   big, high-technology companies.
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Carroll) 421
                                    Obviously,  Mirror Worlds
                                        Filed 10/20/10        said
                                                        Page 43 of 252 PageID #: 38614
    2   thanks, but no thanks?

    3        A       Correct.

    4        Q       So did you consider this piece of evidence in

    5   coming up with a -- the royalty rate of less than

    6   1 percent?

    7        A       I considered that information as one of many

    8   different pieces of information I considered.

    9        Q       I want to talk to you a little bit about the

   10   features of the products that we've focused on, the

   11   Coverflow --

   12        A       Right.

   13        Q       -- the Time Machine, and the Spotlight.

   14                Pick up that box in front of you.

   15        A       Okay.

   16        Q       Can you find any one of those names on the

   17   back of that box:        Spotlight, Time Machine, Coverflow?

   18        A       Well, you'll find Time Machine on here, and

   19   the Finder, which includes Coverflow.        So you'll find

   20   Coverflow and Time Machine on this document.

   21                Now, on this document -- and let me tell you

   22   what this is.        This is the -- it says Everything Mac.

   23   This is the owner's manual for this Apple computer, Mac

   24   Pro computer, that I purchased a few weeks ago.

   25                If you would open the inside cover -- it's on
Case16:08-cv-00088-LED
        the second page. Document 421 Filed 10/20/10 Page 44 of 252 PageID #: 38615

    2                       THE WITNESS:   And I have a slide, too,

    3   that just blows this up.       Let me see what the slide

    4   number is real quick.       Let me see if I can find it.

    5        Q      Are you looking for the owner's manual?

    6        A      Here it is, 43.

    7                       THE WITNESS:   So if you would go to

    8   Slide 43.

    9        A      Okay.     This is a copy of -- what you see on

   10   the screen is a copy of this page.        The only difference

   11   is the red boxes.       I asked James to put the red boxes

   12   around those three.

   13               You will see finally with Spotlight -- I mean,

   14   finally with Coverflow, Time Machine, and Spotlight,

   15   these -- this page is the only page that discusses any

   16   of the hundreds, maybe thousands of features in this

   17   machine.

   18               And so to this day, these are very important

   19   features.

   20        Q      (By Mr. Carroll) Now, Mr. Bratic, in coming up

   21   with your royalty rate, did you use the sales price of

   22   the little box?

   23        A      In part.

   24        Q      Did you use the sales price of the computer?

   25        A      I did.
Case16:08-cv-00088-LED
             Q    Is thatDocument
                          all you used?
                                  421 Filed 10/20/10 Page 45 of 252 PageID #: 38616
    2        A      Well, for the price, yes.

    3        Q      Well, in other words, are you giving Mirror

    4   Worlds, under your negotiation, .8 percent of the

    5   purchase price of the software box?

    6        A      No.     It's 8 percent, 8.8 percent of the

    7   software box.

    8        Q      Are you giving them 8.8 percent of what I

    9   would pay at Best Buy to buy that?

   10        A      Right.     It's 8.8 percent of $129.   That's what

   11   this thing sells for.       So that's a royalty of $11.36 on

   12   this box.

   13        Q      Okay.     How about on the -- on the hardware?

   14        A      It's less than 1 percent.

   15        Q      What does that thing sell for?

   16        A      This thing sold for about $1200.

   17        Q      Okay.     Why is the royalty rate on the machine

   18   less than the royalty rate on the software?

   19        A      Well, because I have to recognize that what

   20   Apple did is, they took the software and they put it in

   21   the hardware; and when they did that, this, obviously,

   22   has more features and functionality than does this

   23   (indicates).

   24               But as Dr. Levy also said, this machine would

   25   not work without software.       Software is the -- is the
Case16:08-cv-00088-LED
        really important Document
                         thing when421
                                    it comes  to PCs, because,
                                       Filed 10/20/10  Page 46 of 252 PageID #: 38617
    2   otherwise, it's just a machine.

    3               It's like having a car without an engine.

    4   It's not going to go very far.        In fact, it's not going

    5   to go anywhere unless you push it.        So that's the point.

    6        Q      Mr. Bratic, to your knowledge, based on what

    7   you saw of the records that Apple produced, did Apple

    8   conduct surveys of its customers to determine whether

    9   these products we've sued and these features we've

   10   accused were a big deal?

   11        A      Yes.

   12        Q      Tell the jury about that.

   13        A      Well, Apple routinely conducts consumer

   14   surveys.    They want to find out what is on the

   15   consumer's mind, and they spend over $20 million a year

   16   to find that out.       They spend $5.5 million every three

   17   months.    That's according to Mr. Serlet's testimony.

   18               So that's $22 million a year to find out what

   19   this --

   20        Q      By the way, I believe that's Serlet

   21   (pronouncing).

   22        A      Serlet?     Excuse me.

   23        Q      That's what I was told.

   24        A      Okay.     Serlet.   I'll drop the T.

   25               So they spend that kind of money because they
Case16:08-cv-00088-LED
        want reaction, response from
                         Document 421customers  and would-be
                                       Filed 10/20/10  Page 47 of 252 PageID #: 38618
    2   customers about their features or products, what they

    3   want, what they like, what they don't like, because

    4   Apple has to stay competitive.

    5             And so they do surveys to make sure that

    6   they're offering products that people want and features

    7   within those products.

    8                  MR. CARROLL:     James, let's pull up 731,

    9   please.

   10        Q    (By Mr. Carroll) What's --

   11                  MR. CARROLL:     Yeah, 731.

   12                  THE WITNESS:     Can I get some more water?

   13                  Thank you very much.

   14        Q    (By Mr. Carroll) What -- what's this document

   15   telling the jury, Mr. Bratic?

   16        A    This is Apple's website.     This is an Apple

   17   document, and it is talking about The Tiger Roars, which

   18   is when Tiger came out.   They made a big splash about

   19   Tiger, the operating system.

   20             And if you'll look in here -- it's hard to see

   21   on this version, but I had it blown up -- that they

   22   mention that one of the newspapers in Chicago called

   23   Spotlight revolutionary, and they said:      Revolutionary,

   24   with a capital R.

   25                  MR. CARROLL:     Let's look at the second --
Case16:08-cv-00088-LED
        there we go.   Document 421 Filed 10/20/10 Page 48 of 252 PageID #: 38619
    2        A       Right.

    3        Q       (By Mr. Carroll) Jubilant and Successful.

    4        A       Right.   Now -- so what it -- what it is here

    5   is, see, you have on the left a New York Times article,

    6   and it says:     Selling a vision of the future beyond

    7   folder.     That's getting away from the clutter of files

    8   and folders.

    9                And the author here is talking about a person

   10   that's already been talked about in court here, George

   11   Gilder, who's an analyst for the New York Times, a

   12   technology guy, and he says:      To try the Gelernter

   13   system is to fall in love with it, and it will prevail.

   14   It is elegant, easy, natural, beautiful, and it will

   15   prevail.

   16                Now, when you jump down here and look under

   17   Spotlight in Apple's website, they mirror those

   18   comments.     They say:   Calling Spotlight more elegant and

   19   easier to use.

   20        Q       Now, are these --

   21        A       Oh, and by the way, that's the capital R,

   22   Revolutionary, right under jubilant and successful.

   23                So that's the Chicago Sun Times technology

   24   analyst saying --

   25        Q       And -- I'm sorry.   Go ahead.
Case16:08-cv-00088-LED
             A    No. HeDocument
                         just said421
                                   thatFiled
                                         it was  Revolutionary
                                             10/20/10  Page 49 of 252 PageID #: 38620
    2   with a capital R.

    3        Q       Okay.    So the jury is clear, what is Tiger?

    4        A       Tiger -- Tiger is the predecessor to Leopard.

    5   It was -- it was the first software released by Apple

    6   that had the first accused feature in it, which was

    7   Spotlight.

    8        Q       And we -- so that's Tiger, and we know about

    9   Leopard.

   10        A       Yes.

   11        Q       And we've heard about something called Snow

   12   Leopard.

   13        A       Right.

   14        Q       So do all three of those animals have the

   15   accused features in them?

   16        A       Yes.

   17        Q       Are there any other -- is the zoo bigger than

   18   those three?

   19        A       Not for the software --

   20        Q       Okay.

   21        A       -- sold by itself.

   22        Q       Okay.    So we're talking about the -- the --

   23   the big cat cage --

   24        A       Right.

   25        Q       -- right?    Tiger, Leopard, Snow Leopard.
Case16:08-cv-00088-LED
             A    Correct.
                         Document 421 Filed 10/20/10 Page 50 of 252 PageID #: 38621
    2        Q    And that catches the three features.

    3        A    The three software features when sold by

    4   themselves.

    5             Now, what they did is, then they took those

    6   software products, and they put them in the hardware.

    7   They -- they bolted them in or they, you know, installed

    8   them in the software.   So when -- the hardware.

    9             So when you go to the store and you buy this,

   10   you plug it in, it comes ready to play, and the software

   11   is there to operate the machine.    And without the

   12   software, the machine wouldn't work.

   13        Q    So if I understand all of that right, if I had

   14   14 -- how much did that -- the --

   15        A    This cost $1200.

   16        Q    So if I had 1200 bucks, I could buy it loaded?

   17        A    Yes.

   18        Q    But if I didn't and wanted to soup up my

   19   machine, I could buy one of the big cats.

   20        A    For $129.

   21        Q    Okay.

   22        A    If you had an older version of Apple -- of the

   23   Apple PC, and you wanted it upgraded without going out

   24   and buying a brand new PC.

   25        Q    And did you run your numbers on all three --
Case16:08-cv-00088-LED
        all four ways? Document 421 Filed 10/20/10 Page 51 of 252 PageID #: 38622
    2        A     Yes.

    3        Q     And I say all four.

    4        A     Yes.

    5        Q     Yeah, all four ways.

    6        A     All four ways.

    7        Q     And that's what you came up to, the $72

    8   billion worth.

    9        A     That's correct.

   10        Q     Okay.   Did you do any kind of adjustments to

   11   try to take into account the fact that there were other

   12   features that folks might buy one or the other for,

   13   either the software alone or the hardware with the

   14   software in it?

   15        A     Yes.

   16        Q     Tell the jury what you did.

   17        A     Well, the Apple doesn't separately place a

   18   value on Spotlight, Coverflow, and Time Machine, whether

   19   it's either in this product or whether it's in the

   20   machine.   Apple doesn't do that.   The witnesses

   21   testified they don't do that for any of their features.

   22              So what I had do is, I figured out what was

   23   the value of the three accused features in either this

   24   product, when sold like this in a box, or when the

   25   accused features are found in the PC.
Case16:08-cv-00088-LED
                  So I ended up having
                         Document 421 to  do 10/20/10
                                       Filed  what we call
                                                       Pagean
                                                            52 of 252 PageID #: 38623
    2   apportionment or an allocation of the value and the

    3   profits attributed to Spotlight, as an example, compared

    4   to everything else that Apple does and has contributed

    5   to the sale of these products.

    6        Q    Can you give the jury a breakdown as to how

    7   you crunched the numbers?

    8        A    Sure.

    9                     THE WITNESS:   First of all, if you will

   10   go to Slide -- let me pull this for you.      If you will go

   11   to Slide -- I'm just about there -- Slide 28 -- 27.         I'm

   12   sorry.

   13        A    All right.     This is a page out of one of the

   14   Apple customer surveys that was done.

   15                     THE WITNESS:   And then if you'll go to

   16   the next slide, please.

   17        Q    (By Mr. Carroll) Well, let me interrupt you.

   18        A    Sure.

   19        Q    Did you see any evidence in the Apple records

   20   as to what kind of annual budget they spent on those --

   21   or they have for those surveys?

   22        A    Yes.     They spend $22 million a year.

   23        Q    Every year?

   24        A    Every year.

   25        Q    To find out what the customer wants.
Case16:08-cv-00088-LED
             A    Correct.
                         Document 421 Filed 10/20/10 Page 53 of 252 PageID #: 38624
    2        Q       Okay.

    3        A       Now -- okay.   So what I've showed you is, the

    4   slide that we just looked at, which is on the right here

    5   on the screen, over here (indicates) -- all right.        That

    6   was taken from -- that's just a copy of the last slide

    7   we saw.

    8                Now, this lists these 10 features, and Apple

    9   said these are the most beneficial Tiger features.

   10   Apple wanted to know about these 10 features from their

   11   customers.     And what I'm doing is, here, this is another

   12   internal Apple e-mail where Apple is identifying what

   13   they consider to be key features.

   14                And if you'll see, it says:   Key features

   15   colon, and it says:     Spotlight Dashboard, et cetera.

   16   They're the exact same 10 features in this circle here

   17   that you find right here (indicates).

   18                So Apple -- and by the way, there are other

   19   internal e-mails, there's Apple press releases that also

   20   focus on what are the key features in Tiger.      Because

   21   Tiger had over 200 features when it came out.      It wasn't

   22   just these 10 features.      But these are the 10 they

   23   wanted customers to tell them about.

   24        Q       How do you know that?

   25        A       Well, because I've got these documents that
Case16:08-cv-00088-LED
        clearly show that, and this421
                         Document   survey.   One of the
                                       Filed 10/20/10    things
                                                       Page 54 of 252 PageID #: 38625
    2   this survey said -- one of the objectives of this

    3   particular survey was to find out, what are the factors

    4   that drive customer purchasing behavior?

    5        Q    Mr. Bratic, is it -- so that you did that same

    6   kind of an analysis for all three accused features in

    7   all three of the big cats:       Tiger, Leopard, Snow

    8   Leopard, and the hardware?

    9        A    Well, I applied this methodology to them, yes.

   10        Q    Okay.     So did you end up reducing or

   11   apportioning the individual sales prices for the

   12   software and the hardware to reflect what you believed

   13   to be a fair value that these accused features brought

   14   to that product?

   15        A    Yes.

   16                     THE WITNESS:    Go to the next slide,

   17   please, and I'll give you an...

   18        A    So what I did is, I took that survey -- now,

   19   that survey we looked at on the previous page had three

   20   bars for every product, so the Spotlight had three bars.

   21             They asked three different types of customers,

   22   consumers, which were the most beneficial features.       And

   23   so that's how these products ranked.

   24             So all I did was, I figured out what the

   25   responses were from these survey participants, and I
Case16:08-cv-00088-LED
        ended up giving aDocument
                          weighting421
                                    to Spotlight  of 23Page
                                       Filed 10/20/10   percent,
                                                            55 of 252 PageID #: 38626
    2   because now, again, I'm trying to find out, what is the

    3   value that should be associated with the $129 sales

    4   price of this particular product when sold like this.

    5                  So I determined that 23 percent of the sales

    6   price would be attributed to Spotlight based on how

    7   consumers responded as to how they found these -- this

    8   to be the most beneficial feature.

    9           Q      (By Mr. Carroll) And you did that with all the

   10   other products?

   11           A      Right.     So --

   12           Q      I'm sorry.     Go ahead.

   13           A      No.     I was just going to say, the next slide

   14   focuses this issue.

   15           Q      Let me interrupt you.

   16                  So the orange highlight --

   17           A      Yeah.

   18           Q      -- is where some -- this is some consumer,

   19   right?

   20           A      Correct.

   21           Q      Some consumer that Apple wanted to hear from

   22   says:       I think Spotlight alone is worth the upgrade

   23   price.

   24                  What's the upgrade price?

   25           A      $129.
Case16:08-cv-00088-LED
                  So thatDocument
                          consumer 421
                                    said:Filed
                                            I would  pay Page
                                               10/20/10  $129 56
                                                              just
                                                                 of 252 PageID #: 38627
    2   to get Spotlight.

    3              But I didn't do that.     I said you should only

    4   take 23 percent of the price of Spotlight, and then I

    5   have to make a further adjustment for the costs and the

    6   profits.

    7              But the other thing is, if you'll look here --

    8                     THE WITNESS:   Oops.   Sorry.   I just --

    9   how do I clear that?      How do I turn it off?    I did it.

   10                     Okay.   There we go.

   11        A     If you look here, there was another survey

   12   they did that said 24 percent.

   13              Survey respondents seem to agree 24 percent

   14   cited the new searching technology as Tiger's most

   15   important new feature.

   16              That's Spotlight.     So that's consistent with

   17   the 23 percent from the other survey you just saw.

   18        Q     All right.     And again -- and I know the jury

   19   gets this, I think -- all of this information is the

   20   information Apple pays 22 million bucks a year to get.

   21        A     Correct.

   22        Q     And you did this same analysis for all the

   23   products and all the features?

   24        A     Yes.

   25        Q     Can you run through, in summary form, what
Case16:08-cv-00088-LED
        your apportionment -- and that
                         Document 421 means   your reduction
                                       Filed 10/20/10        --of 252 PageID #: 38628
                                                       Page 57
    2   is for each of the applicable products?

    3                       THE WITNESS:     If you will go to Slide 32.

    4                       Oh, and by the way, could I get my water

    5   back?

    6                       MR. DIAMANTE:     Sorry.     I didn't drink it.

    7                       THE WITNESS:     Thanks.     I'm getting kind

    8   of thirsty.    Thank you very much.

    9           Q   (By Mr. Carroll) Okay.           What do you want --

   10   there we go.

   11           A   Okay.     There's -- this is the math.

   12               So what I did is, I -- I knew that the selling

   13   price of this product of $129.             The profit margin on

   14   this -- software enjoys very high profit margins.

   15   There's a lot of thinking that goes into it, and they

   16   get to sell it for a higher price.

   17               So Apple generates about 76 percent profit on

   18   each box sold like this.         That gives me profits of $98.

   19   You see the $98 there?

   20               Then -- oh, I'm not very good with this.              Let

   21   me turn it back.       Whoops.     Okay.     Well, there it goes.

   22               What I then did is, I took that 23 percent

   23   from the survey results where people said Spotlight was

   24   the most important feature in that survey among those

   25   others products considered, those features; and then I
Case16:08-cv-00088-LED
        took the 23 percent of the 421
                         Document   $98 in profits,
                                        Filed        andPage
                                              10/20/10   that58
                                                              told
                                                                of 252 PageID #: 38629
    2   me that the profits attributed to Spotlight are now

    3   $22.71.

    4             So I took a big haircut here, because I'm only

    5   using 23 percent of the profits, not a hundred percent

    6   of the profits, like that customer said that they'd be

    7   willing to pay.

    8             Now the issue becomes how do Apple and Mirror

    9   Worlds agree, in a hypothetical negotiation, to share in

   10   this $22.71 of profit?

   11        Q    And so what's your opinion as to how that

   12   would have come out?

   13        A    Well, there are some significant dynamics to

   14   the hypothetical negotiation, which, in my view, would

   15   have put a significant amount of bargaining power in

   16   Mirror Worlds' hands at that hypothetical negotiation,

   17   meaning they would have -- like you used the word

   18   whipping hand, so --

   19        Q    Starting with Apple was infringing.

   20        A    Correct.

   21        Q    Patent's valid.

   22        A    Correct.

   23        Q    What else?

   24        A    Well, according to Dr. -- according to

   25   Dr. Levy, based on my interviews with him, there's no
Case16:08-cv-00088-LED
        way for Apple to Document
                         have gotten
                                  421a practical  solution
                                       Filed 10/20/10  Pagethat
                                                            59 of 252 PageID #: 38630
    2   was a work-around or a design-around regarding these

    3   patents.

    4              In other words, there's no other way for Apple

    5   to provide these features to its customers that have the

    6   same features and functionalities and do it in a

    7   non-infringing way.

    8              And so that means Apple either has to take a

    9   license, or they have to give their customers back $72

   10   billion of product, because they're not allowed to sell

   11   it.

   12              So that's an example of the significant

   13   bargaining power in Apple's hands.

   14              And of course, these products, these patented

   15   features, are universal because they're in 70 percent of

   16   all Apple products sold since infringement first began.

   17   I mean, Apple has sold over 124 million units.       What I

   18   mean, individual pieces like this or like this computer

   19   (indicates).    That's 124 million of them have been sold.

   20   That's a lot.      And they all have the patented feature.

   21         Q    So if that were to happen, they would go from

   22   a big shiny red Macintosh to a crabapple?

   23         A    Something like that.

   24         Q    Okay.     All right.   To wind this up then, if I

   25   get this right, for each one of these products, you
Case16:08-cv-00088-LED
        figured out what Document
                         a fair reduction would
                                  421 Filed     be based
                                            10/20/10     on60 of 252 PageID #: 38631
                                                      Page
    2   consumer demand for the -- for the features --

    3        A      Correct.

    4        Q      -- and then you figured out what the parties

    5   would have split at the negotiation based on all the

    6   hypothetical assumptions that the law tells you to use

    7   and the ones you thought would come into play --

    8        A      Right.

    9        Q      -- and you came up with a split for all the

   10   products.

   11        A      Right.

   12        Q      Okay.

   13        A      And so what I did is, I did the split 50/50.

   14   So I gave another haircut to Apple.     On top of the

   15   23-percent haircut here to Apple, Apple took -- I mean,

   16   Mirror Worlds -- Mirror Worlds takes yet another haircut

   17   of 50 percent.

   18               So now the royalty here -- you see it says

   19   Recognition Interface, all of this?     Their royalty is

   20   only $11.36.

   21        Q      Okay.    And that's --

   22        A      And Apple keeps the profit of 30 -- $11.36

   23   attributed to Spotlight as well.     Plus, they keep the

   24   profits on the rest of the product, too.

   25        Q      So they get -- but when they walk away, it's
Case16:08-cv-00088-LED
        not a 50/50 splitDocument
                          really. 421 Filed 10/20/10 Page 61 of 252 PageID #: 38632

    2           A      Oh, no.     It's only a 50/50 split of the

    3   incremental benefit associated with Spotlight.

    4                  As to -- as to Apple, Apple keeps -- you know,

    5   they keep, for every dollar -- this whole thing sold for

    6   $129.       So Apple keeps about a hundred and -- $118, Apple

    7   keeps to pay all its bills and to pay itself profits.

    8           Q      They keep 92 cents out of every buck.

    9           A      Correct.

   10           Q      Okay.

   11                          MR. CARROLL:   Let's go to Slide 47.

   12           A      That's only on the software.      When it's on the

   13   machine, they keep 99 cents.

   14           Q      (By Mr. Carroll) They keep 99 cents on the

   15   machine?

   16           A      Correct.

   17           Q      Okay.

   18                          MR. CARROLL:   Let's go to Slide 47 of

   19   Bratic's opinion.

   20                          James, I'm looking for a chart.   Oh,

   21   okay.

   22           Q      (By Mr. Carroll) What's -- before we get off

   23   this one, what's this telling us?

   24           A      Well, this is just saying that if you assume

   25   the '227 patent is a valid patent and has been
Case16:08-cv-00088-LED
        infringed, then the date of421
                         Document   first infringement
                                       Filed           and 62
                                             10/20/10 Page theof 252 PageID #: 38633

    2   HN, hypothetical negotiation, occurs in April 2005, and

    3   the damages of 625 million in royalties.

    4              If you assume that the '227 patent is not a

    5   valid patent or has not been infringed, and we're only

    6   dealing with the '313 patent and the '427 patent, then

    7   we have to have a separate hypothetical negotiation

    8   September 2006 using the same methodology I just walked

    9   through with you but different royalty rates, and you

   10   end up with a -- royalties due of $748 million.

   11        Q     And again, it's more because why?

   12        A     Well, because some of the facts changed at the

   13   time of the -- this hypothetical negotiation about the

   14   products' profitability and the like, as well as the

   15   survey results they were using September of 2006 for

   16   Leopard are different survey results than the ones for

   17   Spotlight, because we're dealing with a different

   18   product.

   19        Q     Okay, Mr. Bratic.   So if the jury believes,

   20   after hearing everything in evidence, that all of the --

   21   our patents are valid and all of them have been

   22   infringed, in your opinion, which number should they

   23   apply the law-required reasonable royalty?

   24        A     Well, it would be $625 million, assuming that

   25   all three patents have been infringed.     And if the '227
Case16:08-cv-00088-LED
        patent hadn't been infringed,
                         Document 421 then
                                       Filedit10/20/10
                                                would bePage
                                                         748 63 of 252 PageID #: 38634

    2   million.

    3           Q   So if for whatever reason, they believe that

    4   we didn't prove infringement of that first '227, the

    5   price gets steeper for Apple --

    6           A   That's correct.

    7           Q   -- because of the more infringing feature.

    8           A   Right.   And the survey results.

    9           Q   All right.

   10           A   It was a different survey that was done.

   11                    MR. CARROLL:   Can you find that one?

   12                    THE WITNESS:   It's No. 33.

   13                    MR. CARROLL:   No. 33.

   14           Q   (By Mr. Carroll) What's this slide telling the

   15   jury?

   16           A   This is looking at an example of -- I'm trying

   17   to put this in perspective.

   18               We have the 129-dollar sales price for this

   19   product; we have operating profits of $98; and all I'm

   20   showing is that 11.36 percent -- $11.36 royalty on this

   21   particular software, the Tiger, Leopard, for example,

   22               Apple still keeps the lion's share -- no pun

   23   intended -- keeps the lion's share of its profits.       They

   24   keep 88 -- 88 percent of their profits.

   25               So if you look, that's that difference between
Case16:08-cv-00088-LED
        the $98 and 63 --Document
                          the $11.36,
                                  421 that's  about $87Page
                                       Filed 10/20/10   of profit
                                                            64 of 252 PageID #: 38635
    2   that Apple keeps when it sells this product.

    3             So I'm only asking for 1/9 of the profits on

    4   this product, and 1/20 or 5 percent of the profits when

    5   these products are sold with --

    6        Q    And so -- I'm sorry.        Go ahead.

    7        A    No.     And I'm just saying, Apple keeps the vast

    8   majority of its profit.

    9        Q    And that's to distribute to its good

   10   shareholders, like Dr. Tribble over here?

   11        A    Correct.

   12        Q    All right.

   13                     MR. CARROLL:     Pass the witness.

   14                     THE COURT:     All right.

   15                     Cross-examination.

   16                     MR. RANDALL:     Thank you, Your Honor.

   17                         CROSS-EXAMINATION

   18   BY MR. RANDALL:

   19        Q    Mr. Bratic, my name is Jeff Randall.         We

   20   haven't met before, have we?

   21        A    I don't believe so.

   22        Q    Okay.

   23        A    Nice to meet you.

   24        Q    It's nice to meet you.

   25             Mr. Bratic, you've been an expert opining on
Case16:08-cv-00088-LED
        damages in patentDocument
                          cases for421
                                    someFiled
                                          time,  correct?
                                              10/20/10  Page 65 of 252 PageID #: 38636
    2        A      That's correct.

    3        Q      All right.   And during some of those -- that

    4   work that you've engaged to obtain your experience, you

    5   have opined in IP cases, right?

    6        A      I'm not sure what's your question.

    7        Q      Intellectual property cases.   You've worked on

    8   intellectual property cases?

    9        A      Yes.

   10        Q      Okay.

   11        A      Patent cases are a type of intellectual

   12   property.

   13        Q      Including software cases?

   14        A      Oh, yes.

   15        Q      All right.   Software cases involving trade

   16   secrets, misappropriation?

   17        A      Some.

   18               In other words, the trade secrets cases that

   19   I've been involved in have involved a variety of topics,

   20   everywhere from software to drilling bit technology to

   21   manufacturing processes.

   22        Q      All right.   Have you ever analyzed any license

   23   agreements for technology, as opposed to patent license

   24   agreements?

   25        A      Yes.
Case16:08-cv-00088-LED
             Q    All right. So you
                         Document 421-- Filed 10/20/10 Page 66 of 252 PageID #: 38637
    2        A     In fact, I've negotiated them.

    3        Q     Okay.    So you've analyzed and you've opined on

    4   the value of technology license agreements that do not

    5   involve patents, correct?

    6        A     Yes.

    7        Q     All right.    And you're familiar with those,

    8   right?

    9        A     Yes.

   10        Q     Okay.    And so a party doesn't need to take a

   11   license to technology only if there is patents involved,

   12   correct?

   13        A     I'm not sure what the question is.

   14        Q     All right.    Did you involve -- did you analyze

   15   any technology license agreements in this case in

   16   forming your opinions?

   17        A     Yes.    Apple executed a number of license

   18   agreements they produced in this case.

   19        Q     All right.

   20        A     I've studied them.

   21        Q     You've studied the license agreement --

   22        A     They're all mentioned in my report.

   23        Q     Excuse me.    You've studied the license

   24   agreement that Apple entered into to purchase a license

   25   to Coverflow that we've been talking about in this case,
Case16:08-cv-00088-LED
        right?         Document 421 Filed 10/20/10 Page 67 of 252 PageID #: 38638
    2        A      I believe -- I'm trying to remember which one

    3   that was.

    4        Q      Let me refresh your recollection.

    5               Apple took -- investigated a technology, the

    6   Coverflow technology.    They investigated it; they looked

    7   at it; they negotiated a technology license agreement

    8   for that; and they purchased a technology license

    9   agreement for Coverflow for $70,000, didn't they?

   10        A      You'll have to remind me which license

   11   agreement that was, because there were a lot of them.

   12        Q      You're not familiar --

   13                         MR. RANDALL:   Strike that.

   14        Q      (By Mr. Randall) Did you consider, in forming

   15   your opinions in this case that you provided to the

   16   jury, that Apple negotiated a license agreement and

   17   entered into a technology license agreement to obtain a

   18   technology license to utilize Coverflow in its products

   19   for $70,000?

   20        A      What I recall is that Apple executed a license

   21   agreement for some technology associated with Coverflow,

   22   but it certainly wasn't the Gelernter technology.

   23   Gelernter (pronouncing).    Sorry.

   24        Q      Did you -- did you draw any distinctions at

   25   all between the Coverflow technology that Apple licensed
Case16:08-cv-00088-LED
        for $70,000 and Dr. Gelernter's
                         Document       inventions?
                                  421 Filed 10/20/10 Page 68 of 252 PageID #: 38639
    2        A    Yes, I did.

    3        Q    You made the distinctions?

    4        A    I made the distinction based on my interviews

    5   of Dr. Levy.

    6        Q    All right.    So the Coverflow technology that

    7   Apple licensed for $70,000 is different in your view

    8   than Gelernter's inventions; is that right?

    9        A    Yes.

   10        Q    Thank you.

   11        A    That's absolutely correct.

   12        Q    Thank you.

   13             And you understand that the Coverflow

   14   technology that Apple licensed for $70,000 did not

   15   involve any patents, right?

   16        A    That's correct.

   17        Q    Okay.

   18        A    That's my recollection, not having the

   19   document in front of me.

   20        Q    Now, in reaching -- in reaching your opinions

   21   in this case, you attempted to determine what the

   22   parties would negotiate a license for, correct?

   23        A    Yes.

   24        Q    All right.    And so it's a hypothetical

   25   negotiation, right?
Case16:08-cv-00088-LED
             A    Correct.
                         Document 421 Filed 10/20/10 Page 69 of 252 PageID #: 38640
    2        Q    All right.   Now, who were the two parties that

    3   would have engaged in this hypothetical negotiation?

    4        A    It would have been Recognition Interface and

    5   Apple.

    6        Q    Okay.   And as the core of your evaluation of

    7   what these parties would have arrived at in terms of a

    8   royalty figure, you have to determine what both sides

    9   would agree on, correct?

   10        A    Correct.

   11        Q    Okay.   And so you go back in time, and under

   12   your opinion, you go back to April of 2005, and you

   13   determine, if Recognition Interface were sitting down at

   14   the table, and Apple were sitting down at the table, and

   15   they were negotiating for a license on these patents

   16   what would they end up paying for that license, right?

   17        A    Well, they would agree to the royalty rate,

   18   what structure for the royalty.

   19        Q    Well, they would agree what the royalty was;

   20   whether it's a rate or whatever, they would agree what

   21   the payment was, right?

   22        A    That's part of it they would agree to.

   23        Q    Okay.   All right.   Now, in that negotiation, I

   24   think Mirror Worlds -- the demonstrative they put up,

   25   only one side, Apple, had their cards turned up on that
Case16:08-cv-00088-LED
        table, right?  Document 421 Filed 10/20/10 Page 70 of 252 PageID #: 38641
    2               Could you see that?

    3        A      That's right.

    4        Q      Yeah.

    5        A      But the cards are up for both parties.

    6        Q      That's right, right?

    7        A      Sure.

    8        Q      So both parties flip their cards up, and both

    9   parties say you can know everything I know, and both

   10   sides know everything about each other, right?

   11        A      That's absolutely correct.       It's an open book.

   12        Q      Okay.     Great.

   13               And so back in --

   14                       MR. RANDALL:    Would you pull up DX -- I'm

   15   sorry -- B5?

   16        Q      (By Mr. Randall) All right.       Now, this is a

   17   timeline.    I just want to ask you a few questions about

   18   this timeline.

   19        A      Boy, it's busy.

   20        Q      You understand that starting with Gelernter --

   21   see the box that says Gelernter on the left-hand side?

   22        A      Dr. Gelernter (pronouncing).

   23        Q      Yes.     I'm sorry.    We'll just say Dr. G.

   24        A      Let's just call him Dr. G.

   25        Q      There we go.       All right.
Case16:08-cv-00088-LED
             A    Make itDocument
                          easier. 421 Filed 10/20/10 Page 71 of 252 PageID #: 38642

    2           Q   So G transfers these patent rights -- assigns

    3   them to Yale, correct?

    4           A   Way back when, yes.

    5           Q   Yes, in '96.

    6           A   Correct.

    7           Q   Freeman transfers them to Lifestreams, and

    8   then Lifestreams transfers them to Yale, right?

    9           A   Well, we're going a little fast.     I'm sorry.

   10           Q   I know.    I'm on a time clock.   I'm trying

   11   to --

   12           A   I understand, but I'm trying -- I've got a

   13   moving screen and a -- and a -- and a moving mouth.        I'm

   14   trying to sync those.

   15           Q   All right.

   16           A   So help me out here and just put that -- when

   17   you're talking about it, have the screen in front of you

   18   where you want it.

   19           Q   Mr. Bratic, in '96 --

   20           A   Yes.

   21           Q   -- Freeman transfers these patent rights to

   22   Lifestreams, and then in July of '97, they go to Yale,

   23   right?

   24           A   Yes.

   25           Q   All right.     So in July of '97, Yale has these
Case16:08-cv-00088-LED
        patents, right? Document 421 Filed 10/20/10 Page 72 of 252 PageID #: 38643

    2           A    Yes.

    3           Q    All right.    Now, that deal between Gelernter

    4   or Dr. G and Yale where he transferred his patent

    5   rights, he did that under his own contract with Yale,

    6   didn't he?

    7           A    That's what I -- that's my recollection.

    8           Q    Right.    That wasn't a related transaction or

    9   anything; it was just a -- it was a contract for

   10   employment.     He was an employee at Yale; he was a

   11   professor.     He agreed to be a professor and get paid for

   12   that, and in return, he agreed to assign all of his

   13   inventions to Yale, right?

   14           A    Right.    That's why it's -- it's -- it's a

   15   related-party transaction.

   16           Q    Well, he's a smart guy.     He agreed to that on

   17   his own, didn't he?

   18           A    Yes, but he agreed because he knew, when he

   19   came to Yale, that's the terms of his employment.

   20           Q    Okay.    That's fine.   That's all I want to

   21   know.

   22           A    So it's not like him not being part of Yale

   23   and selling his patents to Yale.

   24           Q    We'll just take it a step at a time.

   25           A    Sure.
Case16:08-cv-00088-LED
             Q    All right. So when
                         Document 421 Yale
                                       Filedgets the patents
                                             10/20/10        --of 252 PageID #: 38644
                                                       Page 73
    2        A     Right.

    3        Q     -- when they end up -- Yale ends up

    4   transferring them to Mirror Worlds Technology in

    5   December 21 of '99, right?

    6        A     Well, I'll take your word on the date.        It was

    7   in that timeframe.

    8        Q     Okay.     And Yale transferred these patents to

    9   Mirror Worlds Technology for $598,000 in December of

   10   '99, right?

   11        A     Correct.

   12        Q     Okay.     And out of that deal, out of that

   13   transaction, pursuant to Dr. Gelernter's deal with Yale,

   14   he got $50,000, didn't he, approximately?

   15        A     I -- I think that's my recollection.

   16        Q     All right.     And then Yale transfers the

   17   patents to Mirror Worlds Technologies.      So Mirror Worlds

   18   Technologies, as of December of '99, they have the

   19   patents, right?

   20        A     Yes.     I'll take your word on these precise

   21   dates --

   22        Q     All right.

   23        A     -- because I don't have the documents in front

   24   of me.

   25        Q     Okay.     And then you know -- you've heard this
Case16:08-cv-00088-LED
        testimony becauseDocument
                          you were 421
                                    here Filed
                                         during   the trial
                                               10/20/10     --74
                                                         Page  that
                                                                 of 252 PageID #: 38645
    2   Mirror Worlds Technology received approximately $9

    3   million in investment from Abacus, which is Mr. Weil's

    4   family company; and another $9 million from other

    5   inventors, right -- other investors, correct?

    6        A    Yes.    And the testimony, I believe, was closer

    7   to $20 million in total.

    8        Q    All right.    So Mr. Weil and his family had

    9   approximately half the investment in Mirror Worlds, and

   10   these other investors had the other half, approximately,

   11   right?

   12        A    Well, I don't know.    I don't -- I don't recall

   13   specifically --

   14        Q    All right.

   15        A    -- what their percentages were.

   16        Q    So then in June -- in June, June 18, 2004,

   17   Mirror Worlds sells these patents to Recognition

   18   Interface for $210,000, right?

   19        A    Correct.

   20        Q    Okay.    And you realize, because you've studied

   21   this case, that in June of 2004, right about that same

   22   time, right about the same time that Mirror Worlds sells

   23   these patents to Recognition Interface for $210,000,

   24   Apple publicly displays its operating system at WWDC

   25   2004, right?
Case16:08-cv-00088-LED
             A    Well, it's -- let's
                         Document 421 beFiled
                                          real10/20/10
                                                clear about
                                                        Pagethat.
                                                             75 of 252 PageID #: 38646
    2   What they did is, they -- Steve Jobs -- that's where he

    3   talked about Spotlight being revolutionary.    That's the

    4   conference where he was talking about what was at that

    5   time an complete product.

    6        Q    Sir, at that conference in June of 2004, Apple

    7   handed out 3,000 copies of the accused infringing

    8   software, correct?

    9        A    No, that's not true at all.

   10        Q    That's software wasn't infringing?

   11        A    It was not.

   12        Q    Okay.   Do you --

   13        A    There's no evidence in this case that the

   14   3,000 preview copies that Apple passed out at that

   15   Worldwide Development Conference was infringing, because

   16   if you go to Dr. Feiner's report, he says it's his

   17   understanding that it was a complete product, and he got

   18   that understanding from Apple.

   19             Nobody analyzed that product to figure out if

   20   it was infringing or not.

   21             And at my deposition --

   22        Q    I'm sorry.

   23        A    -- I provided a list of all the different

   24   aspects of the code, some of which, as of December 2004,

   25   had zero percent completion.
Case16:08-cv-00088-LED
                  So it couldn't
                         Documentbe421
                                    a copy
                                       Filedof10/20/10
                                                what wasPage
                                                         released
                                                             76 of 252 PageID #: 38647
    2   to the public.      It just couldn't.

    3           Q   Do you -- do you establish your date of the

    4   hypothetical negotiation at the time a party either

    5   makes or sells something that is accused to infringe?

    6           A   I based my --

    7           Q   Is that a yes or a no?

    8           A   Well, repeat your question, please.

    9           Q   Do you base -- one of the factors in

   10   determining when a hypothetical negotiation would take

   11   place between parties is when one of the parties makes

   12   or sells an accused infringing product, correct?

   13           A   Well, no.    That's not the whole story.        It's

   14   make, use, offer for sale, or sell.

   15           Q   I didn't say it's the whole story; I said

   16   that's part of the factor, right?

   17           A   It's part of the factor, right.

   18           Q   Okay.    So --

   19           A   And the only evidence of an infringing product

   20   is the product that was released to the public in April

   21   2005.

   22           Q   All right.       Assume for a moment that the

   23   product that Apple distributed 3,000 copies of in June

   24   of 2004, assume for a moment that that was the

   25   infringing copy, okay?
Case16:08-cv-00088-LED
             A    You're Document
                         assuming that, being10/20/10
                                  421 Filed    contraryPage
                                                        to the
                                                            77 of 252 PageID #: 38648
    2   facts, making that hypothetical?

    3        Q    I want you to assume that for a moment.

    4        A    Okay.

    5        Q    Would that be the time of the hypothetical

    6   negotiation --

    7        A    Yes.

    8        Q    -- June -- okay.

    9             And you realize that under your view, the

   10   hypothetical negotiation took place slightly later, in

   11   April of 2005, correct?

   12        A    Correct.

   13        Q    Okay.   Fine.

   14        A    I'm sorry.      Yes, that's true.

   15        Q    And so in this presentation that I've got in

   16   front of you, the hypothetical negotiation under your

   17   opinion would occur when Recognition Interface owned --

   18   owned the patents, right?

   19        A    Correct.

   20        Q    All right.      So at that time in the timeline in

   21   the life of these patents, under your view, Mirror

   22   Worlds had sold the patents to Recognition Interface for

   23   $210,000 in June of 2004; and then slightly thereafter,

   24   in April of 2005, this hypothetical negotiation would

   25   take place, right?
Case16:08-cv-00088-LED
             A    Based on my analysis.
                         Document 421 Filed 10/20/10 Page 78 of 252 PageID #: 38649
    2        Q    Okay.

    3        A    And based on the evidence as I've seen it.

    4        Q    All right.    So at that hypothetical

    5   negotiation, Apple would know that Mirror Worlds had

    6   just sold several months prior, the patents for

    7   $210,000, right?

    8        A    Right.    They would know that was a

    9   related-party transaction, too, because all the cards

   10   are up.

   11        Q    They would know that, right?

   12        A    Yes, they would.    They would know it's a

   13   related-party transaction.

   14        Q    And they would also know --

   15        A    Yes.

   16        Q    -- that Mirror Worlds was about to, at the end

   17   of 2007, sell the patents for $5 million to Plainfield,

   18   plus a 19-percent retainer, right?

   19        A    No, that's not correct.     You mentioned Mirror

   20   Worlds; it's Recognition Interface.

   21        Q    Okay.    I apologize for that.

   22             So they would know that.     Apple would know

   23   that Recognition Interface, sometime down the road, was

   24   going to sell those patents for 5 million, right?

   25        A    Yes.
Case16:08-cv-00088-LED
             Q    Okay. Document
                        So your hypothetical negotiation
                                 421 Filed 10/20/10  Pagewould
                                                          79 of 252 PageID #: 38650
    2   take place between a sale of the patents for $210,000

    3   and a subsequent sale of the patents for $5 million,

    4   right?

    5        A     Correct.

    6        Q     Okay.

    7        A     Knowing that in those two transactions there

    8   was no evidence that the patents were valid and had been

    9   infringed by anybody, and there was no issue about

   10   design-around alternatives.

   11        Q     But at that -- that -- that --

   12        A     Because those companies weren't in the

   13   business of selling a product.

   14        Q     But at the hypothetical negotiation, you said

   15   that the parties know everything.        They know --

   16        A     That's right.

   17        Q     -- there's infringement.       They know -- Apple

   18   knows that the -- that the patents were just sold for

   19   210,000.   They know that they're going to be, in the

   20   future, sold for 5 million.     Apple knows that when

   21   they're negotiating, right?

   22        A     Yes.    And Apple also knows --

   23        Q     I'm sorry.    Just say yes.     Yes.

   24        A     That's only part of what they know.

   25        Q     I don't want to argue.     I just want an answer
Case16:08-cv-00088-LED
        to my question. Document 421 Filed 10/20/10 Page 80 of 252 PageID #: 38651

    2        A       I'm just saying that's an incomplete --

    3        Q       Okay.

    4        A       -- thought.

    5        Q       And --

    6        A       That's all.

    7        Q       -- during that time period, a -- that was for

    8   the purchase of all the patents.         I mean, not a license,

    9   right?     The license would be less than that, right?

   10        A       Well, it depends on the circumstances.

   11        Q       But that was for a sale of all of it,

   12   everything.     Not just a license --

   13        A       A transfer of ownership.

   14        Q       Of ownership.

   15        A       Correct.

   16        Q       Right.

   17        A       That's right.

   18        Q       Okay.

   19        A       That is correct.

   20        Q       Now I want to ask you a couple of questions

   21   about the parties to this suit.

   22                        MR. RANDALL:   Can you put up 001?   Maybe

   23   it's 01.     There we go.

   24        Q       (By Mr. Randall) Okay.      So you followed the

   25   transfer of these patents, correct?
Case16:08-cv-00088-LED
             A    Well, IDocument
                          was familiar
                                  421 with
                                       Filed the transactions
                                             10/20/10  Page 81 of 252 PageID #: 38652
    2   that were on the timeline you had.

    3        Q    So you understand that this Plainfield group

    4   of hedge fund companies owns 74 percent of these

    5   patents, correct?

    6        A    Well, I don't recall that I knew the exact

    7   percentage until I saw this slide yesterday and assuming

    8   this is correct.

    9        Q    Well, you've analyzed the sales of these

   10   patents, right?

   11        A    Yeah, right.

   12        Q    And then pursuant to the terms of the sales of

   13   these patents and the sale from Recognition Interface to

   14   Plainfield, this hedge fund, Plainfield owns 74 percent

   15   of the patents, right?

   16        A    Something like that.

   17        Q    All right.     So 74 cents of every dollar that

   18   you have opined that Apple owes goes to Ed Stone and his

   19   colleagues at this hedge fund, right?

   20        A    Well, that's the facts.

   21        Q    Is that a yes?     Yes?

   22        A    Yes.

   23        Q    Okay.

   24        A    They're the ones who own the patents.

   25        Q    And Recognition Interface, this gentleman,
Case16:08-cv-00088-LED
        Frank Weil, he gets 19 percent,
                         Document       right?
                                  421 Filed 10/20/10 Page 82 of 252 PageID #: 38653
    2        A      Net of taxes.

    3        Q      Have you seen Frank Weil here in the

    4   courthouse anywhere?

    5        A      No.     No.

    6        Q      Do you know why he's not here?

    7        A      No, I don't.

    8        Q      Do you know why this Ed Stone or anyone from

    9   Plainfield Holdings, the hedge fund, isn't here?

   10        A      I assume it's because they're represented by

   11   counsel.    I don't know.

   12        Q      Okay.     All right.   And then the law firm gets

   13   5 percent, right?

   14        A      I believe that's right.

   15        Q      All right.     Do you agree with Mr. Satow when

   16   he said that Frank Weil, as Chairman of the Board of

   17   Mirror Worlds Technologies, when he sold the patents for

   18   $210,000, committed -- he breached his fiduciary duty to

   19   those other shareholders that invested $9 million in the

   20   company?

   21        A      I don't have an opinion on that.

   22        Q      Okay.

   23        A      It sounds like a legal question.      Mr. Satow is

   24   a lawyer.

   25        Q      He's a securities lawyer, right?
Case16:08-cv-00088-LED
             A    He's a Document
                         lawyer. 421 Filed 10/20/10 Page 83 of 252 PageID #: 38654

    2        Q    Yeah.

    3             Now, would you agree that one of the key

    4   differences between your opinion regarding damages in

    5   this case --

    6                     MR. RANDALL:   Can we go back to the

    7   previous slide?     It is B5.

    8        Q    (By Mr. Randall) Would you agree that one of

    9   the key differences between your opinion in this case

   10   and the opinion of Apple's damages expert in this case

   11   is how much weight you attribute to the actual sales of

   12   the patents -- not just a license, but the actual sales

   13   of the patents that occurred right before the

   14   hypothetical negotiation date and a couple of years

   15   after?

   16             And that would be $210,000 and 5 million.

   17   Would you agree that that's one of the most significant

   18   differences between your opinions?

   19        A    That's one of them.

   20        Q    Okay.

   21        A    The other one is he ignored the 72 billion in

   22   sales.

   23        Q    Right.     But that's -- that -- under this

   24   circumstance, why wouldn't Apple just have sat down at

   25   this hypothetical negotiation knowing that Mirror Worlds
Case16:08-cv-00088-LED
        was about to sellDocument
                          these patents a couple
                                  421 Filed      of years
                                            10/20/10  Pagelater
                                                           84 of 252 PageID #: 38655
    2   for 5 million and just bought them for 5 million?

    3        A      Well, because these transactions were with

    4   companies that weren't in the business of making

    5   products.    They're in a very different situation than

    6   Apple that actually sells products.

    7               So if Apple were sitting down there and

    8   wanting to buy them for 5 million, they wouldn't have

    9   sold it for 5 million, because the same shareholders

   10   who -- most of the same shareholders that were

   11   shareholders in Mirror Worlds became shareholders in

   12   Recognition Interface, and they got an opportunity to

   13   participate in profits from licensing.

   14               Their program was not to sell product.     Their

   15   objective was to license technology or partner with

   16   technology companies, which is a very different

   17   transaction than Apple coming in and saying:     We're

   18   Apple.   We want to put this in 124 million individual

   19   infringing products and distribute it all over the

   20   country for the next five-and-a-half years.

   21        Q      Okay.   Let me --

   22        A      That's a very different model.

   23        Q      Okay.   So, in your opinion, though, you

   24   believe Apple began infringing and you assume Apple

   25   began infringing in April of 2005, right?
Case16:08-cv-00088-LED
             A    Right. Document 421 Filed 10/20/10 Page 85 of 252 PageID #: 38656

    2        Q    Okay.

    3        A    But nobody knew that at that time.

    4        Q    Excuse me.   Can we just...

    5             So April of 2005, you believe and you assume

    6   that Apple is infringing, right?

    7        A    For the hypothetical negotiation --

    8        Q    Okay.

    9        A    -- yes.

   10        Q    And then you are also assuming that when

   11   Recognition Interface sold the patents to Plainfield in

   12   December of 2007, some two-and-a-half years later --

   13   two-and-a-half years later, you're assuming that they

   14   didn't know that anyone was -- out there was infringing,

   15   right?

   16        A    Well, they would not have known the extent of

   17   any infringement, if there was infringement.

   18        Q    But -- but you -- you're assuming that Apple

   19   had been infringing for two-and-a-half years, right?

   20        A    In the hypothetical negotiation.     We're

   21   sitting here at the time of trial looking back and

   22   getting an accounting for those infringing sales.

   23             There's no evidence that I've seen that either

   24   Apple -- excuse me -- Mirror Worlds -- in fact, when

   25   Mirror Worlds transferred -- according to what's on the
Case16:08-cv-00088-LED
        screen, when theyDocument
                          transferred
                                  421 the patents
                                       Filed       to Recognition
                                             10/20/10  Page 86 of 252 PageID #: 38657
    2   Interface, Apple hadn't even started selling any

    3   infringing products.

    4             Fast-forward to 2007, I've seen no evidence in

    5   this case that Recognition Interface had any information

    6   from Apple, at that time they made that transaction, as

    7   to how much product Apple was selling.

    8        Q    You're guessing that Recognition -- you're

    9   guessing that Recognition Interface did not know that

   10   Apple was engaged in selling all these products for

   11   two-and-a-half years?

   12        A    No, I didn't say that.

   13        Q    Okay.   Let me ask you another question.

   14        A    I didn't say that at all.

   15        Q    Let me ask you another question.

   16             Frank Weil --

   17        A    Yes.

   18        Q    -- made quite a return on his investment,

   19   didn't he, from -- when he purchased the patents for

   20   Recognition Interface right around the time of at least

   21   Apple's damages expert's hypothetical negotiation in

   22   June of 2004, when Frank Weil bought the patents for

   23   $210,000 for Recognition Interface in 2004, in June, and

   24   then he sells them in December of 2007 for 5 million, he

   25   made quite a return, didn't he?
Case16:08-cv-00088-LED
             A    Well, he and the 421
                         Document   otherFiled
                                           shareholders.
                                               10/20/10 Page 87 of 252 PageID #: 38658
    2        Q    Sure.     Okay.

    3                     MR. RANDALL:     No further --

    4        A    Not just him.

    5                     MR. RANDALL:     No further questions, Your

    6   Honor.

    7                     THE COURT:     All right.     Redirect?

    8                     MR. CARROLL:     No, Your Honor.     We reserve

    9   the right to re-call Mr. Bratic in our rebuttal case.

   10                     THE COURT:     All right.     Very well.    You

   11   may step down.

   12                     THE WITNESS:     Thank you, Your Honor.

   13                     THE COURT:     All right.     Who will be your

   14   next witness?

   15                     MR. CARROLL:     I think we're done.       Let me

   16   confer.

   17                     We rest.

   18                     THE COURT:     All right.     Very well.

   19                     All right.

   20                     MR. RANDALL:     We have a motion to bring.

   21                     THE COURT:     Excuse me?

   22                     MR. RANDALL:     We have a motion to bring.

   23                     THE COURT:     Let's see.     We've been going

   24   for an hour-and-a-half.        All right.     We'll take a

   25   15-minute -- yeah.     Let's call it a -- yeah -- 15-minute
Case16:08-cv-00088-LED
        recess. Be in recess until421
                        Document   2:25, a little
                                      Filed        longer
                                            10/20/10  Pagethan
                                                           88 of 252 PageID #: 38659
    2   15 minutes.

    3                    And Ladies and Gentlemen of the Jury,

    4   just so you know, the Plaintiff has rested their case,

    5   and when we come back, then we'll begin hearing evidence

    6   from the Defendants' case.

    7                    So we'll be in recess until 2:25.

    8                    COURT SECURITY OFFICER:        All rise for the

    9   jury.

   10                    (Jury out.)

   11                    THE COURT:     Please be seated.

   12                    All right.     Does the Defendant have a

   13   motion it wishes to make?

   14                    MR. RANDALL:     Yes, Your Honor.

   15                    Apple moves for judgment as a matter of

   16   law, pursuant to Federal Rule of Civil Procedure 50(a),

   17   on all of Mirror Worlds' claims and Apple's

   18   counterclaims.

   19                    I can, Your Honor, if you'd like,

   20   summarize that motion orally, or we can submit a written

   21   motion later tonight, if the Court would prefer to do it

   22   that way.

   23                    THE COURT:     Go ahead.

   24                    MR. RANDALL:     Okay.     First, Your Honor,

   25   Mirror Worlds has failed to establish literal
Case16:08-cv-00088-LED
        infringement of any claims 421
                         Document   of the patents-in-suit,
                                        Filed 10/20/10 Page 89 of 252 PageID #: 38660
    2   because the accused products do not implement one,

    3   streams; two, a timestamp to identify; three, a receding

    4   foreshortened stack; four, two operating systems; nor

    5   five, sliding without clicking to display a glance view.

    6                    For example, Dr. Levy did not offer any

    7   testimony regarding literal infringement and instead

    8   only discussed infringement under the Doctrine of

    9   Equivalents.

   10                    Judgment as a matter of law of

   11   non-infringement should, therefore, be granted for all

   12   claims.

   13                    Second, Mirror Worlds has failed to

   14   establish any infringement under the Doctrine of

   15   Equivalents, because there is no evidence for a

   16   reasonable jury to find that the differences between the

   17   accused products and Mirror Worlds' patents-in-suit are

   18   insubstantial.

   19                    The accused products are fundamentally

   20   different from Mirror Worlds' patents and do not

   21   implement streams, stream-based operating systems, or

   22   any other time-based storage, indexing, and searching

   23   systems.

   24                    Judgment as a matter of law on

   25   non-infringement under the Doctrine of Equivalents
Case16:08-cv-00088-LED
        should be grantedDocument
                          for all claims.
                                  421 Filed 10/20/10 Page 90 of 252 PageID #: 38661
    2                   Also, Your Honor, Mr. Levy clearly did

    3   not ever apply an appropriate literal infringement

    4   standard in his opinions.

    5                   He also did not understand nor apply an

    6   appropriate Doctrine of Equivalents standard in reaching

    7   his opinions.

    8                   Third, Your Honor, Mirror Worlds has

    9   presented no evidence or testimony of induced

   10   infringement, because no evidence exists for the

   11   following required elements:

   12                   The accused infringer actively encouraged

   13   or instructed another person on how to use a product or

   14   perform a process in the way that infringes at least one

   15   patent claim;

   16                   The accused infringer knew of the patent

   17   at that time;

   18                   The accused infringer knew or should have

   19   known that the encouragement or instructions would

   20   result in infringement of at least one patent claim;

   21                   The accused infringer had a specific

   22   intent to induce the infringement;

   23                   Or the other person infringed at least

   24   one patent claim.

   25                   Mirror Worlds has failed to offer
Case16:08-cv-00088-LED
        evidence for any Document
                         of these elements,
                                  421 Filed and judgment
                                            10/20/10     as91
                                                      Page  a of 252 PageID #: 38662

    2   matter of law of no induced infringement should be

    3   granted.

    4                     In fact, I don't think they ever even

    5   mentioned indirect infringement; I don't think they ever

    6   mentioned inducement to infringe or contributory

    7   infringement, Your Honor.

    8                     Fourth, Mirror Worlds has offered no

    9   evidence of -- there we go -- contributory infringement,

   10   because no evidence exists for the following required

   11   elements:

   12                     The accused infringer, with knowledge of

   13   the patents, supplies a part or a component to another

   14   for use in a product, machine, or process that infringes

   15   a patent claim;

   16                     The one who received the component

   17   infringes a patent claim;

   18                     The component is a significant part of

   19   the invention;

   20                     A component is especially made or adapted

   21   for use in a way that infringes at least one claim of

   22   one of the patents-in-suit, and the accused infringer

   23   knew that the component was especially made for that

   24   use;

   25                     Or the component does not have a
Case16:08-cv-00088-LED
        significant non-infringing use. Filed 10/20/10 Page 92 of 252 PageID #: 38663
                         Document 421
    2                  Mirror Worlds has failed to offer

    3   evidence for any of these elements, and judgment as a

    4   matter of law of no contributory infringement should be

    5   granted.

    6                  Fifth, Mirror Worlds has offered no

    7   evidence of infringement under Section 271(f), because

    8   no evidence exists for the following required elements:

    9                  A product or method exists as it is

   10   intended to be assembled or used outside the United

   11   States that includes all limitations of at least one of

   12   the asserted claims;

   13                  The accused infringer supplied or caused

   14   to be supplied in or from the United States or all -- a

   15   substantial portion of the components of a patented

   16   invention;

   17                  Or the accused infringer specifically

   18   intended to induce the combination of the components

   19   into a product and/or use of the components in a way

   20   that would infringe the patents-in-suit, if the

   21   components had been combined in the United States.

   22                  In addition, the Court granted Apple's

   23   Motion in Limine No. 2 to exclude all evidence and

   24   argument regarding worldwide sales for products made and

   25   sold outside of the United States.
Case16:08-cv-00088-LEDAlso, counsel
                        Document 421forFiled
                                         Mirror  WorldsPage
                                             10/20/10   confirmed
                                                            93 of 252 PageID #: 38664
    2   that we have no evidence and will put on -- and will not

    3   put on any testimony about any damages that we claim

    4   other than from U.S. sales.

    5                  Judgment as a matter of law of no

    6   infringement under Section 271(f) should, therefore, be

    7   granted.

    8                  Sixth, Mirror Worlds has offered no

    9   evidence of willful infringement or that Apple acted

   10   despite an objectively high likelihood that its actions

   11   constituted infringement of the patents-in-suit.

   12                  Both at the time of the alleged

   13   infringement and from the record developed in the

   14   infringement proceeding, Apple had reasonable and

   15   legitimate defenses, including but not limited to

   16   non-infringement, invalidity by anticipation,

   17   obviousness, and indefiniteness, unenforceability by

   18   inequitable conduct, rejection of substantially all

   19   claims during re-examination of the patents-in-suit.

   20                  In addition, no evidentiary basis exists

   21   for a reasonable jury to find that Apple knew or should

   22   have known that its actions constitute alleged

   23   infringement of the patents-in-suit, because Mirror

   24   Worlds Technologies failed to mark substantially all of

   25   its Scopeware products.
Case16:08-cv-00088-LEDMirror Worlds
                        Document 421Technologies  did Page
                                      Filed 10/20/10  not 94 of 252 PageID #: 38665

    2   otherwise disclose the patents-in-suit to Apple.     The

    3   patents-in-suit did not appear on the Mirror Worlds

    4   Technology's or Scopeware websites, and none of the

    5   Apple employees were ever aware of the patents-in-suit.

    6                  Judgment as a matter of law of no willful

    7   infringement should, therefore, be granted.

    8                  Seventh, Mirror Worlds did not meet its

    9   burden to prove any damages with reasonable certainty

   10   and failed to establish that the requested damages

   11   constitute a reasonable royalty for all the following

   12   reasons:

   13                  Mirror Worlds' expert improperly applied

   14   the entire market value rule;

   15                  Mirror Worlds' expert applied the

   16   incorrect hypothetical negotiation date;

   17                  Mirror Worlds' expert improperly relied

   18   upon consumer surveys that lack any foundational basis

   19   from a qualified expert;

   20                  Mirror Worlds Technologies failed to

   21   properly mark substantially all of its Scopeware

   22   products;

   23                  Mirror Worlds bears the burden of proving

   24   compliance with 35 U.S.C. Section 287 in order to obtain

   25   damages prior to filing suit;
Case16:08-cv-00088-LEDMirror Worlds,
                        Document 421 therefore,  cannot
                                      Filed 10/20/10    recover
                                                      Page 95 of 252 PageID #: 38666
    2   any damages prior to the filing date of this case, March

    3   14, 2008;

    4                    Mirror Worlds failed to account for

    5   non-infringing, commercially acceptable alternatives

    6   that were available to Apple at the time of the

    7   hypothetical negotiation;

    8                    Mirror Worlds has also failed to prove

    9   that it is entitled to either a lump sum, paid-up

   10   royalty, or running royalty;

   11                    Mirror Worlds' damages request does not

   12   reflect the appropriate portion of the royalty base that

   13   reflects the value of the patented invention or

   14   apportionment;

   15                    And Mirror Worlds' damages request is

   16   punitive and speculative.

   17                    Accordingly, Mirror Worlds is not

   18   entitled to any damages based on its failure of proof.

   19                    In the alternative, Mirror Worlds cannot

   20   recover more than $210,000, the established reasonable

   21   royalty, for the rights to the patents-in-suit in June

   22   of 2004.

   23                    In the alternative, Mirror Worlds cannot

   24   recover more than $598,482.50, which is the established

   25   reasonable royalty for the rights to the patents-in-suit
Case16:08-cv-00088-LED
        in December 1999.Document 421 Filed 10/20/10 Page 96 of 252 PageID #: 38667

    2                  In the alterative, Mirror Worlds cannot

    3   recover more than 4 million based on Apple's licenses of

    4   comparable and more important technology.

    5                  In the alternative, Mirror Worlds cannot

    6   recover damages based on Apple's sales of its products,

    7   other than the Mac OS 10.

    8                  For all these reasons, judgment as a

    9   matter of law should be granted against each of Mirror

   10   Worlds' claims and counterclaims.

   11                  And, Your Honor, we can provide more

   12   detail to this later through a written motion, if you'd

   13   like.

   14                  THE COURT:     Okay.   Does that cover all of

   15   your motions that you're going to file in writing?

   16                  MR. RANDALL:     Yes, Your Honor.

   17                  THE COURT:     Okay.   Thank you.

   18                  Response?

   19                  MR. STEIN:     I'm not a great note-taker.

   20   There was a lot of information right there, but I think

   21   we did establish our burden of proof on all counts.       I

   22   could try -- I could try to sift through this, but I --

   23                  THE COURT:     Well, let me see if I can

   24   simplify it for you.

   25                  The Court's going to grant the directed
Case16:08-cv-00088-LED
        verdict as to theDocument
                          271(f) claim
                                  421 and
                                       Filedas10/20/10
                                                to inducement and
                                                        Page 97 of 252 PageID #: 38668
    2   contributory infringement.

    3                     I am -- I would like to hear your

    4   argument with regard to the '427 patent, Claims 16 and

    5   18, with regard to the display of a cursor.

    6                     MR. STEIN:     The argument is that that

    7   limitation is made under the Doctrine of Equivalents,

    8   that that --

    9                     THE COURT:     Okay.     So you're not

   10   claiming -- claiming literal infringement then --

   11                     MR. STEIN:     That --

   12                     THE COURT:     -- as to the '427, Claims 16

   13   and 18?

   14                     MR. STEIN:     No.

   15                     THE COURT:     All right.     It's granted as

   16   to literal infringement of the '427, Claims 16 and 18.

   17                     And let me hear your argument as to why

   18   you've made out a Doctrine of Equivalents case under

   19   that provision.

   20                     MR. STEIN:     I think Dr. Levy clearly

   21   explained how sliding the -- a cursor over a stack is

   22   equivalent to sliding a stack, basically, under a

   23   cursor; and I think the evidence there was compelling.

   24                     THE COURT:     Okay.     Response?

   25                     MR. RANDALL:     Your Honor, they are
Case16:08-cv-00088-LED
        diametrically opposed. The421
                         Document  ideaFiled
                                         of displaying a cursor
                                             10/20/10 Page 98 of 252 PageID #: 38669
    2   on the screen and not displaying a cursor on the screen,

    3   that's one -- one -- and there were multiple aspects of

    4   that element that I was focusing on with Dr. Levy.

    5                  Number one, he didn't apply the

    6   appropriate standard for Doctrine of Equivalents.

    7                  Number two, even if we get at the

    8   foundational level of whether he could possibly have

    9   said it, it simply doesn't have a cursor.    It doesn't

   10   have any -- any mechanism to display on the screen.

   11                  And that's what the claim -- that's what

   12   the claim element requires.   The cursor or pointer has

   13   to be displayed on the screen, number one.

   14                  Number two, it has to move on the screen.

   15                  Number three, it has to move on the

   16   screen across the stack of documents -- across -- it

   17   says over, over the -- over the documents.

   18                  And then number four, it has to touch one

   19   of the documents in the stream to display a glance view.

   20                  And he did not provide any testimony

   21   whatsoever that some rectangular device that appears

   22   under the screen has any of the attributes of a cursor,

   23   such as being able to see the cursor move anywhere

   24   around on the screen so you can see it.

   25                  And that claim element specifically
Case16:08-cv-00088-LED
        requires it. TheDocument
                         claim element specifically
                                 421 Filed 10/20/10 requires
                                                     Page 99 of 252 PageID #: 38670
    2   displaying it on the screen, moving it on the screen,

    3   moving it over the stack, touching a document.

    4                    None of that is apparent from a fixed set

    5   of -- of information underneath the screen.       It simply

    6   doesn't satisfy Doctrine of Equivalents.       It can't

    7   satisfy it.    But certainly this witness didn't provide

    8   the right standard nor the right evidence.

    9                    MR. STEIN:    I don't think that accurately

   10   describes what the Doctrine of Equivalents requires.

   11                    If each and every specific term in the

   12   claim was met in the -- in that display, then we would

   13   be arguing literal infringement, not infringement under

   14   the Doctrine of Equivalents.

   15                    I think Dr. Levy --

   16                    THE COURT:    No.   But your expert has a

   17   burden to explain that, and I heard him testify in

   18   rather conclusory terms, but I didn't really hear any

   19   explanation.

   20                    Can you refresh my memory about that?

   21                    MR. STEIN:    I think he did give an

   22   explanation as to how one skilled in the art would view

   23   that -- that -- that term -- that process as being just

   24   an insignificant change.      He described it as an

   25   insubstantial difference.
Case 16:08-cv-00088-LED All you're 421
                         Document  doingFiled
                                         is --  you know,
                                              10/20/10    to 100
                                                       Page   use of 252 PageID #: 38671

     2   the scale example, is that one way, you have the pointer

     3   moving, and the other way, you have the dial moving.

     4   And he -- he explained that one skilled in the art would

     5   recognize that.

     6                     Keeping that pointer -- you know, sliding

     7   it over and having the glance view pop up or keeping it

     8   in the center and moving the stack over it, would be

     9   considered insubstantial differences to those skilled in

    10   the art.

    11                     THE COURT:     Okay.   Let me ask both sides

    12   this:     If the '427, Claims 16 and 18 go out of the case

    13   entirely, what does -- what does that do to the case?

    14                     MR. RANDALL:     It removes from the case

    15   entirely all of the accused iPhones, iPads, and iPods.

    16                     MR. STEIN:     That's correct.

    17                     THE COURT:     Okay.   And what does that do

    18   to your damage model?

    19                     MR. STEIN:     It would reduce it.   I don't

    20   know the figure off the top of my head.

    21                     THE COURT:     Okay.   I'm going to take the

    22   equivalents under advisement.        I'd like written briefing

    23   on it filed by 8:00 p.m. tonight, and in all other

    24   respects, Defendants' motion for directed verdict is

    25   denied.
Case 16:08-cv-00088-LED BeDocument
                           in recess.
                                   421 Filed 10/20/10 Page 101 of 252 PageID #: 38672
     2                       COURT SECURITY OFFICER:      All rise.

     3                       (Recess taken.)

     4                       COURT SECURITY OFFICER:      All rise.

     5                       (Jury in.)

     6                       THE COURT:     Please be seated.

     7                       All right.     Mr. Randall, who will your

     8   first witness be?

     9                       MR. RANDALL:     Thank you, Your Honor.

    10   Apple's first witness is Mr. Bud Tribble, Your Honor.

    11                       THE COURT:     Okay.   Mr. Tribble.

    12      GUY LESLIE "BUD" TRIBBLE, M.D., Ph.D., DEFENDANTS'

    13                       WITNESS, PREVIOUSLY SWORN

    14                           DIRECT EXAMINATION

    15   BY MR. RANDALL:

    16           Q   Can you please state your full name for the

    17   record.

    18           A   Guy Leslie Tribble.

    19           Q   And what's your current occupation?

    20           A   I am currently Vice President of Software

    21   Technology for Apple, Incorporated.

    22           Q   Can you give us a general idea of where that

    23   puts you in the company?

    24           A   Sure.     The person I report to reports to Steve

    25   Jobs.
Case 16:08-cv-00088-LED
               Q   Okay. Document
                          And Steve421
                                    JobsFiled
                                         is the  Chairman
                                              10/20/10    of 102 of 252 PageID #: 38673
                                                       Page
     2   Apple; is that right?

     3           A      He's the Chairman and CEO of Apple, yes.

     4           Q      Okay.    When did you start at Apple?

     5           A      I first started at Apple in 1980.

     6           Q      And how long did you work there?

     7           A      I worked at Apple until approximately 1983, at

     8   which time I went back to medical school and graduate

     9   school to complete my education.         Came back to Apple in

    10   1984.       Stayed through 1985 when Steve Jobs left.

    11   I left with Steve to form a company called NeXT,

    12   Incorporated.

    13           Q      And what was the business of NeXT,

    14   Incorporated, that Mr. Jobs and other colleagues started

    15   in 1985?

    16           A      NeXT was building high-end personal computers

    17   or personal workstations, very powerful computers based

    18   on the UNIX operating system.

    19           Q      UNIX operating system was utilized by Sun; is

    20   that right?

    21           A      Yes.    Sun Microsystems also used the UNIX

    22   operating system.

    23           Q      Did NeXT have what was referred to as a

    24   Digital Librarian in the early 1990s?

    25           A      Yes.    NeXT developed, as part of its NeXT step
Case 16:08-cv-00088-LED
         operating system,Document
                           something called
                                   421  FiledDigital
                                              10/20/10Librarian,
                                                        Page 103 of 252 PageID #: 38674
     2   which was a facility to do full-text indexing and

     3   retrieval as part of the operating system, which NeXT

     4   offered and sold as part of its computer.

     5        Q      Okay.   And can you describe just generally

     6   what full-text indexing and searching is?

     7        A      Sure.   Basically, you would designate a folder

     8   or a set of folders on the computer and tell the

     9   computer:    This is a set of files or documents that I

    10   would like to be able to search instantly.

    11               It would then go and look at all the text that

    12   occurred in those documents, and it gave a facility for

    13   the user to go to a search field and type in any text

    14   they wanted.

    15               And the computer would immediately tell them:

    16   These 10 files or these 200 files are the files that

    17   matched; in other words, that have that text in it.       And

    18   it was a way for the user to deal with the fact that

    19   even at that time, there was this problem of zillions of

    20   files and not being able to find any of them.

    21        Q      And when did NeXT ship its operating -- ship,

    22   meaning sold to customers --

    23        A      Yes.

    24        Q      -- its operating system that had this Digital

    25   Librarian with this full-text indexing and searching
Case 16:08-cv-00088-LED
         that you're referring to? 421 Filed 10/20/10 Page 104 of 252 PageID #: 38675
                         Document
     2        A     It was certainly shipping by 1993.    I believe

     3   it was shipping even prior to that.     I don't recall

     4   exactly which version it showed up in, but certainly it

     5   was shipping by NeXT Step 3.0, which was shipping in --

     6   in 1993.

     7        Q     All right.   And you heard -- and you heard

     8   Mr. Satow testify earlier in the trial that these

     9   indexing and search engine software was a commodity, I

    10   think is what he said; is that right?

    11        A     That's correct.

    12        Q     So other companies had this full-text indexing

    13   and searching capability in the early '90s, correct?

    14        A     That's correct.

    15        Q     All right.   Now, have you -- you are here

    16   today and been here for the whole trial as Apple's

    17   corporate representative; is that right?

    18        A     That's correct.

    19        Q     And have you ever been asked to speak about

    20   Apple's company history before?

    21        A     Sure.   I have spoken about Apple's history

    22   occasionally at, for example, colleges and universities.

    23   I think we discussed the Naval post-graduate school talk

    24   I gave earlier in this trial.

    25              I've also more recently been called to
Case 16:08-cv-00088-LED
         represent Apple during testimony
                         Document         before
                                   421 Filed     the Commerce
                                             10/20/10 Page 105 of 252 PageID #: 38676
     2   Committee of the U.S. Senate.    At that, when I testified

     3   there, along with Google and Facebook and others, one of

     4   the things I talked about was explaining Apple's history

     5   and who we were.

     6        Q     And so how many times have you testified in

     7   front of a jury or in court?

     8        A     This is the first time I've ever testified in

     9   front of a jury or court.

    10        Q     You had no idea what you were in for, did you?

    11        A     Not really.

    12        Q     And are you familiar with Apple's history?

    13        A     Yes, I am.

    14        Q     Okay.   Could you just summarize Apple's

    15   history, let's say, starting in approximately 1977 with

    16   the introduction of the Apple II?

    17        A     Sure.   I mean, Apple is well-known for

    18   introducing the idea of a personal computer to the

    19   world.   The Apple II was the first computer that was

    20   thought of being a personal computer, and Apple was

    21   invented by Steve Jobs and Steve Wozniak, as is

    22   well-known.

    23              As mentioned, I joined Apple in 1980.      My job

    24   was the -- to be the manager of the very first Mac OS

    25   software, and the Macintosh shipped in 1984.    It was a
Case 16:08-cv-00088-LED
         big landmark for Document
                           the company,
                                    421 because  it was the
                                         Filed 10/20/10 Pagefirst
                                                             106 of 252 PageID #: 38677
     2   time that consumers had ever seen a mouse, what's called

     3   a GUI, graphical user interface, windows, and folders

     4   and desktop metaphor on the screen.

     5             More recently, Apple has expanded beyond being

     6   just a computer company; and in this decade has shipped

     7   things like iPods and selling music, selling iPhones,

     8   small devices, as well as selling music online through

     9   something called iTunes.

    10             Also more recently, sort of a big deal for

    11   Apple is the fact that we've opened retail stores

    12   throughout the U.S. and, in fact, worldwide and, you

    13   know, did that over the last 10 years.      And we're quite

    14   proud of that.

    15        Q    Okay.     Let me back up for a moment.

    16             Did -- at some point, did Steve Jobs come back

    17   to Apple from NeXT?

    18        A    Yes.     He returned to Apple from NeXT in, I

    19   believe, it was 1997.

    20        Q    And did you come with him or shortly

    21   thereafter?

    22        A    I came -- I joined after that.      I was not -- I

    23   was actually not at NeXT at that time.      I was at Sun

    24   Microsystems.     I joined Apple in 2001.

    25        Q    Okay.     And did Apple, after Mr. Jobs rejoined
Case 16:08-cv-00088-LED
         Apple, did it buyDocument
                           his other company,
                                   421         NeXT?
                                        Filed 10/20/10 Page 107 of 252 PageID #: 38678
     2        A       Yes.   Apple -- Apple purchased NeXT,

     3   Incorporated.

     4        Q       And did it acquire all of the operating system

     5   technology that NeXT had been developing over the years

     6   with Mr. Jobs?

     7        A       Yes.   It acquired NeXT Step, which was the

     8   NeXT operating system.      In fact, that operating system,

     9   which was UNIX-based, became -- became the basis

    10   actually for Mac OS 10 and all of the versions of Mac

    11   OS 10.

    12        Q       And approximately when did Apple introduce Mac

    13   OS -- Mac OS means the operating system, right?

    14        A       Mac operating system, yes.

    15        Q       So when approximately did Apple introduce Mac

    16   OS 10?

    17        A       It was either 2000 or 2001.   I don't remember

    18   precisely.

    19        Q       And do you know approximately how many years

    20   of research and development went into the development of

    21   Mac OS 10?

    22        A       Well, certainly you have to account in that

    23   the technology that was acquired from NeXT,

    24   Incorporated, because that was a large basis of Mac

    25   OS 10.   And that development actually started in 1986.
Case 16:08-cv-00088-LED
                   So you Document
                           have all 421
                                    of that  development,
                                         Filed            plus108
                                               10/20/10 Page   theof 252 PageID #: 38679

     2   development that was done after Steve returned and NeXT

     3   was purchased in 1997 through 2000 or 2001.

     4        Q    Okay.     Was there anything particularly special

     5   about Mac OS 10?

     6        A    Well, it was the first time there was a

     7   successful consumer product that was based on UNIX.

     8   UNIX is a very unique.     UNIX is a very powerful

     9   operating system that prior to the introduction of Mac

    10   OS 10 had only been used in engineering workstations,

    11   things that engineers and scientists would use.

    12             Those workstations were sold by a company like

    13   Sun Microsystems.     Apple took that powerful engine, like

    14   a V-8 engine, and put it into a consumer product in the

    15   form of the Macintosh running Mac OS 10.

    16        Q    And you mentioned a retail store.

    17             Approximately when did Apple decide to start

    18   opening its retail stores?

    19        A    That was in around 2001.     It was an

    20   interesting process, because the economy was -- was --

    21   the tech bubble had happened and imploded.     The economy

    22   was not doing too well, and yet Apple decided to go

    23   ahead and invest a lot of money and people in building

    24   these retail stores.

    25             It kind of went against the grain of what the
Case 16:08-cv-00088-LED
         analysts were expecting
                         Documentus421
                                    to do,  but
                                        Filed   we did it
                                              10/20/10    anyway
                                                       Page 109 of 252 PageID #: 38680
     2   and invested through that time in the stores, and it

     3   actually turned out okay.

     4        Q    Okay.     Part of the reason I'm asking you some

     5   of these questions is because I'm really trying to get

     6   at least the tip of the iceberg as to why some of these

     7   consumers and customers buy Apple products, perhaps not

     8   just because of some of these features we've been

     9   talking about.

    10                     MR. RANDALL:   Let's play the clip,

    11   DX130A.

    12                     (Video clip playing.)

    13                     UNIDENTIFIED MALE:   Would you want to

    14   check out our latest products like Mac, iPod, and

    15   iPhone?

    16                     The Apple retail store is the only place

    17   you'll find everything Apple, on display and ready for

    18   you to get your hands on.

    19                     Just come into the store.   Do some

    20   test-driving and have all your questions answered by a

    21   specialist, someone who knows our hardware and software

    22   inside and out.

    23                     To get the most out of your Apple

    24   products, we offer one-to-one personal training,

    25   face-to-face, hour-long sessions with your very own
Case 16:08-cv-00088-LED
         expert trainer. Document
                          Or if you421
                                    enjoy  learning
                                        Filed        in aPage
                                              10/20/10    group
                                                              110 of 252 PageID #: 38681
     2   environment and meeting others with similar interests,

     3   try a free workshop.

     4                    And when you're needing some free

     5   hands-on technical support or to have a repair done,

     6   just step up to the genius bar, and a genius will take

     7   care of you.

     8                    (End of video clip.)

     9        Q    (By Mr. Randall) Now, do you understand that

    10   other Apple witnesses are going to come in here and

    11   testify about some of these other features, including

    12   the success in marketing of Apple products?

    13        A    Yes, I do.

    14        Q    Did -- was Apple coming out with new products

    15   around 2001 after this tech -- tech crash?

    16        A    Yes.    In fact, that's when we started coming

    17   out with Mac OS 10.    And also, when Apple introduced the

    18   very -- the first iPods right around that time, the

    19   ability to have a thousand songs and carry it around in

    20   your pocket.

    21        Q    And the iPod has been accused of infringement,

    22   so I'd like to see a video clip of DX131A.

    23                    (Video clip playing.)

    24                    UNIDENTIFIED MALE:     There's something

    25   really cool happening where music in this whole digital
Case 16:08-cv-00088-LED
         world we live in Document
                           started to come
                                    421     together;
                                         Filed 10/20/10andPage
                                                           in this
                                                               111 of 252 PageID #: 38682
     2   new digital music world, Apple has had lot of technology

     3   to bring to the party.

     4                       We know how to make really cool, small

     5   devices.    We know how to make them beautiful and fun.        I

     6   call it an amazing new device that fits in your pocket,

     7   and it carries over a thousand songs.       So now you can

     8   take your entire music library with you wherever you go.

     9                       This is a total solution.   Your iPod,

    10   Firewire, iTunes with all your music in it, it all works

    11   together seamlessly.       And only Apple can do that,

    12   because we make the hardware, the software, all the

    13   technology that allows us to solve problems for people

    14   that no one else would dare take on.

    15                       (End of video clip.)

    16           Q   (By Mr. Randall) Is that one -- kind of a

    17   video summary of the iPod?

    18           A   Yeah, it's pretty close.

    19           Q   Okay.     Has Apple continued to improve its

    20   iPod?

    21           A   Yes.     We've come out with several versions of

    22   the iPod since then, and we like to think that each one

    23   is getting better and easier for the customers.

    24           Q   All right.     And was Apple the very first

    25   digital music player ever to come on the market?
Case 16:08-cv-00088-LED
               A   Oh, no.Document
                            There were
                                   421 other  digital music
                                        Filed 10/20/10 Page 112 of 252 PageID #: 38683
     2   players prior to Apple.       But the one thing Apple does

     3   differently than some other companies is that, even

     4   starting back in 1984, we used to ask each other, well,

     5   could my mom use it?

     6               And making things really easy to use and

     7   having that, you know, could my mom use it, persists

     8   even -- even through today.

     9               So the iPods that Apple came out with were --

    10   they were digital music players, but they were really

    11   easy to use.

    12        Q      Okay.     And what was the next milestone product

    13   at Apple?

    14        A      I think I would say that the iPhone, which I

    15   believe we came out with in 2007 was the next big thing.

    16                       MR. RANDALL:    Can you play DX152A,

    17   please?

    18                       (Video clip playing.)

    19                       STEVE JOBS:    Today, we're introducing

    20   three revolutionary products in this class.

    21                       The first one is a wide-screen iPod with

    22   touch controls.

    23                       The second is a revolutionary mobile

    24   phone.    That's what it had up on the screen.

    25                       And the third -- and the third is a
Case 16:08-cv-00088-LED
         breakthrough internet communications
                         Document             device. Page 113 of 252 PageID #: 38684
                                   421 Filed 10/20/10
     2                    So three things:    A wide-screen iPod with

     3   touch controls, a revolutionary mobile phone, and a

     4   breakthrough internet communications device.

     5                    An iPod, a phone, and an internet

     6   communicator.

     7                    An iPod, a phone -- are you getting that?

     8                    These are not three separate devices.

     9                    This is one device, and we are calling it

    10   iPhone.

    11                    Today -- today, Apple is going to

    12   reinvent the phone.

    13                    (End of video clip.)

    14        Q      (By Mr. Randall) Now, there were mobile phones

    15   before this, right?

    16        A      Well, sure.    Yes.

    17        Q      All right.    Now, Apple spends a lot of time,

    18   money, and effort to make its products better than its

    19   competitors', right?

    20        A      We definitely try to do that, yes.

    21        Q      All right.    And do you and your colleagues at

    22   Apple take pride, including at the level of CEO, in your

    23   products?

    24        A      Absolutely.    We're -- we're all very proud of

    25   our products, and, you know, we know they're not
Case 16:08-cv-00088-LED
         perfect. We keepDocument
                          trying to make
                                  421     them
                                       Filed   better, Page
                                             10/20/10   but we
                                                            114 of 252 PageID #: 38685
     2   think we do pretty well.

     3        Q    All right.      That came through on the clip.

     4   Can you -- did Macintosh -- did Apple come out with a

     5   MacBook Air also, which is a computer of some kind?

     6        A    Yes, we did.

     7        Q    Approximately when?

     8        A    You know, it was probably in the 2006, '07

     9   timeframe, but I don't remember exactly.

    10                     MR. RANDALL:     Let's play Video Clip

    11   DX153.

    12                     (Video clip playing.)

    13                     STEVE JOBS:     And you're going to get your

    14   copy today, and you're going to get to develop a copy

    15   later on today with all the SDKs in it and all the code.

    16   This is the new MacBook Air, and you can get a feel for

    17   how thin it is.

    18                     Yeah.   There it is.

    19                     All right.     An amazing product here.

    20                     Full-size keyboard, full-size display.

    21   And this is what it looks like.

    22                     Isn't that amazing?

    23                     (End of video clip.)

    24        Q    (By Mr. Randall) All right.        Now, one more

    25   issue.
Case 16:08-cv-00088-LED
                   Did -- Document
                           has Apple421
                                     continued  to attempt
                                         Filed 10/20/10    to 115 of 252 PageID #: 38686
                                                        Page
     2   approve user interface experience?

     3        A    Yes.    We're continually working to improve our

     4   user interface experience.

     5        Q    All right.    Since 1984 when Apple came out

     6   with its first Macintosh and going forward in time until

     7   today, does Apple continuously work on trying to make

     8   its computer easier to use?

     9        A    Yes.    That's just a common theme throughout

    10   the history of the company.

    11                    MR. RANDALL:    All right.   Let's play

    12   DX152.

    13                    (Video clip playing.)

    14                    STEVE JOBS:    We've been very lucky to

    15   have brought a few revolutionary user interfaces to the

    16   market in our time.

    17                    First was the mouse.    The second was the

    18   click wheel, and now we're going to bring multi-touch to

    19   the market.   And each one of these revolutionary user

    20   interfaces has made possible a revolutionary product,

    21   the Mac, the iPod, and now the iPhone.

    22                    (End of video clip.)

    23        Q    (By Mr. Randall) Now, I understand a few

    24   months ago, Apple came out with a new product; is that

    25   right?
Case 16:08-cv-00088-LED
               A   RefreshDocument
                           my memory.
                                   421 Filed 10/20/10 Page 116 of 252 PageID #: 38687
     2        Q       A lot of them.     iPad?

     3        A       Oh, yes.     Yes, the iPad.

     4        Q       Can you describe and tell me what that is?

     5        A       So the iPad is actually a new category of

     6   product.     It's smaller than a laptop but bigger than a

     7   phone.     It's uses the touch-user interface, so it's not

     8   the desktop metaphor of files and folders we were

     9   talking about before.

    10                It uses the same touch technology that is in

    11   the phone, but it's a nice, big screen.        You can watch

    12   videos on it.        It's about a 7-or-so-inch screen.

    13        Q       Okay.     Now, you've sat through the trial so

    14   far, and you've heard a lot about Apple using a

    15   traditional conventional hierarchical file system to

    16   store its documents and organize its documents; is that

    17   right?

    18        A       Yes.

    19        Q       All right.     And how long has Apple used that

    20   type of file system?

    21        A       We've used that since 1984 at least and

    22   probably a little before that.

    23        Q       And does it still use it today?

    24        A       Yes.     That's still used today as part of our

    25   Macintosh products.
Case 16:08-cv-00088-LED
               Q   And canDocument
                           you describe just 10/20/10
                                   421 Filed briefly Apple's
                                                      Page 117 of 252 PageID #: 38688
     2   efforts to allow users to find documents and files in

     3   its system over the years?

     4        A    Sure.     The -- in probably around the area of

     5   late 1990s, 2000, Apple had a product called Sherlock,

     6   named after Sherlock Holmes for finding things.       It was

     7   a product that let you type in words or file names and

     8   find those files.

     9             I should mention even before that, Apple had a

    10   product called HyperCard.     Part of HyperCard was

    11   actually search as well.     You could search by typing in

    12   the name of a card; and it would pull up that card,

    13   which was essentially a document.

    14             More recently, of course, as we've discussed,

    15   Apple has the Spotlight feature.     Spotlight is a search

    16   field you can type into, and it will bring up files and

    17   documents that have that text in them.

    18        Q    All right.     And earlier, I know there was some

    19   testimony about -- from their expert that this Spotlight

    20   feature was the mainstream, and I was asking their

    21   witness about whether or not there's an ability in the

    22   Apple operating system to store files and documents.

    23             And I think I used the Court's construction of

    24   data units and documents.

    25             But is there a capability in Mac OS 10 that's
Case 16:08-cv-00088-LED
         accused of infringement
                         Documentin421
                                    thisFiled
                                         case10/20/10
                                              to store Page
                                                        documents
                                                            118 of 252 PageID #: 38689
     2   outside of Spotlight, meaning outside of this mainstream

     3   as they call it?

     4        A       Sure.   Although --

     5        Q       Can you describe that?

     6        A       Yeah.   Although Spotlight is set up initially

     7   to index all of your documents and retrieve all your

     8   documents, it is possible to identify documents or sets

     9   of documents that you want to be outside that, that you

    10   don't want to show up in the search results at all.

    11                And reasons for doing that might be that, you

    12   know, if someone else is using the machine and they do a

    13   search, they might run across documents that are, you

    14   know, you want to keep private and not have them find as

    15   part of Spotlight.

    16                Personally, that's one of the things I do is I

    17   have a special place I put documents where they're

    18   not -- they're not backed up.      They're not searched by

    19   Spotlight.

    20                There might be other reasons customers don't

    21   want documents to show up in Spotlight, and there is a

    22   facility to do that in Mac OS 10.

    23        Q       All right.   For instance, if you share a

    24   computer with others at work or for whatever reason, you

    25   could put your financial documents or your personal
Case 16:08-cv-00088-LED
         documents or whatever in a421
                         Document   folder  in10/20/10
                                        Filed  a space in the119 of 252 PageID #: 38690
                                                       Page
     2   operating system that is not searchable by everybody

     3   else in the Spotlight feature; is that right?

     4        A    That's correct.

     5        Q    Okay.     Now, do you realize that there are

     6   other Apple executives here that are going to testify in

     7   front of the jury in this case?

     8        A    Yes, I do.

     9        Q    And what's generally the level of those Apple

    10   employees within the Apple organization?

    11        A    They're executives and senior managers, key

    12   people involved in the development of Apple products and

    13   the marketing of Apple products.

    14        Q    There was a suggestion, maybe more than one,

    15   that Apple doesn't care about this case; Apple does not

    16   care about this case.

    17             How do you feel about that?

    18        A    Well, Apple cares a lot about this case.

    19   We're here to defend ourselves; and as I mentioned, we

    20   have -- we have key people here to help us do that and

    21   get across our points.

    22        Q    Okay.     Thank you.

    23                     MR. RANDALL:     No further questions, Your

    24   Honor.

    25                     THE COURT:     All right.   Cross-exam?
Case 16:08-cv-00088-LED MR. CARROLL:
                         Document  421No,  Your
                                        Filed   Honor. Page 120 of 252 PageID #: 38691
                                              10/20/10
     2                     THE COURT:     All right.   Thank you.    You

     3   may step down.

     4                     All right.     Who will be your next

     5   witness?

     6                     MR. RANDALL:     Gitta Salomon, Your Honor.

     7                     Your Honor, my partner, Mr. Soobert, will

     8   present this witness.

     9                     COURTROOM DEPUTY:     Judge, I don't think

    10   she's been sworn.

    11                     THE COURT:     I don't believe she's been

    12   sworn, has she?

    13                     MR. SOOBERT:     No, she hasn't, Your Honor.

    14                     THE COURT:     If you will raise your right

    15   hand, please, ma'am, Ms. Ferguson will swear you.

    16                     (Witness sworn.)

    17                     THE COURT:     Take a seat right there.

    18                     Thank you.

    19             GITTA SALOMON, DEFENDANTS' WITNESS, SWORN

    20                         DIRECT EXAMINATION

    21   BY MR. SOOBERT:

    22        Q       Good afternoon, Ms. Salomon.

    23        A       Good afternoon.

    24        Q       Would you state your full name for the record,

    25   please?
Case 16:08-cv-00088-LED
               A   Sure. Document
                          Gitta Salomon.
                                   421 Filed 10/20/10 Page 121 of 252 PageID #: 38692
     2          Q   And where are you from?

     3          A   San Francisco.

     4          Q   California?

     5          A   Yes.

     6          Q   Okay.     Are you married?

     7          A   I am.

     8          Q   Uh-huh.     And do you have kids?

     9          A   I do.     I have two boys, seven and nine years

    10   old.

    11          Q   Terrific.     You've got your hands full, I take

    12   it?

    13          A   Yes.

    14          Q   Well, thanks for coming.       We appreciate it.

    15          A   My pleasure.

    16          Q   Can you tell us a little bit about your

    17   background, since you graduated high school?

    18          A   Sure.     After I graduated high school, I went

    19   to UCLA and studied mathematics.        And after that --

    20   excuse me -- I went to the Massachusetts Institute of

    21   Technology and got a master's degree in media

    22   technology.

    23          Q   Okay.     While you were at MIT, Massachusetts

    24   Institute of Technology, did you work with or work in

    25   the media lab?
Case 16:08-cv-00088-LED
               A   I did. Document 421 Filed 10/20/10 Page 122 of 252 PageID #: 38693

     2           Q      Did you happen to know Chris Schmandt?

     3           A      Yes, I did work some with Chris Schmandt on

     4   some speech work.

     5           Q      Now, who's Chris Schmandt, just so we know?

     6           A      He was a research associate at that time.      I'm

     7   not sure of his title now.        I know he's still there at

     8   the lab.

     9           Q      Terrific.   Well, we'll hear more from Chris

    10   Schmandt a little later in this case.

    11                  Now, after graduation from those schools, what

    12   did you do next?

    13           A      For the first year after I graduated, I stayed

    14   at MIT and I helped people learn how to use the computer

    15   as part of the campus-wide computing network.           And I did

    16   a little bit of consulting.        And then a year later, I

    17   went to Apple in California, and I worked there for six

    18   years.

    19           Q      Okay.   Ms. Salomon, why did you choose Apple?

    20           A      You know, at the time even back then -- it was

    21   '87 -- Apple was really at the forefront of doing

    22   easy-to-use interfaces, and I was very interested in

    23   that.       That's mostly what I focused on in my master's

    24   degree.

    25           Q      Okay.   Just what is a user interface?
Case 16:08-cv-00088-LED
               A   You know, user interface
                         Document  421 Filedis the partPage
                                             10/20/10   of the
                                                            123 of 252 PageID #: 38694
     2   computer that people see and interact with.   So it's the

     3   things you see on the screen, and it's what you can

     4   point out with the mouse and click and the various

     5   screens that you move through.

     6             So it is the part a user interacts with.

     7        Q    And you really were interested in that,

     8   focused your work on it?

     9        A    Yes, I did.

    10        Q    Okay.   And what did you do when you got to

    11   Apple?

    12        A    You know, for the first year, I was -- I came

    13   into the Human Interface Group, which was a group

    14   focused on specifically dealing with user interface.

    15             For the first year, we worked in product

    16   development and we helped with some of the products that

    17   were shipping.

    18             After that, we moved into Advanced Technology,

    19   which was the research group at Apple, and we got to

    20   determine what kinds of projects we wanted to work on,

    21   what were the types of problems real people were having,

    22   and what were the technologies that would help solve

    23   those problems.

    24             So we really had a lot of free reign to do

    25   some very creative and interesting work.
Case 16:08-cv-00088-LED
               Q   Okay. Document
                          Now, that421
                                    was Filed
                                        the Advanced
                                              10/20/10 Technology
                                                        Page 124 of 252 PageID #: 38695
     2   Group or ATG?

     3           A    Yes.    ATG was what it was know as, yes.

     4           Q    What year, roughly, was that and what

     5   timeframe?

     6           A    So I got there first in '87, so it was

     7   probably '88, then we went to ATG.       And I was at Apple

     8   until '93.

     9           Q    Okay.    You worked in the ATG group the whole

    10   time?

    11           A    Yes, I did.

    12           Q    Okay.    What kinds of things did you work on

    13   there?

    14           A    You know, our group was very

    15   interdisciplinary.       We had people with a lot of

    16   different skills; and I tended to focus on things that

    17   had to do with information retrieval, things that were

    18   looking into how to make it easier for people to search

    19   for information, find things on their desktop.

    20                It was right around the time that there was a

    21   lot more multimedia on the computer, and there was

    22   starting to be a lot more files.       So it was -- it was

    23   mostly my interest to work on making finding things

    24   easier for folks.

    25           Q    Okay.    Information retrieval, is that like
Case 16:08-cv-00088-LED
         indexing or searching? Can
                         Document   youFiled
                                  421   explain  that? Page 125 of 252 PageID #: 38696
                                             10/20/10
     2        A      Yes, that has to do with search engines,

     3   search technology, indexing, being able to both find

     4   things that you've created, find things that other

     5   people have created, and put things away on your

     6   computer.

     7        Q      Okay.    What kinds of information and data

     8   would you be indexing and searching for?

     9        A      All kinds of information.    You know, at that

    10   point, Apple was just starting to get involved with

    11   multimedia, so we were looking at regular documents that

    12   had text in them, but also documents with images in

    13   them, sound and video.

    14               We were trying to look at all the types of

    15   data that people would work with.

    16        Q      Okay.    What about metadata, this so-called

    17   metadata?

    18        A      Yes.    Metadata was included.

    19               So should I talk about what metadata is?

    20        Q      That would be helpful.    I'd like to know what

    21   metadata is.

    22        A      Okay.    When I first got to Apple, I didn't

    23   know what metadata was either.

    24               Metadata is, for example, if you have a book,

    25   the content of the book is -- the actual text in the
Case 16:08-cv-00088-LED
         book is the content. Metadata
                         Document      is everything
                                  421 Filed 10/20/10 about the of 252 PageID #: 38697
                                                     Page 126
     2   book; so, for example, the author and the title and how

     3   many pages it has, what color the cover might be, all

     4   the things that describe the book but are not the actual

     5   content of the book.

     6           Q   So did Apple at that time have technology that

     7   could pull up documents, for example, based on date or

     8   author, you know, the metadata and then also content as

     9   well?

    10           A   Absolutely.   Yes.

    11           Q   And at some point, did you start working on a

    12   project called Piles?     Does that ring a bell?

    13           A   Yes, it does ring a bell.

    14               I led up a team effort to look at the future

    15   of the desktop interface and what types of new things we

    16   could do as the Advanced Research Group.

    17               And one of the things we focused on was an

    18   idea of giving people piles on their desktop, in

    19   addition to file folders and documents that they already

    20   had.

    21               And that was driven by, one, observing users

    22   and what they were trying to do, and then also

    23   understanding what the Information Retrieval Group that

    24   was developing the search engines, what kind of

    25   technology they could provide.
Case 16:08-cv-00088-LED
                   So I was sort of421
                         Document   -- my  team
                                        Filed   was in the
                                              10/20/10 Pagemiddle
                                                            127 of 252 PageID #: 38698
     2   place where we were deciding this is the best way to

     3   represent this to people and give them the power of this

     4   capability.

     5        Q     And were you trying to solve some particular

     6   problems with the Piles project?

     7        A     We were.   We were trying to give people a

     8   looser organizational scheme, something that's not as

     9   rigid as a folder that you have to go put away in a

    10   filing cabinet.

    11              We wanted to have a nice way to portray -- if

    12   you looked for something and the results came back as a

    13   pile, that was a kind of friendly representation that

    14   made a lot of sense that people used a lot in their real

    15   offices.

    16              So it seemed like something smart to leverage

    17   on the computer interface as well.

    18        Q     Did that Piles project have any indexing or

    19   searching capability as well?

    20        A     Yes, it did.   So the idea behind Piles was

    21   that all of your documents would be indexed, and you

    22   would be able to search on either the metadata, things

    23   about the files, or the full content of those files.

    24        Q     Okay.   Now, are you a named inventor on any

    25   patents?
Case 16:08-cv-00088-LED
               A   I am, yes.
                         Document 421 Filed 10/20/10 Page 128 of 252 PageID #: 38699
     2          Q   Did any of those patents come out of your

     3   Piles work?

     4          A   Yes.     Yes, some did.

     5                      MR. SOOBERT:     Diane, could you put up

     6   DX201?

     7          Q   (By Mr. Soobert) Ms. Salomon, do you recognize

     8   this patent?

     9          A   Yes, I do.

    10          Q   Is this one of your Piles patents?

    11          A   Yes, it is.

    12          Q   And this -- this one issued from an

    13   application that was filed originally in April of 1992;

    14   is that right?

    15          A   I believe so, yes.

    16          Q   Does Apple own this patent now?

    17          A   Yes.

    18          Q   So you transferred it over to Apple as part of

    19   your employment arrangement?

    20          A   Yes, exactly.     As an employee, all the work I

    21   did at Apple is owned by Apple.

    22          Q   Okay.     And you're no longer with Apple, are

    23   you?

    24          A   No.     In '93 I left.

    25          Q   And what do you do now?
Case 16:08-cv-00088-LED
               A   I own my own design
                         Document  421 consultancy   in San
                                        Filed 10/20/10  Page 129 of 252 PageID #: 38700
     2   Francisco.     It's been 14 years now that -- we work for

     3   clients like Gap, Inc.        I do online e-commerce and also

     4   for a subsidiary of Boeing.

     5        Q       Okay.     Why did you move from Apple to Lab

     6   Enterprise?

     7        A       You know, that's a good question.     I had been

     8   on the research side at Apple my whole career pretty

     9   much, and I decided to get very hands-on and very

    10   tangible and ship some very specific products.

    11                So with own consultancy, we're a little closer

    12   to actually, you know, being there and creating things

    13   that are on the product side.

    14        Q       Okay.     Let's take a look at another patent.

    15                        MR. SOOBERT:   DX1, please.

    16                        Can you zoom in on the top, Diane?

    17                        Thank you.

    18        Q       (By Mr. Soobert) And, Ms. Salomon, is this

    19   another patent you recognize?

    20        A       Yeah.     I believe this is a continuation of the

    21   other patent.        This -- this happened after I left Apple.

    22        Q       Okay.     And this is another patent related to

    23   Piles that you are a named inventor on?

    24        A       Yes.

    25        Q       Continues from the original application that
Case 16:08-cv-00088-LED
         was filed for theDocument
                           other Piles
                                   421 patent?
                                        Filed 10/20/10 Page 130 of 252 PageID #: 38701
     2           A   Uh-huh.

     3           Q   All right.     And the original application,

     4   again, was filed in April of 1992?

     5           A   Correct.

     6           Q   Okay.     Now, aside -- let me ask you this:    Do

     7   these -- do these patents generally describe features

     8   and other aspects of the Piles project that you had

     9   worked on and developed through the ATG group?

    10           A   Yes.

    11           Q   Now, aside from these patents, did you also

    12   publish your work?

    13           A   Yes, I did.

    14           Q   Can you give me some examples of how you did

    15   that?

    16           A   Sure, yeah.     Probably the most known

    17   publication was in May of 1992.        I presented the Piles

    18   work at the CHI Conference.        It was in the form of both

    19   a written paper and a public presentation that involved

    20   some video demonstration as well as me explaining the

    21   project.

    22           Q   Okay.

    23                       MR. SOOBERT:   Diane, can you give me

    24   DX356?

    25                       Zoom in on the top there.
Case 16:08-cv-00088-LED
               Q   (By Mr.Document
                           Soobert)421
                                    Do you  recognize
                                        Filed 10/20/10 this
                                                        Pagepaper,
                                                             131 of 252 PageID #: 38702
     2   Ms. Salomon?

     3        A       Yes.     This would be the paper that was

     4   published in the conference proceedings at CHI '92.

     5        Q       Okay.     Now, CHI '92, can you tell us a little

     6   bit more about that conference?

     7        A       Sure.

     8        Q       Is that a well-attended conference?

     9        A       It is a well-attended conference, especially

    10   at that time.        It's the -- CHI stands for Computer Human

    11   Interaction.        And this is a special conference focused

    12   on user interface design.

    13                All of the people working very closely in this

    14   field would attend this conference.         So at the point at

    15   which I presented this paper, you know, the people doing

    16   this similar work in user interface were there and were

    17   recipients of the compendium, if they weren't there.           So

    18   they would have received the paper.

    19        Q       So if I'm working in this field, for example,

    20   I would know about this conference, right?

    21        A       Yes.     Yes.   This really -- at that time, this

    22   was the main conference to go to for user interface.

    23        Q       Now, this article here about Piles, can you

    24   just generally describe just at a high level what this

    25   was about?
Case 16:08-cv-00088-LED
               A   Sure. Document
                          It basically
                                   421 covered  three things.
                                        Filed 10/20/10 Page 132The
                                                                of 252 PageID #: 38703
     2   first part was talking about the process we used.             So as

     3   I said earlier, we always liked to talk to real people

     4   and understand what their needs are.          So it talks about

     5   the observations we did and the ideas we derived from

     6   those observations.

     7                  Then it goes on to explain the Piles concept,

     8   how we refined the idea, what were the design ideas in

     9   there.

    10                  And then in the last part, it talks some about

    11   how we were working closely with the Information

    12   Retrieval Group that was developing the search engine

    13   technology to build the technology to support all of the

    14   Piles design that we had devised.

    15           Q      And now the top here, it's got Richard Mander,

    16   your name, Gitta Salomon, and Yin Yin Wong.

    17           A      Right.

    18           Q      Who are these other folks listed with you as

    19   authors?

    20           A      Yes.     So Richard and Yin Yin and I were a

    21   team.       I was the team leader.     And being the fair person

    22   that I am, I put our names in alphabetical order,

    23   because we all contributed equally to this project.

    24                  So we were really the core team that worked on

    25   this project.
Case 16:08-cv-00088-LED
               Q   Okay. Document 421 Filed 10/20/10 Page 133 of 252 PageID #: 38704

     2                     MR. SOOBERT:   Diane, can I have DX355,

     3   please?

     4        Q     (By Mr. Soobert) Now, do you recognize this

     5   article?

     6        A     Yes, I do.

     7        Q     And what's this one?

     8        A     This article was -- the primary author was

     9   Daniel Rose, and Dan was our counterpart in the

    10   Information Retrieval Group.      He was working on

    11   developing the search technology and collaborated very

    12   closely with us.

    13              This particular article was sort of the

    14   complement to the one you saw just a minute ago.      And it

    15   covered the information retrieval techniques that he had

    16   developed and how they served to support the design we

    17   showed in the other paper.

    18              And this was presented at SIGIR, which is the

    19   information retrieval conference, so it was kind of the

    20   complementary conference that this material was

    21   appropriate for.

    22        Q     And when was that, in 1993?

    23        A     Yes.    That was the following year.

    24        Q     Now, in addition to all these publications --

    25   excuse me -- all these publications and patents --
Case 16:08-cv-00088-LED
               A   Uh-huh.Document 421 Filed 10/20/10 Page 134 of 252 PageID #: 38705

     2        Q      -- that were publicly available, did -- were

     3   there any other vehicles in which you demonstrated the

     4   Piles technology, maybe videos and what-not?

     5        A      Sure, yes.     My manager was always adamant that

     6   we made video demonstrations of all the work that we

     7   did, and so we had a video that we created.          I showed

     8   some video at the conference when I presented, and then

     9   also my manager would go out -- she would speak

    10   worldwide, and she would show the work at various

    11   conferences.    She was at -- as well as we used the

    12   videotape internally to share information with other

    13   groups at Apple.       So there is a video, yeah.

    14        Q      Okay.

    15                       MR. SOOBERT:   Diane, let's take a look at

    16   a little bit of that video.        Clip 1, please.

    17                       And this is DX291.

    18                       (Video clip playing.)

    19                       MS. SALOMON:   Hi, I'm Gitta Salomon from

    20   the Human Interface Group at ATG.        I lead a project that

    21   is looking at high-end computing interfaces for future

    22   machines.

    23                       We're not looking at any particular piece

    24   of hardware, but instead looking at ways to extend our

    25   current metaphor so that it supports the types of tasks
Case 16:08-cv-00088-LED
         that people want Document
                           to do.  421 Filed 10/20/10 Page 135 of 252 PageID #: 38706
     2                  One thing we've done recently is looked

     3   at how people work in their current offices.     Richard

     4   Mander and Yin Yin Wong went out and talked to 13 Apple

     5   employees about how they organized their information.

     6                  People don't sit in their offices and put

     7   everything away in a single file folder and then arrange

     8   those in a hierarchy.    Instead, what they do, as you see

     9   here, is create number of piles of information, and

    10   that's the way they tend to work with casual information

    11   in their offices.

    12                  What I'm going to show you now is a

    13   demonstration that we created that shows how people

    14   might work with file folders as well as piles of

    15   information on the desktop of the future.

    16                  In this first part of the demonstration,

    17   I'll show you how you would most basically work with a

    18   pile on your desktop.    Here is the high-end computing

    19   desktop of the future.    As you can see, there are a

    20   number of piles on it, and there's an adaptation over

    21   here on the right-hand side.

    22                  What I want to do first is add this

    23   document to the pile in the center.    So I'm just going

    24   to drag it over.    The Pile highlights.   I drop it on

    25   top, and it falls into that pile.
Case 16:08-cv-00088-LED Now I can browse
                         Document        up and
                                   421 Filed    down with
                                             10/20/10 Pagemy136 of 252 PageID #: 38707
     2   mouse and look at small versions of each of the

     3   documents.   If I think this is the document I want to

     4   extract from the pile, I can flip through its pages by

     5   using the cursor keys.

     6                   At this point, I might recognize, oh,

     7   yeah, this is the third page; this is the document I

     8   want.   I click down and remove it from the pile.

     9                   This is a very literal interpretation of

    10   how you might work with piles on your desktop, but we

    11   wanted to go beyond that and get the users a way to use

    12   the power of their systems to help them work with Piles.

    13                   So in this next part, I'm going to roll

    14   over the mail drawer, and what you see here are two

    15   piles that have been created by the system.     And I know

    16   they're created by the system, because they're neat and

    17   orderly in appearance.

    18                   These piles actually have rules behind

    19   them that I've given them so that they organize my mail

    20   into an important pile and an unimportant pile.

    21                   We also wanted to give people another way

    22   to browse through the information.   Some people like to

    23   look through things in order.   Others like to spread

    24   everything out in parallel and look at things

    25   side-by-side.
Case 16:08-cv-00088-LED SoDocument
                           if I double-click on the space,
                                   421 Filed 10/20/10 Page the
                                                           137 of 252 PageID #: 38708
     2   pile opens up, and I can very quickly see this is the

     3   audio note that I was waiting for in my in-box.

     4                     So how would a user go about scripting a

     5   pile or giving it a set of rules to maintain itself?

     6                     We didn't want people to have to learn an

     7   elaborate scripting language from the beginning.     So,

     8   for example, let's say that some things are showing up

     9   in my unimportant pile that I would much prefer to show

    10   in my important pile.

    11                     What I'm going to do is browse through

    12   this pile, and then you can see I have a different

    13   representation.     Instead of the small miniatures, I'm

    14   actually getting an extraction of the data inside that

    15   mail document.     It wouldn't be useful to me to have a

    16   miniature representation at this point.

    17                     So I can quickly see that this second

    18   document about the design competition is the type of

    19   thing I'd much prefer to have in my important pile.

    20                     When I click down, it comes out of that

    21   pile, and I can drag it over to the important pile.

    22                     You can see now that it falls on top of

    23   that pile, and the system recognizes that that document

    24   doesn't, in fact, match its current script.     It asks me

    25   if I want to just add this item or if I actually want to
Case 16:08-cv-00088-LED
         modify the scriptDocument
                           that is 421
                                   there.
                                        Filed 10/20/10 Page 138 of 252 PageID #: 38709
     2                      If I choose to modify the script, it can

     3   analyze that document and give me a large number of

     4   criteria to choose from.      So I don't have to know how to

     5   write a scripting language.      I just have to pick and

     6   choose amongst the criteria.

     7                      So I'm going to choose the subject line

     8   of design competition update; tell it to add that to the

     9   script; and then I'll say okay.

    10                      When I do this, it updates the script for

    11   that pile, and now you see several documents move

    12   across.   And the idea here is that your system is always

    13   active.   It's always maintaining things for you and

    14   taking care of organizational problems.

    15                      (End of video clip.)

    16        Q     (By Mr. Soobert) Ms. Salomon, let me ask you a

    17   couple of questions about that.

    18              When was that video created?

    19        A     That would have been in the spring of '92.

    20        Q     1992?

    21        A     Yes.

    22        Q     And was that publicly displayed at the CHI

    23   Conference?

    24        A     Yes.     Yes.

    25        Q     And that was in 199 --
Case 16:08-cv-00088-LED
               A   It was Document
                           made in 1992, yeah.10/20/10 Page 139 of 252 PageID #: 38710
                                    421 Filed
     2          Q       Okay.     And -- now, let me ask you a couple of

     3   other things about that.

     4                  It mentions scripting --

     5          A       Uh-huh.

     6          Q       -- or script.     And what is scripting?

     7          A       Yeah.     Basically, scripting is creating a set

     8   of rules.       So what we were allowing users to do there is

     9   give the computer rules to collect documents into piles.

    10                  So, for example, I could say a rule is

    11   anything that comes from Richard Mander, please put that

    12   in a pile for me, or anything that has these kind of

    13   content terms in it, please put that in a pile for me,

    14   or I could mix and match those criteria as well.

    15                  So scripting is kind of a fancy way of saying

    16   a set of rules that will gather these things.

    17          Q       Okay.     Is -- is searching a type of scripting

    18   or scripting a type of searching?          Can you explain that?

    19          A       You could write a script to do a search for

    20   you.       So like when you go to Google today, you're

    21   effectively putting in a one-time question.          But if you

    22   had the same question many days in a row, you might want

    23   to write a script for that and have it gather the same

    24   information every day for you.

    25                  For example, I always look up the weather, and
Case 16:08-cv-00088-LED
         that's a kind of Document
                           thing that I could
                                    421        script to Page
                                         Filed 10/20/10   go get
                                                              140 of 252 PageID #: 38711
     2   information on.

     3        Q      And I also noticed that in the piles that were

     4   shown there on the desktop, you were doing a

     5   demonstration of taking your mouse -- mouse pointer or

     6   cursor -- and rolling it over, kind of sliding it over

     7   that stack of documents, right?

     8        A      Right.    The idea behind that, when we observed

     9   people in their offices and they had piles of things on

    10   their desk, a lot of people would go like this

    11   (indicates) to see what's in there.      That's a very

    12   natural thing to do.

    13               So this was translating that natural behavior

    14   to something on screen.      So as you're rolling your mouse

    15   over, you would see the various documents that were in

    16   there.    And then if you were looking for something in

    17   particular that you had seen before, you might recognize

    18   it and say, oh, it has a picture in the upper right-hand

    19   corner.    Yes, that's the one.    Or it has a purple cover.

    20               Those types of things would jump out at you in

    21   the same way they do when you have a physical pile.

    22        Q      Okay.    So when you're just rolling your cursor

    23   or mouse pointer over the pile --

    24        A      Yes.

    25        Q      -- just sliding it, you didn't have to click?
Case 16:08-cv-00088-LED
               A   Huh-uh.Document 421 Filed 10/20/10 Page 141 of 252 PageID #: 38712

     2           Q      So you slide it with no clicking?

     3           A      Right.

     4           Q      Okay.     And it shows that preview or kind of

     5   glance view of the document?

     6           A      Right.     Yes.

     7           Q      Okay.     And then if I clicked on the pile or

     8   one of those particular document representations, what

     9   would come on?

    10           A      So if you click on a document, it would come

    11   out of the pile.          So let's say you were looking for

    12   something; you browse through; you see the one you want;

    13   you click; and you can pull it out of the pile.

    14           Q      Let me ask you about the documents in the

    15   pile.       That's a form of indexing and searching for

    16   documents.

    17                  Is that fair or not?

    18           A      To say that the pile contains that?

    19           Q      Yes.

    20           A      Yes.     When you have a scripted pile or --

    21   there's some other aspects of the prototype as well that

    22   I think we might see today -- that allowed you to

    23   effectively do a search and say here are the results.

    24                  The results are presented to you in a pile.

    25           Q      Okay.     Let's say I'm not that organized, and I
Case 16:08-cv-00088-LED
         still, even on the computer,
                         Document  421just  want
                                        Filed    to stack
                                              10/20/10    all142
                                                       Page   my of 252 PageID #: 38713

     2   documents up?

     3        A       You could do that.   Our basic notion, which

     4   was very much in keeping with the way the Apple desktop

     5   was, users can do what they want to do.        And we would

     6   provide tools that would allow them to do helpful

     7   things, things that would help them organize their

     8   desktop.

     9                But if they didn't want to organize it or it

    10   wasn't useful to them, they could decide how to use

    11   these tools.     It was very much in their user control.

    12        Q       Okay.   So I could take all the documents in

    13   the system, all the documents that were generated and

    14   received by that system and put them in one single pile

    15   on a desktop, if I wanted to?

    16        A       If you wanted to, yeah.   Yeah.

    17        Q       And then what if I wanted to put them in a

    18   date order so I could know, you know, the most recent

    19   stuff towards the top of the pile and the real old stuff

    20   at the back that I'm kind of not too concerned about

    21   right now?

    22        A       Definitely.   That was one of the things we

    23   observed when we went out to see users.        Lots of people

    24   had piles where the oldest stuff was on the bottom, and

    25   as things came in, they kept putting it on top.
Case 16:08-cv-00088-LED
                   And so Document
                           we built 421
                                    that Filed
                                         functionality
                                               10/20/10 into
                                                        Page the
                                                             143 of 252 PageID #: 38714
     2   system as well, that you could have things date-ordered

     3   and you might remember, oh, it was from two weeks ago or

     4   two months ago, and that would give you a sense of where

     5   it was in the pile.

     6           Q   All right.        Now, that video, that's an

     7   accurate representation of a Piles system --

     8           A   Yes.

     9           Q   -- from back in the day, right?

    10           A   Yeah.     Yeah.

    11           Q   And that's you in the video?

    12           A   That is me, yes, 20 years ago.

    13           Q   Little like Groundhog Day, right?

    14           A   It's a little scary, yes.

    15           Q   Okay.

    16                       MR. SOOBERT:     Well, let's run the next

    17   clip.

    18                       (Video clip playing.)

    19                       MS. SALOMON:     In this last section, I

    20   want to show you how you work with a very large pile of

    21   information and have your system help you suggest ways

    22   of dealing with it.

    23                       As you see, here's a very large pile on

    24   my desktop.    What I want to do is have the system

    25   suggest ways that I can break this down into more
Case 16:08-cv-00088-LED
         manageable units.Document 421 Filed 10/20/10 Page 144 of 252 PageID #: 38715

     2                   So I'm going to roll over to my tools

     3   drawer; and when I do that, a number of tools become

     4   available to me.   I'm going to select the view tool, and

     5   when I click on the pile, it will put in it a

     6   visualization window.

     7                   What I can see immediately is that it's

     8   currently ordering by date.     If I want to enforce that

     9   with color, I can choose color by date, and I can

    10   quickly see that the oldest documents are in brown, and

    11   they're at the bottom of the pile.

    12                   One thing that we're really excited about

    13   is having the system suggest ways to create subpiles

    14   based on the content of the documents.

    15                   So, for example, I could ask the system

    16   to pile by content.     It could analyze the full text of

    17   these documents and split them into various piles, also

    18   suggesting names for me.

    19                   So, for example, it's called out these

    20   documents, because they have to do with interface and

    21   metaphor.   These documents are maybe about art and

    22   design.

    23                   As you can see, these piles are now very

    24   organized in their appearance, which means that the rule

    25   behind them will help maintain them over time.     So, in
Case 16:08-cv-00088-LED
         fact, this is theDocument
                           information
                                   421 I'm  interested
                                        Filed 10/20/10 in.
                                                       Page 145 of 252 PageID #: 38716
     2                       I can drag it out onto my desktop, and

     3   then I can revert the rest of the information, because I

     4   don't really care about the other suborganization.

     5                       So now what I've got on my desktop is a

     6   pile that will maintain itself and deal with particular

     7   topics that I'm interested in.

     8                       (End of video clip.)

     9        Q      (By Mr. Soobert) Okay.     A couple more

    10   questions about what we just saw in there.       I noticed

    11   that you mentioned in the video that there was some

    12   intershading.       Looked like the pile was getting

    13   yellower.

    14               What was that showing?

    15        A      You know, the idea there was, in the real

    16   world, documents yellow over time, and so we were using

    17   the same kind of idea.       If you wanted to see how old

    18   things were, you might color them by date, and then the

    19   yellower or more brownish items would be at the bottom,

    20   and the fresher, newer ones would -- in that case, you

    21   saw on the top, they were the more crisp white.

    22        Q      Okay.     So when I -- when I was talking about I

    23   wanted to pull all my piles into a huge stack and

    24   display them in that kind of time-order and then I just

    25   finally decide, you know what, I've got to get
Case 16:08-cv-00088-LED
         organized --   Document 421 Filed 10/20/10 Page 146 of 252 PageID #: 38717
    2           A   Uh-huh.

    3           Q   -- and break them into subfiles, that's what

    4   those subpiles do?

    5           A   Right.     The basic idea there was, a lot of

    6   people do this.       You make an enormous pile of things and

    7   then some day it gets big and you say I need to deal

    8   with it now.

    9               And what we wanted to do was let the computer

   10   help you deal with it.       So what the video showed there

   11   was you could feed this large pile to the computer and

   12   say help me understand what's in here.       And that's when

   13   it broke it into the separate piles and even gave

   14   suggested names to them.

   15               So it would help me as a user be able to clean

   16   up and make sense of the things that I had not organized

   17   myself.

   18           Q   Okay.     And so let's say I broke out my pile

   19   into these subfiles, and finally got it kind of

   20   organized the way I want, and then I start generating

   21   new documents or folks are sending me new documents,

   22   okay?

   23               What -- do I have to remember where I'm

   24   putting these things or -- or could the system handle

   25   that for me?
Case 16:08-cv-00088-LED
               A   You wouldn't necessarily
                         Document  421 Filedhave to manually
                                             10/20/10        do of 252 PageID #: 38718
                                                      Page 147
     2   that anymore.        So if a document came in and it matched

     3   the criteria like we had that one pile I dragged out

     4   onto the desktop and said, okay, this one is about these

     5   things, that pile now had an underlying script or

     6   underlying rules associated with it.

     7                And so as new documents came in and matched

     8   that same set of rules, those documents will be put in

     9   that pile.     So this would help you maintain your

    10   organization better.        So it's really about the computer

    11   working in concert with you to help you keep things

    12   organized in a way where you could find things.

    13        Q       Okay.     Let's go back to the patent real quick.

    14                        MR. SOOBERT:   DX201, Diane, Page 5.   And

    15   just focus in on that Figure 4F.

    16        Q       (By Mr. Soobert) Now, this kind of looks like

    17   the drawing that we saw animated in the video.

    18        A       Uh-huh.

    19        Q       Is this the same pile, the sliding without

    20   clicking, and, you know, with a mouse over showing --

    21   showing the preview or glance view of the documents?

    22        A       Right.     We had two ideas for the preview or

    23   glance view.     One was like you saw earlier in the video,

    24   which showed you a little visual representation of the

    25   document where you could see, oh, it was green in color,
Case 16:08-cv-00088-LED
         or it had a picture in the421
                         Document   upper  right.
                                        Filed 10/20/10 Page 148 of 252 PageID #: 38719
     2             Here's another idea that we were working with,

     3   which was to pull out the key metadata about the file,

     4   for example, the date, and these were e-mails, so who it

     5   was from, what was the subject of the e-mail, and then

     6   also a kind of summary of what was the contents.

     7             So those words design, competition, interface,

     8   children, those would give you a quick sense of that's

     9   what this document is about.      Because all my e-mails

    10   could look the same.     This kind of summary would be more

    11   useful to me to find something.

    12        Q    Okay.

    13                     MR. SOOBERT:   Diane, let's go to Page 6,

    14   please, and focusing on 4C.

    15        Q    (By Mr. Soobert) This looks like a companion

    16   to that drawing where we click on Piles.      Is that what's

    17   being shown here?

    18        A    Uh-huh.

    19             So this is this other example where you're

    20   seeing a visual representation of the document as you

    21   roll over it; and then when you click, the document

    22   would come out.

    23        Q    Okay.     Let's -- let's go back real quickly

    24   on -- on -- when I have this stack of all my

    25   documents --
Case 16:08-cv-00088-LED
               A   Uh-huh.Document 421 Filed 10/20/10 Page 149 of 252 PageID #: 38720

     2           Q      -- I mean, is there anything in the system

     3   that was, you know, making that stack bounded, or was

     4   the screen bounded or anything like that?

     5           A      No, not necessarily, no.

     6           Q      So I wasn't bounded by the system to be able

     7   to --

     8           A      No.

     9           Q      In any way?

    10           A      No.

    11           Q      Okay.     All right.

    12           A      It's the user's prerogative to make the piles

    13   however they want.

    14           Q      So there's a lot of good work here.     Did you

    15   get any feedback or any positive, you know, reports or

    16   accolades or anything like that on this?

    17           A      You know, I have to say, this is the work I'm

    18   most proud of in my whole life, and at that conference,

    19   when I presented in '92, so many people that I

    20   considered luminaries in the industry came up to us and

    21   said:       You know, this is really good work.

    22                  And even for years after that, I would get

    23   phone calls from reporters or students that were doing

    24   their dissertations saying, you know:          What's happened

    25   to this work?          Is it going to be a product?
Case 16:08-cv-00088-LED
                   And, you know, I421
                         Document   didn't  really
                                        Filed      have Page
                                              10/20/10   contacts
                                                             150 of 252 PageID #: 38721
     2   inside of Apple anymore, so I never really knew, but I

     3   kept hoping that, you know, it would manifest itself

     4   completely, because we were -- at that time, we were so

     5   excited to have been able to do something like this.

     6        Q    All right.    And I know you don't work with

     7   Apple or work for Apple anymore, but do you still use

     8   Apple products today?

     9        A    I do use Apple products.

    10        Q    Right.   And I -- and I can't help but ask, do

    11   you see, you know, any -- I know you haven't been in the

    12   design process recently, but do you see any influences

    13   from Piles and aspects of the things you worked on in

    14   the products we have out today?

    15        A    I do see some.    You know, I like to look at

    16   the new products when they come out and say -- a lot of

    17   times, I see something that I feel like we really

    18   influenced.

    19             For example, there was a little thing in a doc

    20   a few years ago that shipped in OS 10 where the

    21   documents came out in a kind of fan, and it was very

    22   similar to some of the ideas we had here.

    23             And then the iPad, when it shipped recently,

    24   in the photo album, you can spread out your photos.       And

    25   when I saw that, I just felt like, wow, we -- we did
Case 16:08-cv-00088-LED
         something there. Document
                           Somebody421
                                    saw Filed
                                        that 10/20/10
                                              and -- back in 151
                                                       Page   the of 252 PageID #: 38722

     2   day, and they felt some influence there.        It affected

     3   them.

     4           Q   Thank you, Ms. Salomon.

     5                     MR. SOOBERT:     Pass the witness.

     6                     THE COURT:     All right.

     7                     Cross-examination.

     8                         CROSS-EXAMINATION

     9   BY MR. STEIN:

    10           Q   Good afternoon, Ms. Salomon.

    11           A   Good afternoon.

    12           Q   You said you started working at Apple in 1987;

    13   is that correct?

    14           A   That's correct.

    15           Q   And you left in 1993 --

    16           A   I did.

    17           Q   -- is that right?

    18               And you left then long before Tiger or Leopard

    19   and Snow Leopard came out, right?

    20           A   Right.   Yes.

    21           Q   And you were not involved in the development

    22   of Tiger, Leopard, Snow Leopard, were you?

    23           A   No.   I didn't -- no.

    24           Q   And you were not involved in the development

    25   of Spotlight, were you?
Case 16:08-cv-00088-LED
               A   You know, Spotlight
                         Document  421 is  another
                                        Filed      thingPage
                                              10/20/10   that152 of 252 PageID #: 38723

     2   evolved from some of the Apple search work that I was

     3   doing.

     4                 So prior to this Piles project, there was

     5   another project code named Rosebud, and there was -- we

     6   did a number of projects with the Information Retrieval

     7   Group.      It was like a nice collaboration between the

     8   Human Interface Group and the Information Retrieval

     9   guys.

    10                 And we did a lot of search explorations and

    11   ideas for search interfaces that I know went into Apple

    12   search, which was the precursor to several products that

    13   then eventually led to Spotlight.

    14           Q     You don't know if any of that work was

    15   directly in Spotlight, do you?

    16           A     I don't know personally.   I know that some of

    17   the information retrieval people did go on, they stayed

    18   at Apple, and I have a feeling that that stuff is

    19   manifest in there.

    20           Q     You weren't involved in the development of

    21   Coverflow, were you?

    22           A     No, I wasn't.

    23           Q     And you weren't involved in the development of

    24   Time Machine, were you?

    25           A     No.
Case 16:08-cv-00088-LED
               Q   Now, the last time
                         Document  421you  worked
                                        Filed     on Piles
                                              10/20/10 Pagewas
                                                            153 of 252 PageID #: 38724
     2   about 20 years ago, right?

     3        A     Yes.

     4        Q     And when -- when you were there, you tried to

     5   get Apple to make a product with Piles; isn't that

     6   correct?

     7        A     You know, what ended up happening is, after we

     8   did this work, we did a lot of presentations.     I

     9   personally did a lot of presentations internally to

    10   various different groups at Apple.

    11              Our Human Interface Group would also have an

    12   open house where we would always present to the whole

    13   company, also.

    14              And we did some work looking specifically if

    15   Piles could be put on in OS 7 at that point.     So we

    16   worked very closely with the Finder team doing some

    17   exploration of what it would mean to migrate this work

    18   from the research group to the near-term operating

    19   system.

    20        Q     So it sounds like you talked to a lot of

    21   people there trying --

    22        A     Yeah.

    23        Q     -- to get it into a product, right?

    24        A     Right.   Or to influence products.

    25              I have to say, you know, sometimes -- because
Case 16:08-cv-00088-LED
         we were in research, it was
                         Document    very
                                   421     rare
                                        Filed   that something
                                              10/20/10 Page 154 of 252 PageID #: 38725
     2   would go complete and become a product.     It was more

     3   that the migration of the ideas would find their ways

     4   into a whole host of products.

     5               So that's part of the reason for doing the

     6   videos and for traveling around the company and

     7   disseminating these ideas so that they could influence a

     8   wide range of products.

     9           Q   Apple never included Piles in the form that

    10   was just shown in the product, right?

    11           A   There's not a hundred percent implementation

    12   of what you just saw up there.     But as I said before,

    13   there have been little things that have happened that I

    14   feel like we did have influence.

    15           Q   There was no product that really had Piles

    16   where people were dragging documents into piles, for

    17   example, where the system was creating a pile, right?

    18           A   Oh, there was nothing in the doc that was a --

    19   like an aggregation of things in a folder that would

    20   come out like a pile, so -- you know, it's all a matter

    21   of degree, I guess I would say, because there were

    22   definitely things that felt like they were influenced by

    23   this.

    24           Q   Didn't you try for a while to -- as you just

    25   described, get various groups at Apple to implement
Case 16:08-cv-00088-LED
         Piles in a product?
                         Document 421 Filed 10/20/10 Page 155 of 252 PageID #: 38726
     2        A     Well, you know, we were very realistic in the

     3   Advanced Technology Group.     Again, we weren't thinking

     4   that anybody was going to wholly embrace the totality of

     5   it but that they would take pieces of it and incorporate

     6   those pieces.

     7              So our point of view was that we're going to

     8   influence the things that are going on.     That was our

     9   role as Advanced Technology.

    10        Q     If there was a time that you just described

    11   where you were actively going around Apple trying to

    12   pitch it to be included in a product --

    13        A     Yeah.   Make sure that the ideas were well

    14   known and that, you know, people understood that this

    15   work had been done, because it's kind of like crossing a

    16   bridge.   The people doing the products needed to see

    17   where this was relevant.

    18              And we could supply the ideas and say here are

    19   various different uses we see for it, but we need to

    20   find that meeting place.

    21        Q     You weren't just trying to get your ideas

    22   incorporated; you were pitching various groups at Apple

    23   to try to get a product out the door based on Piles,

    24   weren't you?

    25        A     Well, again, we were looking at how could our
Case 16:08-cv-00088-LED
         work be helpful to various421
                         Document   types  of 10/20/10
                                        Filed different Page 156 of 252 PageID #: 38727

     2   development efforts that were going on.      I don't know

     3   that I ever thought that this would be wholly

     4   implemented as we designed it.

     5                     MR. STEIN:   James, can you put up PX21?

     6        Q    (By Mr. Stein) That's the -- if you see it

     7   there, that's the '101 patent that Mr. Soobert showed

     8   you earlier.

     9        A    Uh-huh.

    10        Q    You understand, when I say '101, I'm just

    11   referring to the last three numbers of the patent.

    12        A    Uh-huh.

    13        Q    And again, you're one of the named inventors

    14   on that, right?

    15        A    Right.

    16        Q    And you understand that this patent was

    17   directed to your work in Piles?

    18        A    Yes.

    19                     MR. STEIN:   James, if you pull up PX37.

    20        Q    (By Mr. Stein) This is a document that was

    21   prepared by Apple earlier in the litigation, and it's a

    22   document in which Apple answered written questions,

    23   which Mirrors provided to it.

    24                     MR. STEIN:   If you could turn to Page 14.

    25                     And if you could blow up -- I think it's
Case 16:08-cv-00088-LED
         B at the bottom there.
                         Document 421 Filed 10/20/10 Page 157 of 252 PageID #: 38728
     2          Q   (By Mr. Stein) Now, in that paragraph, we

     3   asked Apple whether Apple ever has made any -- made,

     4   sold, or offered for sale any product that falls within

     5   this scope of the claims of the '101 patent.

     6              Do you see that there?

     7          A   Uh-huh.

     8                     MR. STEIN:   James, if you could put up

     9   Page 16.

    10          Q   (By Mr. Stein) And on Page 16, you see Apple's

    11   response to that question.      It says -- in the middle

    12   there, it says:      Apple further responds that it does not

    13   currently contend that it has sold or offered for sale

    14   any product that falls within the scope of any claims of

    15   the '101 patent.

    16              Did Apple answer that question correctly, to

    17   your knowledge?

    18          A   You know, Apple would know better than me if

    19   they felt that the claims of the patent were in any

    20   product.

    21              All I can tell you is, when I see certain

    22   things, it makes me feel like we maybe had some

    23   influence, but I have no way of knowing if we really

    24   did.

    25          Q   Now, you're familiar with Coverflow, right?
Case 16:08-cv-00088-LED
               A   Yes. IDocument
                          use it. 421
                                   Yeah,  as 10/20/10
                                       Filed a user. Page 158 of 252 PageID #: 38729

     2         Q    Now, you don't think that Coverflow includes

     3   any of the concepts you developed in connection with

     4   your Piles project, do you?

     5         A    I've never thought that Coverflow was

     6   something that came from our project.

     7         Q    And Piles are not the same as Coverflow, is

     8   it?

     9         A    I hadn't really thought of it that way, no.

    10         Q    Now, earlier you mentioned Piles, that could

    11   be a pile of everything --

    12         A    Uh-huh.

    13         Q    -- you said, and that they're not bounded.

    14              Would Piles, displayed in their entirety on

    15   the screen -- it's just one unit stacked up of the

    16   stacked documents?

    17         A    Right.    But a pile -- in the same way that you

    18   can open a folder today and open a window, send, and

    19   have it go off your screen, the pile could potentially

    20   go off what's visible as well.

    21         Q    Well, wasn't that an open issue at the time

    22   you were developing Piles, how to handle piles that got

    23   too big?

    24         A    We didn't -- I don't know that -- I don't

    25   remember anymore, but I don't believe that we literally
Case 16:08-cv-00088-LED
         solved for that. Document
                           We didn't have
                                   421     an 10/20/10
                                        Filed issue on the
                                                       Pagetable
                                                            159 of 252 PageID #: 38730
     2   that said we needed to constrain the extent of a pile.

     3                        MR. STEIN:     If you could pull up

     4   Exhibit PT11.

     5                        If you could go to the second page.

     6        Q       (By Mr. Stein) That's -- what's shown there is

     7   a copy of one of the patents that's at issue in this

     8   lawsuit.     It's one of the Dr. Gelernter's patents.

     9        A       Okay.

    10                        MR. STEIN:     If you -- sorry.     If you can

    11   go where you zoomed in.           No.    The -- there.

    12        Q       (By Mr. Stein) Do you see that patent at the

    13   bottom?    It says 6,243,724 --

    14        A       Uh-huh.

    15        Q       -- Mander, et al.          That was another one of the

    16   patents that Mr. Soobert showed you earlier, correct?

    17        A       I'm not sure that -- there was one from 2003,

    18   I think.     I'm not sure of the dates.          The Mander, et al,

    19   that could very well be the patent that we looked at

    20   earlier, but I'm not sure.

    21        Q       Okay.     Well, I believe it was.

    22        A       Okay.     Yeah.

    23        Q       And that patent -- your patent is cited --

    24   it's in --

    25                        MR. STEIN:     If you could pull out a
Case 16:08-cv-00088-LED
         little bit, James.
                         Document 421 Filed 10/20/10 Page 160 of 252 PageID #: 38731
     2        Q    (By Mr. Stein) It's under the section,

     3   References Cited, on the patents-in-suit.

     4        A    Okay.

     5        Q    Do you know that that means that the Patent

     6   Office can consider that patent during prosecution?

     7        A    I guess.     I'm not that familiar with all

     8   aspects of this process, but I would assume that's what

     9   that means.

    10        Q    Yeah.    You have a couple of patents.

    11        A    Right.

    12        Q    And so you've been through it, right?

    13        A    Right.     But more on the -- you know, on the --

    14   supplying the information for the patents.

    15        Q    And the Patent Office issued Dr. Gelernter's

    16   patents even after having reviewed your patent, right?

    17             The numbers on your patent -- the number of

    18   your patent is on his, right?

    19        A    It looks that way, the best I can tell here.

    20        Q    Do you know if the New York Times ever wrote

    21   an article about Piles?

    22        A    I don't know.     Yeah.   There were some -- you

    23   know, there -- well, no, I don't actually know.      There

    24   was some articles about our work over the years, but I

    25   don't remember specifically if they did write about
Case 16:08-cv-00088-LED
         Piles.         Document 421 Filed 10/20/10 Page 161 of 252 PageID #: 38732
    2                  MR. STEIN:     Thank you.

    3                  MR. SOOBERT:     No further questions.

    4                  THE COURT:     All right.     Thank you.

    5                  MR. RANDALL:     Your Honor, our next

    6   witness is Brian Croll.

    7                  THE COURT:     Brian Croll.     Okay.

    8                  MR. RANDALL:     Your Honor, may I approach

    9   the bench briefly?

   10                  THE COURT:     I'm sorry?

   11                  MR. RANDALL:     May I approach the bench?

   12                  THE COURT:     Yes, you may.

   13                  (Bench conference.)

   14                  MR. RANDALL:     I spoke with counsel

   15   before -- I spoke with counsel before about this.         He

   16   has a computer that he wants to just run through a

   17   couple of features on.    He's a marketing guy, and he

   18   just wants to run through a couple of features.

   19                  It has too much high resolution, so it

   20   can't fit -- plug into the system.     We will place it on

   21   that table in a way that everybody can see.        You,

   22   unfortunately, are going to be a little bit blocked.

   23   We're going to point it towards the jury about like

   24   that, at that angle.

   25                  Is that okay, Your Honor?
Case 16:08-cv-00088-LED THE COURT: 421
                         Document   Sure.
                                        Filed 10/20/10 Page 162 of 252 PageID #: 38733
     2                    MR. RANDALL:     Okay.   Thank you.

     3                    MR. CARROLL:     Judge, two or three of the

     4   jurors are really coughing.       Can the Marshal --

     5                    THE COURT:     What?

     6                    MR. CARROLL:     Coughing.   The Marshal is

     7   welcome to get my cough drops and give them to them.           I

     8   just, obviously, don't want to do it.

     9                    MR. RANDALL:     And one other issue.   It's

    10   a legal issue.    And that is, I would like to renew my

    11   request to get into the re-exam material, because they,

    12   again, are bringing up the fact that their patent is

    13   issuing over and has been considered by -- over the

    14   Piles patent; and that was just another reference to it

    15   again, Your Honor, when, in fact, that patent that he

    16   just referred to, as it stands, was rejected in re-exam

    17   over the Piles patent.

    18                    THE COURT:     Denied.

    19                    MR. RANDALL:     Okay.

    20                    THE COURT:     How long are you going to go

    21   with this witness?

    22                    MR. RANDALL:     I think about -- I think 20

    23   minutes, but it could go 25-ish.

    24                    THE COURT:     Okay.

    25                    (Bench conference concluded.)
Case 16:08-cv-00088-LED COURTROOM
                         DocumentDEPUTY:  Please
                                  421 Filed      raisePage
                                            10/20/10   your163 of 252 PageID #: 38734

     2   right hand.

     3                      (Witness sworn.)

     4                      THE COURT:     Is the jury all right for

     5   about another 30 minutes before we break?

     6                      You'll hang in there?       Okay.

     7                      MR. RANDALL:     Your Honor, my partner, Mr.

     8   Platt, will present Mr. Croll.

     9                      THE COURT:     All right.

    10                      MR. PLATT:     May it please the Court.

    11   Richard Platt on behalf of Apple.

    12            BRIAN CROLL, DEFENDANTS' WITNESS, SWORN

    13                          DIRECT EXAMINATION

    14   BY MR. PLATT:

    15        Q     Good afternoon, Mr. Croll.

    16        A     Good afternoon.

    17        Q     Could you introduce yourself to the jury and

    18   identify your position with Apple?

    19        A     Yes.     I'm Brian Croll.     I'm the Vice President

    20   of Product Marketing for Mac OS 10 software.

    21        Q     And when did you start at Apple?

    22        A     I started at Apple in the summer of 2001.

    23        Q     And can you give us a general understanding of

    24   your job responsibilities at Apple?

    25        A     Yeah.     I'm in product marketing, and that's
Case 16:08-cv-00088-LED
         about building a Document
                           product, 421
                                    focused  entirely
                                         Filed 10/20/10on Page
                                                           building
                                                               164 ofa 252 PageID #: 38735
     2   product, taking technology and making it a commercially

     3   viable product at the end of the day.

     4                So I work with -- I work with an engineering

     5   team kind of hand in hand.      They worry about the

     6   technology, and then I worry about whether this is

     7   actually going to be something that someone really wants

     8   at the end of the day.

     9                So I work with my engineering partner, a guy

    10   named Bertrand Serlet.

    11           Q    Now, you said you're Vice President of Product

    12   Marketing.     Is that like the typical kind of marketing

    13   or sales that we think of when we think of marketing?

    14           A    No, no.   It's not -- it's not, you know,

    15   marketing communications and doing advertising and

    16   things like that.      This is really about building a

    17   product and making sure that that product is going to

    18   sell.

    19                So that's the main focus, is that active

    20   building a product with our engineering team.

    21           Q    Now, Mr. Croll, do you have an understanding

    22   as to why consumers buy Apple's Mac products?

    23           A    Yeah, I do.   You know, I've been at Apple for

    24   a long time, and I've gotten a really good sense of what

    25   it is that they like in a Mac, and -- you know, and it
Case 16:08-cv-00088-LED
         hasn't really changed very421
                         Document   muchFiled
                                         over10/20/10
                                              the yearsPage
                                                        that165
                                                             I've
                                                                of 252 PageID #: 38736
     2   been there.

     3        Q     And what's some of the information that you

     4   gather on how -- how -- how folks buy Macs?

     5        A     Yeah.   I -- in order to really determine why

     6   they buy a Mac, information comes from all sorts of

     7   different areas, you know, from -- we get a lot of

     8   e-mails from customers, from people looking at

     9   computers, asking questions, and, you know, giving us

    10   feedback on the product.

    11              We also, you know, hear a lot from journalists

    12   who review the product, and they give us a lot of

    13   information as to what they like or don't like with the

    14   product.

    15              You know, and also friends and family.    You

    16   know, you go talk to people, your own friends, and see

    17   what they like or don't like in a product.    My mom is a

    18   great source for me to find out what we should be

    19   building or not.

    20        Q     Now, Mr. Croll, there's been a suggestion that

    21   the reason why people buy Macs is because they include

    22   Spotlight, Coverflow, and Time Machine.

    23              Do you agree with that?

    24        A     No, I don't think that's why they buy a Mac.

    25        Q     And why not?
Case 16:08-cv-00088-LED
               A   Well, the reason421
                         Document   why Filed
                                        people  buy a Mac
                                              10/20/10    really
                                                       Page 166 of 252 PageID #: 38737
     2   has to do with a lot of other factors, actually.           When

     3   they're buying a computer, I think the thing that they

     4   really worry about the most is the design.

     5                So we -- we take a lot of time and effort and

     6   a lot of engineers to make sure that the computer looks

     7   great in your house.     Because when you want to bring it

     8   home, you put it in your Kitchen or in your family room

     9   or wherever, you want it to look good with all the rest

    10   of your furniture.

    11                So we've really concentrated on building an

    12   extraordinarily attractive design with very few cables,

    13   you know, an all-in-one computer.         So that's one of the

    14   main reasons.

    15        Q       Mr. Croll, we brought an iMac here with us

    16   today.

    17                     MR. PLATT:     With the Court's permission,

    18   could we have Mr. Croll demonstrate some of the features

    19   in the iMac?

    20                     THE COURT:     Yes, you may.

    21                     MR. PLATT:     Okay.   Come over here.

    22                     THE WITNESS:     So is this -- yeah, it's

    23   all there.

    24                     All right.     Thank you very much.

    25        A       So as I mentioned, the first thing that people
Case 16:08-cv-00088-LED
         really like aboutDocument
                           the Mac 421
                                   is just  the
                                        Filed   design. Page
                                              10/20/10   You 167
                                                              know,
                                                                 of 252 PageID #: 38738
     2   we pay a lot of attention to the materials on -- on the

     3   actual computer.

     4               So if you look, you have the, you know, really

     5   nice mold -- aluminum.     You know, it's a beautiful --

     6   beautiful finish.     The glass is really special glass

     7   that makes the monitor look really bright and

     8   attractive.

     9               It's also really nicely glued on to the sides,

    10   so it's super smooth.     So you don't see any really ugly

    11   seams in the design.     So the design is real important.

    12               And one of the other really amazing things

    13   about a Mac is, when you look at it, this is a whole

    14   computer.     This is the monitor; the computer is in here;

    15   the disk drives; all the memory; the graphics;

    16   everything is just here.

    17               So, you know, a lot of computers, they have

    18   it, and it's on the ground, and it has a lot of cables

    19   and stuff going up into it.     We got rid of that, so it's

    20   more attractive in your house.

    21        Q      (By Mr. Platt) Now, Mr. Croll, where do you

    22   put the -- can you show us where you put the CD in

    23   and --

    24        A      Yeah.   It's on the other side.   You have to

    25   rotate it around.
Case 16:08-cv-00088-LED
                   So you Document
                           can see it's
                                    421 really  built in.Page
                                         Filed 10/20/10    There's
                                                              168 of 252 PageID #: 38739
     2   just a slot where you can put a DVD or a CD in.

     3             Also, over here, if you want to put a little

     4   card in from a camera, just stick it right there.       And

     5   it's really sleek and real attractive.

     6             And also, you'll notice there's only one power

     7   cable, just like a toaster.    You know, just make it

     8   really simple.    Not a lot of different cables, you know,

     9   going everywhere in your house.

    10             The keyboard itself is wireless, so there's

    11   no -- again, no cable there.    And also the mouse down

    12   here, you know, you look at this.    It's just a nice, you

    13   know, pointing devices, and it's really beautifully, you

    14   know, crafted.    It's like a little work of art itself.

    15             So we take a lot of time to build -- you know,

    16   to build a computer that's attractive that you want in

    17   your house.

    18        Q    All right.    Is there a camera as well on it?

    19        A    Yeah.    The camera is up here.   So every one of

    20   our systems ships with a camera, so you can do video

    21   conferencing to friends and family, which is another

    22   really important thing that people love to do.

    23        Q    Now, we've talked about the hardware, so what

    24   else is great about the Mac?

    25        A    Well, in addition to the hardware, right,
Case 16:08-cv-00088-LED
         which is the actual physical
                         Document  421computer  here, wePage
                                        Filed 10/20/10   also169
                                                              have
                                                                 of 252 PageID #: 38740
     2   a lot of software that comes with it.     And we bundle in

     3   all sorts of software, so you don't have to go buy extra

     4   through applications, you know, after you buy the Mac.

     5                So if I could just slip over here and show you

     6   some of the --

     7           Q    Can you show us some of those applications,

     8   Mr. Croll?

     9           A    Sure.

    10                You know, the first one I'm going to show you

    11   is one called Dashboard.     And it's kind of neat, because

    12   we can do it with one click, and you're going to see all

    13   of these little dinky applications come up.

    14                And the idea here is, there are certain things

    15   you just want to see in a flash, in an instant, like the

    16   time somewhere, you know, some weather, and so forth.

    17                And I can just click and, you know, make it go

    18   away.

    19                So just a quick look at what time is it right

    20   now or what's the date.     So that's one of the features.

    21                We have another application called the Finder,

    22   and what this is all about is having a bunch of folders

    23   that allow you to kind of -- just like a file cabinet,

    24   you know, except it's an electronic version.     We can go

    25   through and see where all the files that you've kept,
Case 16:08-cv-00088-LED
         all the documents, whatnot.
                         Document  421You  can10/20/10
                                        Filed  find themPage
                                                         in there.
                                                             170 of 252 PageID #: 38741
     2               The other thing is, we have a -- and there it

     3   is.   We have another thing that -- an address book, you

     4   know, a real simple application, really powerful.        This

     5   is just like the little calendar, you know, date address

     6   book that you carry around, and it has all of your

     7   friends and families and their addresses and contact

     8   information.

     9               Additionally, you know, just -- we have --

    10   just like you might put on your fridge where you have a

    11   little paper calendar, we have an electronic version of

    12   that with all of your, you know, appointments you have

    13   in a day.

    14               Mail comes with it as well.     And mail is just

    15   for sending and receiving messages.       Very simple.

    16   Simple but power concept.

    17               We also have the Safari browser.     And this is

    18   the software used to go to websites and browse around

    19   the internet.    And you can see here that you have a lot

    20   of little thumbnails of your favorite sites to see what

    21   it looks like, and you can just click on and go to the

    22   different websites you like.

    23               And then finally, the one I want to show you

    24   last here is something called iPhoto.       And iPhoto is

    25   like the shoebox for your -- all your pictures that you
Case 16:08-cv-00088-LED
         might have in theDocument
                           closet somewhere.  You take Page
                                   421 Filed 10/20/10   all those
                                                            171 of 252 PageID #: 38742
     2   pictures, and you dump them in a shoebox.

     3                Well, this is an electronic version of that

     4   because now we're, you know, in a world where it's all

     5   digital photography.

     6                So this is like your digital shoebox where you

     7   can put all of your pictures in there, and then if you

     8   want to take a look at a picture close up, you can do

     9   that and look at it, you know, scroll through all the

    10   pictures.     So, you know, that's iPhoto.

    11                And then the last thing just real quick that I

    12   want to show you that's really, really cool, people love

    13   this, is I put a bunch of folders up there.     I have an

    14   address book, I have Safari, the browser, and, you know,

    15   iPhoto.

    16                So what I want to do is do something called

    17   Expose.     And you click on the button, and what it does

    18   is, it just fans out and shows you all the windows.

    19                So if I want to then take a look at my

    20   calendar, I just click there.     If I want to go back, you

    21   know, I get a bird's-eye view of all my windows.      I can

    22   then just, let's say, choose my photos again and come

    23   back there.

    24                So it's really a nice and convenient set of

    25   features that -- people really like all the software.
Case 16:08-cv-00088-LED
               Q   Now, Mr. Croll, 421
                         Document  are there  -- are there
                                        Filed 10/20/10 Pageother
                                                            172 of 252 PageID #: 38743
     2   great features in Mac?

     3        A     Actually, there's quite a few other ones.     You

     4   know, if I wanted to look at some other applications,

     5   for instance, if I go down here, I can click on this

     6   folder -- this is what we call a stack -- and all of

     7   these other different applications are there; and you

     8   can choose from there as well, if you wanted to see

     9   something else that's not here along the bottom where

    10   the other applications are.

    11        Q     Now, Mr. Croll, what if you wanted to find

    12   like your dictionary application?    Can you show how you

    13   can find it?

    14        A     Yeah.   Yeah.

    15              So if -- there's another feature called

    16   Spotlight, and Spotlight allows me to find things really

    17   quickly.

    18              So if I go up here on the upper right -- I

    19   made it kind of visible for people to see -- I can click

    20   on this little magnifying glass.    It's kind of like

    21   looking at something, and I can click here, and I get a

    22   place to type.

    23              So I'm going to just type in, you know, a

    24   dictionary.    And one of the things that's amazing, I

    25   just typed in D, and right from there -- it's really
Case 16:08-cv-00088-LED
         fast. It's just,Document
                          you know, blindingly
                                  421           fast. Page 173 of 252 PageID #: 38744
                                       Filed 10/20/10
     2                  And if I just type a little more, I can do

     3   this.       And this is the way a lot of people like to find

     4   their applications.        It would be here.   Dictionary,

     5   dictionary comes up.        And then, for instance, if I

     6   wanted to type apple, I can do that, hit return, and

     7   then I get dictionary lookup for the word apple.

     8                  So it's a nice thing to have an online

     9   dictionary, to get at it really fast through Spotlight.

    10           Q      Can you do other things with Spotlight besides

    11   searching?

    12           A      Yeah.   It's kind of a nice handy thing.      What

    13   I could also have done is, if I typed in apple up

    14   here -- excuse me for showing you my back here.           Let me

    15   turn around here.

    16                  So if I type in apple right into the

    17   Spotlight, I can do down and take a look.         It says

    18   definition, and it has a little definition right in the

    19   line.       If I want more, I hit return, and it goes

    20   straight to apple and shows me the definition there.

    21                  So -- and I can just, you know, have a

    22   dictionary right at the touch of my fingers here.            So

    23   it's really, really easy to do that.

    24           Q      Now, Mr. Croll, we've been talking about Mac

    25   systems.       And sitting there is a -- is a software
Case 16:08-cv-00088-LED
         upgrade disk.  Document 421 Filed 10/20/10 Page 174 of 252 PageID #: 38745
    2        A     Uh-huh.

    3        Q     Are you familiar with that?

    4        A     Yes, I am.   Yeah.

    5        Q     Can you explain what the difference is between

    6   a software upgrade and the Mac system?

    7        A     Yes.

    8              So when you're going to buy a computer, you go

    9   into the store, and you buy the Mac, which is all the

   10   hardware here; it's the mouse; it's the keyboard.

   11              That's the hardware, and that's the system.

   12              It comes to shipping with an operating system

   13   running on it, and the operating system is responsible

   14   for drawing all the stuff you see on the screen.

   15              Then a lot of times after the fact, after

   16   you've bought a Mac, later we'll come out with an

   17   upgrade.   We make some innovations.     We do some new

   18   things, have a new version of the operating system.

   19              And we will sell this box.     Essentially, you

   20   put it into the DVD slot, and then you can upgrade and

   21   get the new features that weren't there when you first

   22   bought your Mac.

   23        Q     Now, what's the difference between the market

   24   for hardware and the market for the software?

   25        A     Let's see.   We sell about -- the total out of
Case 16:08-cv-00088-LED
         all of our revenue, it's about
                         Document       1 percent
                                   421 Filed      that Page
                                             10/20/10   goes 175
                                                              to of 252 PageID #: 38746

     2   the software upgrades.

     3                So the vast majority that we sell are the

     4   actual systems, which makes sense.         That's what we sell,

     5   is Macs.

     6        Q       Now -- thank you, Mr. Croll.      You can return

     7   to your seat.

     8        A       Okay.     (Complies.)

     9        Q       Now, Apple conducts surveys regarding its

    10   products; is that right?

    11        A       Yes, that's correct.

    12        Q       And some of those surveys relate to software

    13   upgrades; is that right?

    14        A       Yes, that's true.

    15        Q       Okay.

    16                        THE COURT:   Just a minute.     We're going

    17   to mark that as Court's Exhibit No. 5 now, and

    18   Ms. Ferguson's going to take custody of it.

    19   [Laughter]

    20                        THE COURT:   Don't put it up.     No.   I'm

    21   kidding.

    22                        Go ahead.

    23        Q       (By Mr. Platt) Now, Apple's -- Apple's (sic)

    24   perform surveys with respect to its software upgrades;

    25   is that correct?
Case 16:08-cv-00088-LED
               A   That's Document
                           correct. 421 Filed 10/20/10 Page 176 of 252 PageID #: 38747

     2        Q      Do those surveys tell you why people purchase

     3   Mac systems?

     4        A      No.   They're not for that.

     5        Q      And why is that?

     6        A      So those surveys tell us how people actually

     7   use the features in our operating systems, and

     8   specifically, you know, why would they upgrade their

     9   computer.

    10               So it's really mostly about the upgrade sale,

    11   and it's specifically what they used when they bought

    12   the upgrade.

    13        Q      Now, what are some of the other reasons why

    14   people buy Mac computers?

    15        A      Right.   So in addition to the -- the actual

    16   design, which is, you know, really important and also

    17   the software, the other really key thing is, they're

    18   super reliable systems.

    19               And if you've used computers in the past, you

    20   know it goes -- you know, you get a blue screen, things

    21   crash, and it always seems to do it right when you don't

    22   want it to do that.

    23               And we've worked really hard -- we have a

    24   technology at the core of Mac OS 10 called units, which

    25   is a technical thing, but it's extremely reliable.      So
Case 16:08-cv-00088-LED
         it doesn't crash,Document
                           you know, very
                                   421     often,
                                        Filed     or if Page
                                              10/20/10   at all.
                                                             177 of 252 PageID #: 38748
     2        Q    And are there -- are there other reasons why

     3   people buy products from Apple?

     4        A    So the reliability is important, as well as

     5   also security.

     6             So, you know, if it hasn't happened to you,

     7   you read about people getting these viruses on their

     8   computer off the internet, and, you know, they can be

     9   really bad for your computer, and they can get -- you

    10   know, take personal information.     It's kind of a

    11   dangerous world out there on the internet.

    12             And one of the great things about Mac OS 10

    13   is, we don't get those PC viruses.     So people have a

    14   real safe experience with the Mac, and I think that's

    15   really important for them so that they don't have to

    16   worry about all of those viruses as well.

    17        Q    And Apple has a number of retail stores across

    18   the country; is that right?

    19        A    Yes, that's true.   We have about 200 in the

    20   U.S., somewhere around 15 in Texas, and I think -- I

    21   think one of our early ones was in Plano.     It was the

    22   No. 3, if I remember correctly.

    23        Q    You know, can you tell us some of the things

    24   that -- that, you know, Mac consumers look to from the

    25   Apple retail stores?
Case 16:08-cv-00088-LED
               A   Yeah. Document 421 Filed 10/20/10 Page 178 of 252 PageID #: 38749

     2                So a lot of times -- the technology behind a

     3   personal computer is really pretty complex, and you need

     4   someone to really help you figure out, first of all,

     5   which one is the right one that you want, and then after

     6   you've bought it, you know, help people figure out how

     7   to use it.

     8                So we have a whole set of retail stores that

     9   are really focused in on having great sales associates

    10   that can come in and really help people out and

    11   understand it.       Not everybody understands all the

    12   details on technology, so they can -- people really love

    13   those retail stores.

    14        Q       And do the Apple retail stores offer them, for

    15   example, like one-on-one tutoring?

    16        A       Yeah.

    17                So -- so one of the things -- if you buy a

    18   Mac, one of the things we'll offer you is the ability to

    19   buy lessons.     So you can take a year's worth of lessons

    20   every -- once a week, go in and talk to someone, and

    21   they'll, you know, show you how to use -- how to use the

    22   system, get more out of it.

    23        Q       And can you tell us about sort of the Apple

    24   geniuses, I guess I'll call them?

    25        A       Oh, yes, Apple geniuses.
Case 16:08-cv-00088-LED
                   So alsoDocument
                           in the store, we have
                                   421 Filed     a group
                                             10/20/10    of 179 of 252 PageID #: 38750
                                                      Page
     2   people that we train, and we call them geniuses.       And

     3   the reason we call them geniuses is they know everything

     4   about the system.

     5             So when you have a problem with your computer,

     6   you -- there's somewhere -- somewhere to go and someone

     7   to talk to to help you figure out what's going on with

     8   the system and fix it.

     9             And they can oftentimes even fix it right

    10   there in the store for you, so you don't have to send it

    11   off to somewhere else to get it fixed.

    12        Q    So, Mr. Croll, thank -- thank you for

    13   explaining about the Apple Mac.

    14             You know, I have one more question for you.

    15   Before this case, had you ever heard of Mirror Worlds or

    16   Dr. Gelernter?

    17        A    No, I hadn't.

    18                    MR. PLATT:   No further questions.    Pass

    19   the witness.

    20                    THE COURT:   Cross-exam.

    21                        CROSS-EXAMINATION

    22   BY MR. DIAMANTE:

    23        Q    Hi, Mr. Croll.

    24        A    Hi.

    25        Q    My name is Joe Diamante.       I'm from the south,
Case 16:08-cv-00088-LED
         South Brooklyn, so I speak421
                         Document   quickly,  so slow mePage
                                        Filed 10/20/10   down,
                                                             180 of 252 PageID #: 38751
     2   okay, if I get going.

     3             So that was a nice -- that was a nice little

     4   demonstration you showed us, and I took a couple of

     5   notes, and I saw that you looked at about 10 features or

     6   so?

     7         A   Yeah.     Well, what was on the doc.

     8         Q   And do you know how many of those features

     9   Steve Jobs called revolutionary?

    10         A   Well, I think probably all of them at some

    11   point, because --

    12         Q   Do you recall -- do you recall what he said in

    13   the conference about Tiger -- excuse me -- Spotlight and

    14   Tiger?

    15         A   Not specifically.

    16         Q   Well, do you recall him saying that it was the

    17   most revolutionary feature in Tiger?

    18         A   I don't necessarily remember that, but we

    19   oftentimes call our features revolutionary.

    20                     MR. DIAMANTE:   Can you turn -- can you

    21   put up PX338?

    22                     Turn to the second paragraph, I believe.

    23         Q   (By Mr. Diamante) Can you read that, sir?

    24         A   Yes, I can.

    25         Q   It talks about the conference in 2004,
Case 16:08-cv-00088-LED
         correct? And it Document
                          says: The most
                                  421     revolutionary
                                       Filed            feature
                                             10/20/10 Page 181 of 252 PageID #: 38752
     2   of Tiger, according to Jobs, is a new search tool known

     3   as Spotlight, correct?

     4          A     That wasn't what was -- okay.

     5          Q     All right.     By the way, were you at the

     6   conference?

     7          A     Yes, I was.

     8          Q     Okay.     And I think you called Spotlight

     9   amazing; am I correct?        It's kind of late, and I haven't

    10   had much coffee today.        Did you say --

    11          A     Yes, it is amazing.

    12          Q     And you're not trying to tell us all here that

    13   the three accused features, Spotlight, Coverflow, and

    14   Time Machine are not important to consumers, are you?

    15          A     They're actually not very important to people

    16   who are buying Macs.

    17          Q     Okay.     Is that your personal feeling?

    18          A     Yeah.

    19          Q     Did you say you -- you're in marketing, aren't

    20   you?

    21          A     Yes, I am.

    22          Q     Did you ever tell the country, all these

    23   people here, that those three features are not

    24   important?

    25          A     No.     What we do is we talk about the important
Case 16:08-cv-00088-LED
         features in a Mac, which, 421
                         Document  as I Filed
                                        said 10/20/10
                                              before, were
                                                       Pagethe
                                                            182 of 252 PageID #: 38753
     2   design, you know, the reliability of the software, the

     3   amount of software we have.        All those things are the

     4   things that people really worry about when they're

     5   buying a Mac.

     6        Q    That's a very pretty machine, but would

     7   anybody buy it if it didn't have good search capability?

     8        A    Yes.

     9        Q    Okay.     Thank you, sir.

    10             Now, I think you said you came onboard in the

    11   summer of 2001?

    12        A    August of 2001.

    13        Q    And that's perfect timing.

    14                     MR. DIAMANTE:     Can I see -- can I see --

    15   see, it's a favorite here.        Can I see PX193?

    16        Q    (By Mr. Diamante) This is a -- one of the

    17   favorite e-mails of this case.        This is from Steve Jobs.

    18             So you see that, sir?

    19        A    Yes, now I do.

    20        Q    Have you seen it before you came to court

    21   today?

    22        A    No, I have not.

    23        Q    You see that Mr. Jobs -- I'm not going to go

    24   through it, because I think everyone is sort of tired of

    25   it, but there's a couple of people copied, and I see
Case 16:08-cv-00088-LED
         this Bertrand Serlet.
                         Document 421 Filed 10/20/10 Page 183 of 252 PageID #: 38754
     2        A    Uh-huh.

     3        Q    And you just told us that's what -- that's

     4   someone you report to, correct?

     5        A    No, I don't report to him.

     6        Q    You work with him, right?

     7        A    I work with him.

     8        Q    And this guy -- excuse me -- a Mr. Bereskin?

     9        A    Ken Bereskin (pronouncing).

    10        Q    Yeah.     He -- did he work for you at that time?

    11        A    He did work for me at that time.

    12        Q    Do you know if they had any contact with

    13   Dr. Gelernter or Mirrors World?

    14        A    No, I do not.

    15        Q    Okay.     You don't know that, right?

    16             And of course, you were not -- Apple is all

    17   about innovations, correct?

    18        A    Yes.

    19        Q    And you don't want to spread the word about

    20   other people's innovations, correct?     Because that would

    21   be wrong, right?

    22        A    (No response.)

    23        Q    Correct?

    24        A    That's not something we were concerned with --

    25        Q    You don't -- of course not.
Case 16:08-cv-00088-LED
               A   -- because we innovate
                         Document         on 10/20/10
                                   421 Filed our own. Page 184 of 252 PageID #: 38755

     2           Q    Of course not.

     3                        MR. DIAMANTE:   Can we turn to PX193?

     4           Q    (By Mr. Diamante) This is another e-mail about

     5   Dr. Gelernter's company, you see?         It's dated September

     6   6th, 2001.     You see this Mr. Serlet, Mr. Bereskin on

     7   this.

     8                Do you see that?

     9           A    Yes, I do now.

    10           Q    And by the way, Mr. Serlet is a senior vice

    11   president, correct?

    12           A    I believe so, yes.

    13           Q    And there's also --

    14                        MR. DIAMANTE:   Go back to the CC list?

    15           Q    (By Mr. Diamante) -- is also Mr. Forstall.

    16                        MR. DIAMANTE:   Just say 1 -- 191.    Well,

    17   we lost it.

    18           Q    (By Mr. Diamante) Mr. Forstall, is he an

    19   executive vice president at your company?

    20           A    I don't -- I don't believe he's an executive

    21   vice president.

    22           Q    Do you know that -- don't you know he's in

    23   charge of the iPhones?

    24           A    He -- he's in charge of the software.

    25           Q    Okay.     Mr. Croll, you just told us a few
Case 16:08-cv-00088-LED
         minutes ago, sir,Document
                           that you421
                                    never  heard
                                        Filed    of Dr. Page
                                              10/20/10   Gelernter,
                                                             185 of 252 PageID #: 38756
     2   correct --

     3        A       That is correct.

     4        Q       -- before this lawsuit?      Okay.

     5                       MR. DIAMANTE:    Can I -- can you show me

     6   PX391?

     7                       And can you turn -- let me see.       Turn to

     8   the first page, please.

     9        Q       (By Mr. Diamante) This is another favorite

    10   here that's -- see the top?         It says: Merlot planning

    11   offsite.     Do you see that?

    12        A       Yes.

    13        Q       December 6th, 2003.      Do you see that, sir?

    14        A       Yes, I do.

    15                       MR. DIAMANTE:    Can you turn to the last

    16   page, please, of this document.         I think it's Page 86,

    17   the last two digits.

    18        Q       (By Mr. Diamante) You see the list of

    19   attendees, sir?

    20                       MR. DIAMANTE:    What happened?     That's

    21   Page 557986, Exhibit 391.

    22                       James, you'd lose your job.       You got it?

    23        Q       (By Mr. Diamante) Do you see your name on

    24   there?

    25        A       (No response.)
Case 16:08-cv-00088-LED
               Q   Sir, doDocument
                           you see 421
                                   it? Filed 10/20/10 Page 186 of 252 PageID #: 38757

     2        A       I'm sorry?

     3        Q       Do you see your name on the list of the

     4   attendees?

     5        A       My name?     Oh, I'm sorry.   I didn't understand.

     6   Yes, I do.

     7        Q       You went to this, didn't you?

     8        A       I believe so.

     9        Q       And you see also Ken Bereskin, and he worked

    10   for you, didn't he?

    11        A       That's correct.

    12        Q       And there's a couple of other people there I

    13   think you know.

    14                You know Chris Bourdon, is it?

    15        A       Yes, I do.

    16        Q       He worked for you, didn't he?

    17        A       Yes, he does.

    18        Q       And can you tell us what all he did for you?

    19        A       He is a -- was a product line manager.

    20        Q       And specifically, sir, didn't he market

    21   Spotlight, Coverflow, and Time Machine?

    22        A       He -- he marketed definitely the -- the

    23   software features for upgrades but did not market it in

    24   relationship to the Mac.        It would always just be for

    25   the software upgrades.
Case 16:08-cv-00088-LED
               Q   Is it your testimony
                         Document       that 10/20/10
                                   421 Filed he wasn't Page
                                                        the 187 of 252 PageID #: 38758

     2   managing group that marketed Spotlight, Coverflow, and

     3   Time Machine?      Is that your testimony?

     4        A      He marketed it for Mac OS 10 upgrade

     5   software --

     6        Q      Is that a yes?

     7        A      -- but not for the Mac.

     8        Q      Is that a yes?

     9        A      It's a yes with qualifications that he did it

    10   for the Mac OS 10, not for the Mac.       They're very

    11   different things.

    12        Q      And you see, sir, also in this is a Scott

    13   Forstall.     We just talked about him a few minutes ago.

    14   He was on a couple of Jobs' e-mails.

    15               Do you see that?

    16        A      Yep.

    17        Q      He's up there, too, right?

    18        A      Uh-huh.

    19        Q      So he was there, too.

    20               Anybody else that you know?

    21        A      I knew most of the people in this.

    22        Q      Oh, you do.    Okay.

    23               And -- but the ones in your department was

    24   Chris and Ken, correct?

    25        A      That is correct.
Case 16:08-cv-00088-LED
               Q   Chris Bourdon
                         Documentand KenFiled
                                   421   Bereskin,   right?
                                              10/20/10  Page 188 of 252 PageID #: 38759
     2         A   That's correct?

     3         Q   Is that true?

     4             They were in your specific marketing

     5   department?

     6         A   Yes, they are.

     7         Q   Thank you.

     8         A   They were.

     9         Q   And let's -- before we get off Scott

    10   Forstall --

    11                     MR. DIAMANTE:   Can I show --

    12         Q   (By Mr. Diamante) Just keep this in your brain

    13   for a second.

    14                     MR. DIAMANTE:   Can I have PX14?

    15         Q   (By Mr. Diamante) Here's an e-mail -- e-mail

    16   from Steve Jobs to Scott Forstall, and here's Mr. Jobs

    17   talking about the Scopeware website again, see?

    18             That's the only thing that's on this web -- in

    19   this e-mail, correct?

    20             Do you see that?

    21         A   Apparently.

    22         Q   And there's Scott -- cc:      Scott Forstall who

    23   we spoke about.     And who's B-A-S?   Do you know who that

    24   is?

    25         A   A guy named Bas.
Case 16:08-cv-00088-LED
               Q   And wasn't he involved
                         Document         also
                                   421 Filed   in Spotlight?
                                             10/20/10 Page 189 of 252 PageID #: 38760
     2        A       I don't know if Bas was involved.

     3        Q       You don't know.       Okay, sir.

     4                Scott Forstall was, wasn't he?

     5        A       I believe so, yes.

     6        Q       Okay.

     7                        MR. DIAMANTE:     And can we go back -- I'm

     8   sorry.   Can we go to PX110?

     9        Q       (By Mr. Diamante) These are the notes from the

    10   Merlot offsite, sir, which you attended, correct?

    11        A       I don't remember the notes, but --

    12        Q       But you attended the meeting, correct?

    13        A       I attended the meeting, but I don't recognize

    14   the notes.

    15                        MR. DIAMANTE:     And can we look at the

    16   first page?

    17        Q       (By Mr. Diamante) There's a reference to

    18   something called Panther.          Do you see that?

    19                I think it's -- do you see that, about

    20   three-quarters of the way?           If so, how should it differ

    21   from what we did for Panther?           You see that's a

    22   question?

    23        A       Okay.     I see it.

    24        Q       You see that, right?

    25        A       Yeah.
Case 16:08-cv-00088-LED
               Q   Now, that Panther
                         Document    wasFiled
                                   421   an operating
                                              10/20/10 system that
                                                       Page 190 of 252 PageID #: 38761
     2   existed before Tiger, correct?

     3           A   Yes, it was.

     4           Q   And it had some type of searching technology,

     5   correct?

     6           A   Yes, I believe Panther had some searching.

     7           Q   And didn't the Spotlight technology, which

     8   came out later on -- was much faster than the search

     9   technology in Panther, correct?

    10           A   Yes, it was.

    11                    MR. DIAMANTE:   Now let's go to the third

    12   page of this.    It's 1067950.

    13           Q   (By Mr. Diamante) You see, sir, it says:

    14   Suggested at the offsite, Yale professor, David

    15   Gelernter -- excuse me -- David G, new ways of finding

    16   info.

    17               Do you see that, sir?

    18           A   Yes, I do.

    19           Q   And do you know who David Gelernter is, sir?

    20           A   No, I don't.

    21           Q   You don't know who he is?

    22           A   I, just in the prep for this case, have

    23   heard --

    24           Q   These notes indicate, sir, that this was a

    25   topic spoken at this -- at this offsite, correct, sir?
Case 16:08-cv-00088-LED
               A   Never heard of him.
                         Document  421 Filed 10/20/10 Page 191 of 252 PageID #: 38762
     2        Q       Really?     Okay, sir.

     3                Do you see, sir, that Dr. Gelernter's

     4   technology, just like Spotlight, allows for rapid

     5   searching of data?        Do you know that, sir?

     6        A       No.

     7        Q       But you were at this meeting, correct?

     8        A       I was at that meeting.

     9        Q       Great.     Thank you.

    10                All right.     Let's talk a little bit about

    11   Spotlight.     Didn't you ever call Spotlight an

    12   innovation?

    13        A       Yeah, it was very innovative.

    14        Q       Okay.     You remember saying that, correct?

    15        A       I could easily have said it, because it is

    16   very innovative.

    17        Q       And do you know Steve Jobs?

    18        A       I've worked with him.

    19        Q       He knows you; waves to you in the hall?

    20                Do you know that --

    21        A       He knows my name.

    22        Q       Do you know that Steve had a personal interest

    23   in this Spotlight project?

    24        A       Not -- not particularly.

    25        Q       Do you know -- do you know he went so far as
Case 16:08-cv-00088-LED
         to help name the Document
                           product called Spotlight?
                                    421 Filed 10/20/10 Did you192
                                                        Page   know
                                                                  of 252 PageID #: 38763
     2   that?

     3           A       I think he participated in the process.

     4                        MR. DIAMANTE:     Can I show you PX893?

     5           Q       (By Mr. Diamante) See that, sir?

     6                        MR. DIAMANTE:     Can you make that a little

     7   larger?

     8           A       Uh-huh.

     9           Q       (By Mr. Diamante) Want to read that for us,

    10   sir?

    11           A       It says:   The best think so far...drum roll:

    12   Spotlight.

    13           Q       Did you have discussions with -- because

    14   you're marketing, ever discuss that Steve was helping to

    15   name the feature?

    16           A       So the way it works is, my team, we come up

    17   with a lot of different names.           And we, you know, had

    18   a -- I think Searchlight was one of the names and a

    19   bunch of different names.

    20                   And so what we'll do is, we make a

    21   recommendation, and like, you know, most CEOs, he would

    22   say:        Yeah, this is the one I like.     Let's go with that

    23   one.

    24           Q       And he personally decided it should be

    25   Spotlight, didn't he, sir?           Right?
Case 16:08-cv-00088-LED
               A   I thinkDocument
                           he agreed with
                                   421     our10/20/10
                                        Filed  recommendation.
                                                       Page 193 of 252 PageID #: 38764
     2        Q     Have you ever seen an e-mail where Steve Jobs

     3   named any of the other projects, any features?

     4        A     I'm sorry.    What --

     5        Q     Did Steve help -- did you ever see any e-mails

     6   or documents indicating that Steve Jobs named any other

     7   features you showed us today?

     8        A     I don't know if there was e-mails, but he

     9   certainly was involved in the naming of almost every

    10   name we've talked about.

    11        Q     Did he say:    Drum roll...Dashboard?

    12        A     He could easily have said that.

    13        Q     Do you have any documents?

    14        A     No.

    15        Q     Okay.

    16        A     But I was there.

    17        Q     Now, you didn't speak about a couple of other

    18   features that are accused here.

    19              You heard of something called Time Machine,

    20   correct?

    21        A     Yes.

    22        Q     Didn't you once call it a wow feature.

    23        A     It is a wow feature, yes.

    24        Q     Okay.   What do you mean by wow feature?

    25        A     When you look at it or when you hear what it
Case 16:08-cv-00088-LED
         does for you, youDocument
                           go: Wow,  that's
                                   421  Filedreally  great.
                                              10/20/10  Page I194
                                                               want
                                                                  of 252 PageID #: 38765
     2   it.

     3         Q     And does Steve --

     4         A     Those features are really wow features.

     5         Q     Did Steve --

     6         A     We don't make features that aren't wow

     7   features.    That's what we do.

     8         Q     Do you think these wow features are important

     9   to consumers or just important to you?

    10         A     I think they're important to me, because they

    11   make me go wow, and the thing is that they're going to

    12   be important to other people as well.

    13         Q     It doesn't make anybody else go wow?

    14         A     Pardon me?

    15         Q     Does it make anybody else -- anybody else go

    16   wow besides you?

    17         A     Like I said, it's also important to other

    18   people as well as me.

    19         Q     And Apple has something called a COO, correct?

    20         A     Yes.

    21         Q     That's the Chief Operating Officer, right?

    22         A     That's correct.

    23         Q     And he's -- what does he do there?

    24         A     He's the Chief Operating Officer.    He manages

    25   a very large chunk of Apple.
Case 16:08-cv-00088-LED
               Q   And somebody very
                         Document    important
                                   421          in Apple's
                                        Filed 10/20/10 Pagechain
                                                            195 of 252 PageID #: 38766
     2   of command, correct?

     3        A     Yes.

     4        Q     Senior executive almost to Jobs but not quite.

     5        A     Right.    Usually, the COO in a company reports

     6   in to the President or the CEO.

     7        Q     And I assume, sir, when you provide

     8   information -- by the way, this man's name is Mr. Cook,

     9   correct?

    10        A     Yes, Tim Cook.

    11        Q     I assume, when you give information, you try

    12   to give as accurate information as possible, correct?

    13        A     That's true.

    14                     MR. DIAMANTE:   Can I see Plaintiff's

    15   Exhibit 161?

    16        Q     (By Mr. Diamante) Did you write -- do you see

    17   this e-mail, sir?

    18        A     Yes, I do.

    19        Q     Do you recall it?

    20        A     Not specifically, but it seems familiar.

    21        Q     How did you refer to Time Machine here, sir?

    22        A     Let's see here.     It says it's with

    23   ground-breaking new features, including Time Machine.

    24                     MR. DIAMANTE:   No further questions.

    25                     Thank you.
Case 16:08-cv-00088-LED THE COURT: 421
                         Document   All Filed
                                        right.10/20/10 Page 196 of 252 PageID #: 38767
     2                     MR. PLATT:     We have no further questions.

     3                     THE COURT:     All right.   You may step

     4   down.

     5                     All right, Ladies and Gentlemen of the

     6   Jury, we're going to take about a 10-minute break, give

     7   you a chance to stretch your legs and use the

     8   facilities, and we're going to come back and go till

     9   about 11:30.     We'll be in recess -- I'm sorry.        Not

    10   11:30.     That would be cruel and unusual punishment.

    11   [Laughter]

    12                     THE COURT:     We'll go until 5:30.        And so

    13   we'll come back at 4:30.        That will give you just a

    14   little less than 15 minutes to stretch your legs and get

    15   refreshed.

    16                     All right.     Be in recess.

    17                     COURT SECURITY OFFICER:        All rise.

    18                     (Jury out.)

    19                     (Recess.)

    20                     COURT SECURITY OFFICER:        All rise.

    21                     (Jury in.)

    22                     THE COURT:     Please be seated.

    23                     All right.     Who will be your next

    24   witness?

    25                     MR. RANDALL:     Your Honor, Apple's next
Case 16:08-cv-00088-LED
         witness is Mr. Greg Joswiak.
                         Document  421 Filed 10/20/10 Page 197 of 252 PageID #: 38768
     2                       THE COURT:     Okay.   Has he been sworn?

     3                       MR. RANDALL:     He has not.

     4                       THE COURT:     If you would please raise

     5   your right hand.

     6                       (Witness sworn.)

     7                       THE COURT:     All right.   Have a seat right

     8   there.

     9            GREG JOSWIAK, DEFENDANTS' WITNESS, SWORN

    10                           DIRECT EXAMINATION

    11   BY MR. PLATT:

    12        Q       Good afternoon, Mr. Joswiak.

    13                Could you introduce yourself to the jury and

    14   tell them what your position is at Apple?

    15        A       My name is Greg Joswiak.        People call me Jos.

    16   I'm the Vice President of iPod and iPhone Product

    17   Marketing.

    18        Q       Can you give us a general description of your

    19   job responsibilities in that role?

    20        A       Yes.    What we do is we work with our executive

    21   team and our engineers on defining the products, what

    22   are the features going to be, what are the products that

    23   we're going to create, what are we going to sell them

    24   for, you know, what makes up an Apple product.

    25                And for me that's iPods and iPhones.
Case 16:08-cv-00088-LED
                   I then Document
                           become the person
                                    421  Filedwho -- myself
                                               10/20/10 Pageand
                                                             198myof 252 PageID #: 38769
     2   team -- would go out and tell people about what we do

     3   with the products, create kind of the basic positioning

     4   of the products, go out and talk to the journalists, go

     5   talk to analysts, key people.

     6               And so in that first phase, we're kind of, you

     7   know, the customer's voice to Apple.     And in that second

     8   phase, we're Apple's voice to the customer.

     9           Q   Can you briefly describe your history with

    10   Apple as a company?

    11           A   Yeah.   I've been with Apple for over 24 years.

    12   So I came there right out of college.     Really started

    13   very near the bottom and have worked my way up.

    14               So I started off in computer support in 1986.

    15   Did that for a few years.     I moved over the what's

    16   called our Developer Relations Team.     Those are the

    17   people that write programs for our computers and was

    18   responsible for technical marketing communication to

    19   them.

    20               Then in the mid-'90s, I moved into Product

    21   Marketing and started doing the function that I talked

    22   about, but originally for our desktops for our computers

    23   like you see there for consumers and education.

    24               Eventually, I got promoted to lead that

    25   function for all of our portable computers, and then
Case 16:08-cv-00088-LED
         from there to allDocument
                           of our hardware products,
                                   421 Filed 10/20/10 which
                                                       Page was
                                                            199 of 252 PageID #: 38770
     2   Mac, and then these products that we created, like the

     3   iPod.

     4               Eventually, the iPod and the Mac were both so

     5   big that we split them up.       So in 2004, I stuck with the

     6   iPod and gave up my Mac responsibilities.       And then the

     7   iPod kind of begat the iPhone, if you will, and I had

     8   responsibility for the iPod and the iPhone.

     9           Q   So you were with the company back in 2001 and

    10   2002; is that right?

    11           A   That's correct.

    12           Q   Can you tell us a little bit about that time

    13   in the industry and through how Apple handled that as a

    14   company?

    15           A   Yeah.     That is probably one of the most

    16   important times in our history, because what had

    17   happened in 2000, you probably heard about the internet

    18   bubble burst.       You know, high-tech went into just a

    19   tailspin with companies that start -- you know, business

    20   wasn't so good.

    21               So what most companies did was start laying

    22   off employees, do massive layoffs.       And Apple took a

    23   very different route.       We said very publicly that we

    24   were going to innovate our way out of it.       We weren't

    25   going to lay off our employees.       We weren't going to cut
Case 16:08-cv-00088-LED
         the investment that we knew
                         Document    would
                                   421      be10/20/10
                                        Filed  importantPage
                                                         for 200
                                                              us of 252 PageID #: 38771

     2   down the road.

     3             So we actually in 2000 and 2001 started on a

     4   course of investing in our technology, our products, and

     5   our employees to a greater extent than we ever had in

     6   our history of our company.    And I think, you know, for

     7   those reasons, the success we're having today relate

     8   back to those days.

     9        Q    Can you tell us about some of the products and

    10   innovations that Apple came up with in that time when it

    11   reinvested in itself?

    12        A    Yeah, absolutely.

    13             So in 2000/2001, again we started on a course

    14   of all kinds of investments.    So obviously people

    15   expected us to reinvest in creating new computers like

    16   the iMac, but we also overinvested in portable

    17   computers, because at that time, portable computers were

    18   a very small part of our sales, but we didn't have -- we

    19   didn't see any reason, if we did them right, they

    20   couldn't be the majority of our sales.    And that

    21   actually is true today.

    22             We invested in a big OS transition, OS 10,

    23   which I believe you saw a little bit earlier today.     We

    24   created an entire retail strategy, Apple retail stores,

    25   which today, there's 300 retail stores.    And at the time
Case 16:08-cv-00088-LED
         we opened our first retail421
                         Document   store,  people
                                        Filed      thought
                                              10/20/10 Pagewe201
                                                              were
                                                                 of 252 PageID #: 38772
     2   crazy in opening up a computer retail store; but it

     3   turned out to be a big part of the success the company's

     4   having.

     5               We also credited a whole Applications

     6   Division.    Some of the software you see running on that

     7   computer is created by an applications vision of a

     8   thousand engineers that we were hearing during tough

     9   times to create applications that would run better on

    10   the Mac than it would on other computers, like on

    11   Windows computers.

    12               And that's also the times we created products

    13   like iTunes and the iPod.     And, again, each time we did

    14   those things, people kind of thought we were nuts and we

    15   were going to be spending our money and going out of

    16   business, but it became a very important part of our

    17   success.

    18        Q      Now, you mentioned iTunes.

    19               Can you tell us about what iTunes is?

    20        A      Yeah.    iTunes is a software application that

    21   we introduced in January of 2001, and it's like a

    22   digital jukebox, because what was going on in the

    23   industry is people were -- instead of listening to music

    24   on tapes and CDs, they were putting the music onto their

    25   computer, which allowed them to listen to their music in
Case 16:08-cv-00088-LED
         any order they wanted, either
                         Document  421 on  their
                                        Filed    computer
                                              10/20/10    or 202 of 252 PageID #: 38773
                                                       Page
     2   pressing it out to a CD and listening to it in a CD

     3   player in the order they wanted it.

     4              Well, we created iTunes, because it was still

     5   kind of hard for people to do that.     It was kind of

     6   geeky, and we created a real easy way for people to take

     7   their music that was on their CDs, convert it onto their

     8   computers, listen to it on their computers, or, again,

     9   burn it out onto a CD, create a CD of their own.

    10              Or once we created the iPod, be able to put

    11   that music easily onto an iPod.

    12        Q     Now, you mentioned the iPod.     Let me take a

    13   look at this video, DX131 from back in 2001.

    14                   (Video clip playing.)

    15                   UNIDENTIFIED MALE:    There's something

    16   really cool happening where music in this whole digital

    17   world we live in started to come together, and in this

    18   new digital music world, Apple has had lot of technology

    19   to bring to the party.

    20                   We know how to make really cool small

    21   devices.   We know how to make them beautiful and fun.      I

    22   call it an amazing new device that fits in your pocket,

    23   and it carries over a thousand songs.     So now you can

    24   take your entire music library with you wherever you go.

    25                   This is a total solution.     Your iPod,
Case 16:08-cv-00088-LED
         Firewire, iTunes Document
                           with all 421
                                    your Filed
                                         music10/20/10
                                               in it, itPage
                                                         all 203
                                                              works
                                                                 of 252 PageID #: 38774
     2   together seamlessly.        And only Apple can do that,

     3   because we make the hardware, the software, all the

     4   technology that allows us to solve problems for people

     5   that no one else would dare take on.

     6                        (End of video clip.)

     7        Q       (By Mr. Platt) Sir, can you tell us about what

     8   that video showed?

     9        A       That's my boss, for one.       And what we were

    10   showing there, and I think one of the key points that

    11   Phil is making in describing the first iPod was, again,

    12   what we try to do when we bring the solution to market,

    13   which is, we do the whole thing, right?

    14                We do the hardware, the part that you hold,

    15   the software, which is what runs on that hardware and

    16   makes it so easy to use.        And when we can, we actually

    17   even the services.        That way everything just works

    18   together and works in a -- in a fun and easy way for our

    19   customers.

    20        Q       Can you walk us through the various -- you

    21   know, at a high level some of the releases, the

    22   different versions of the iPod since 2001 up to today?

    23        A       Yeah.     We've done a lot of them, so I'll just

    24   maybe hit some of the highlights.

    25                So in 2001, we brought out the first iPod, and
Case 16:08-cv-00088-LED
         it's kind of interesting
                         Documenttiming, as 10/20/10
                                  421 Filed I mentioned.
                                                     Page Not
                                                          204 of 252 PageID #: 38775
     2   only was the industry in a funk, we introduced the first

     3   iPod six weeks after 9/11.     And, again, most people were

     4   not introducing new products as the economy was pretty

     5   bad.

     6                We brought out a second generation of the iPod

     7   in 2002 that ran on Mac's MPCs.     But, truthfully, 2002

     8   was kind of a lean year for us.     We didn't sell many

     9   iPods.     It wasn't until 2003, when we created the third

    10   generation of the iPod, which we like to say was thinner

    11   than two CDs, really kind of a sleek little -- little

    12   iPod.

    13                And at the same time, we introduced the iTunes

    14   music store.     So I told you how iTunes could manage your

    15   music and put it onto your iPod.     Well, iTunes music

    16   store allowed you to actually buy music legally for only

    17   99 cents a song, and people loved that.     So that kind of

    18   took this iPod business and it's when it really started

    19   to spike up in 2003.

    20                And then in 2004, we added the first new type

    21   of iPod.     We added the iPod Mini, which was smaller,

    22   more colorful.

    23                And then in 2005, we brought in iPod Shuffle,

    24   which is a really small device that you could wear and

    25   listen to your music in kind of a random order which
Case 16:08-cv-00088-LED
         people kind of thought was421
                         Document   fun.Filed 10/20/10 Page 205 of 252 PageID #: 38776

     2                  And then in late 2005, we brought out two

     3   important products:       The iPod Nano, which replaced the

     4   iPod Mini; a really, really small player, really, really

     5   thinner than a pencil.       And we brought out the video

     6   capabilities into the bigger iPod, the fifth generation,

     7   iPod Classic.

     8                  Another significant iPod we did was in 2007.

     9   We did the iPod Touch.       And in each year, what we try to

    10   do is really enhance all the -- re-do the iPods every

    11   year, and that's worked out pretty well for us.

    12           Q      In terms of sales of iPods and iTunes, you

    13   understand Coverflow was introduced in the iPod in 2007?

    14           A      Yeah, late 2007.

    15           Q      And can you tell us sort of what happened with

    16   Apple's sales once -- sort of how the sales have

    17   transgressed since then?

    18           A      Yeah.   iPod was already a giant success by

    19   2007.       I think it was about somewhere in 2005 that our

    20   market share in the U.S. was over 70 percent, 7-0, 70

    21   percent of the digital music player market.

    22                  So we were already well on our way and

    23   selling, you know, certainly by 2006 maybe to 2007, you

    24   know, a lot -- lots and lots of iPods.

    25                  And really, after 2007, our sales kind of
Case 16:08-cv-00088-LED
         plateaued, if anything,
                         Documentand it Filed
                                   421  maybe10/20/10
                                              came downPage
                                                        a little
                                                            206 of 252 PageID #: 38777
     2   bit because we had gotten to such a big number.

     3        Q       Now, you mentioned the iTunes music store.

     4   That allows you to get content for both music and video;

     5   is that right?

     6        A       That's right.

     7        Q       Okay.     Let's take a look at --

     8                        MR. PLATT:   Could we go to this video,

     9   DX159A?

    10                        (Video clip playing.)

    11                        UNIDENTIFIED MALE:   Last week -- last

    12   week for the first time, we added some sports.          And in

    13   partnership with ABC and ESPN, we put up the ballgames.

    14   And it was really fantastic.

    15                        Here's a little sampling.

    16                        Hello, everybody, and welcome to

    17   Pasadena, California.        Tonight, the 2006 Rose Bowl Game

    18   presented by Citi.

    19                        I'm Keith Jackson, and in the

    20   unprecedented partnership between ABC Sports and Apple

    21   iTunes, you're about to see a bold blast.         The 15-minute

    22   condensed version of the National Championship Game

    23   between the top-ranked USC Trojans and the No. 2 Texas

    24   Longhorns.

    25                        All the key moments from this contest are
Case 16:08-cv-00088-LED
         right at your fingertips
                         Documentin theFiled
                                  421   iTunes  video store.
                                             10/20/10 Page 207 of 252 PageID #: 38778
     2                     (End of video clip.)

     3        Q    (By Mr. Platt) Now, other than being the

     4   greatest football game in history --

     5        A    I think that worked out pretty well for Texas.

     6        Q    Yeah.     Why -- why was content so important to

     7   the iTunes and to Apple?

     8        A    Well, as I mentioned, we like to try to do the

     9   whole solution for the customer.     That way we're

    10   guaranteed that it all works and everything the customer

    11   needs is there.

    12             And I said that's hardware and that's

    13   software, but sometimes that's content or services.        So

    14   we created licensing deals with all the major record

    15   labels, all the independent record labels, you know, the

    16   people who own video content.

    17             Once we added video, you could get TV shows,

    18   sports, et cetera.     So you could buy those legally so

    19   you didn't have to be a thief, because we figured most

    20   of our customers weren't thieves, if we offered them an

    21   affordable and easy way to buy the content.

    22             And so they could just download it right there

    23   on their computer, bring it into iTunes, and easily

    24   transfer it over to the iPod, and watch anywhere they

    25   were -- anywhere they went.
Case 16:08-cv-00088-LED MR. PLATT: 421
                         Document   Why Filed
                                        don't10/20/10
                                              we pull up
                                                      Page 208 of 252 PageID #: 38779
     2   Exhibit 616, Page 127, which is a April 2008 customer

     3   research survey.

     4        Q     (By Mr. Platt) Do you recognize this?

     5        A     Now, I do.    Yes, I do.

     6        Q     And can you tell us about the methods that

     7   people use to access their music on the iPod?

     8        A     Yeah.    We give lots of ways to allow people to

     9   figure out what song they want to listen to and to get

    10   to that song.

    11              And what this shows is we asked people what's

    12   their favorite way to get to their music on their iPod.

    13   And no surprise that number one is playlist, which is

    14   that ability I told you about where people could put the

    15   music in the order they wanted to listen to it and hear

    16   it that way.

    17              Another popular way is just finding the

    18   artist.   Let's say you wanted to find the Rolling Stones

    19   and listen to their music.     That's very popular.

    20              And what it shows is actually Coverflow is not

    21   so popular.     It's only 5 or 6 percent of customers say

    22   that's how they like to access their music.

    23        Q     Now, you're familiar with iPad as well?

    24        A     I am.

    25        Q     And what is the iPad?
Case 16:08-cv-00088-LED
               A   The iPad is Apple's
                         Document  421 version  of a tablet
                                        Filed 10/20/10 Page 209 of 252 PageID #: 38780
     2   computer, which is a computer that's really just a

     3   display on the front, and it runs the same operating

     4   system, what we call iOS that we run on the iPhone or

     5   the iPad Touch.

     6        Q    And was the iPad the first tablet computer on

     7   the market?

     8        A    It was not.       Tablet computers have existed for

     9   many years.   I think it's just the first tablet computer

    10   people seemed to like.

    11        Q    Why do you think that is?

    12        A    Well, it's been a big hit.       We introduced it

    13   earlier this year, and we still are not able to keep up

    14   with the demand.    We haven't been able to make enough.

    15        Q    And what is -- you mentioned the iPhone.

    16             Could you explain what the iPhone is?

    17        A    Uh-huh.    Yes.     The iPhone is a product that we

    18   introduced in 2007, and it was the idea of taking phones

    19   to another level, both in what they could do and how

    20   easy it was to use it.

    21             And we -- we actually kind of positioned the

    22   iPhone as three products in one.       Number one, it's a

    23   breakthrough phone; easy to find numbers of people you

    24   want to call and call them.

    25             Number two, it was a great wide-screen iPod,
Case 16:08-cv-00088-LED
         so, again, a great way to 421
                         Document  listen  to 10/20/10
                                        Filed your musicPage
                                                         or watch
                                                             210 of 252 PageID #: 38781
     2   your videos.

     3                And three, it was a device that put the

     4   internet in your pocket.        So it allowed you to do your

     5   e-mail on the go, go to the web, see videos from the

     6   internet, et cetera.

     7                So those are really three products in one.

     8        Q       Was the iPhone the first smartphone that was

     9   out there?

    10        A       No.     There have been smartphones before on the

    11   market.

    12        Q       Do you know why Apple has been successful with

    13   the iPhone?

    14        A       Well, again, I think in an Apple kind of way,

    15   by bringing the hardware and the software together, and

    16   for the hardware, that meant we had multi-touch display

    17   and just a new way to interact with it.        We just made it

    18   so much more easy and fun to discover the features of

    19   the product, use the features.

    20                And a lot of these prior products existed only

    21   to kind of really technical people; you know,

    22   alpha-geeks you might call them.

    23                We try to make products that appeal to

    24   everyone, and they are easy and fun.

    25        Q       Okay.
Case 16:08-cv-00088-LED MR. PLATT: 421
                         Document   Why Filed
                                        don't10/20/10
                                              we pull up DX614
                                                      Page 211 at
                                                               of 252 PageID #: 38782
     2   Page 26.

     3        Q     (By Mr. Platt) And this is iPhone Final Report

     4   from November 2007.

     5              Can you tell us what this shows?

     6        A     Yeah.    We asked people why did they buy the

     7   iPhone, and I think no surprise again.     What I said is

     8   that the number one reason by far, 44 percent, says they

     9   wanted a phone that combined music, so that's the iPod,

    10   with their e-mail and web capabilities.     So that's the

    11   internet in their pocket, which is just how we thought

    12   customers would like the iPhone.

    13              Number two and kind of distant number two, but

    14   number two is they're just a fan of our products.      They

    15   know that we try to create products, again, that are fun

    16   and easy to use; and they're going to know how to use

    17   them, and they're going to work for them.

    18              And three kind of relates to number one, which

    19   is they want the best mobile phone on the market, and

    20   that's just right behind number two at 18 percent.

    21              So it kind of ties into that breakthrough

    22   phone that we talked about.

    23        Q     Now, can you explain for us your experience

    24   regarding the introduction or launch of the iPhone?

    25        A     I can.    As I said, I've been at Apple a long
Case 16:08-cv-00088-LED
         time, over 24 years, and I421
                         Document   still  like
                                        Filed   to thinkPage
                                              10/20/10   of the
                                                             212 of 252 PageID #: 38783
     2   day that we launched the first iPhone, you know, as

     3   really one of my best days as an employee.

     4             And it really started six months before that,

     5   because we introduced it publicly in January of 2007.

     6   Steve Jobs stood on stage and told people what the

     7   iPhone was.     And we had to do it ahead of time, because

     8   we had to go through regulatory approvals and things

     9   like that; and we figured it would leak, and we wanted

    10   to be the ones who introduced it to the world, not

    11   having leaks do it.

    12             And Steve showed these three products in one,

    13   showed how easy it was, showed the multi-touch, and

    14   people went nuts.     They just fell in love with the idea

    15   of it.

    16             And what's interesting is we didn't really say

    17   anything for the next six months, except for one teaser

    18   campaign of say hello to iPhone.     Other than that, we

    19   didn't really say anything.

    20             But it was the anticipation and the excitement

    21   of the iPhone just continued to grow and grow and grow

    22   to that day that we introduced it by shipping it in late

    23   June of 2007.

    24             And those of us who are key people on the

    25   product team kind of dispersed to different stores,
Case 16:08-cv-00088-LED
         Apple stores around the country.
                         Document          I 10/20/10
                                   421 Filed got assigned
                                                      Pageto213
                                                             Losof 252 PageID #: 38784

     2   Angeles and the Grove, and I arrived before dawn.

     3                 Remember, the product wasn't going to go on

     4   sale until 6:00 p.m. that evening.        And before dawn,

     5   there were already hundreds of people in line at that

     6   store.      And what was cool about that is they were just

     7   regular people.      They weren't like computer-nerdy kind

     8   of people, you know, like me.        They were just real

     9   average people who were in line, excited to get such an

    10   amazing invention that first day it was available.

    11                 And then the excitement of when the doors

    12   finally opened at 6:00 p.m. and people rushing in and

    13   the energy and excitement and applause and cheering and

    14   how excited people were when they came out.

    15                 It was, again, very rewarding for those of us

    16   that spent a long time working on that product.

    17           Q     Now, there's been a suggestion that the reason

    18   why people buy iPods, iPhones, and iPads is because they

    19   include Coverflow.

    20                 Do you agree with that?

    21           A     I have never heard anybody even suggest that,

    22   nor do I have any data that would ever even suggest

    23   that.

    24           Q     Why do you say that?

    25           A     I do a fairly thorough job of surveying our
Case 16:08-cv-00088-LED
         customers and talking to our
                         Document  421customers,  and itPage
                                        Filed 10/20/10   just214 of 252 PageID #: 38785

     2   doesn't come up.

     3        Q    Now, before this case, had you ever heard of

     4   Mirror Worlds or Dr. Gelernter?

     5        A    I had not.

     6                     MR. PLATT:   Pass the witness, Your Honor.

     7                         CROSS-EXAMINATION

     8   BY MR. CANTINE:

     9        Q    Good afternoon, Mr. Joswiak -- right?

    10        A    Good afternoon.

    11        Q    We've never met.      My name is Chuck Cantine.

    12        A    You can call me Jos.

    13        Q    Jos?     Okay.   Thank you.

    14             Now, you've been at Apple, I believe you said,

    15   24 years, right?

    16        A    That's right.

    17        Q    And you are currently the Vice President of

    18   Product Marketing for both the iPad and the iPhone; is

    19   that right?

    20        A    That's correct.

    21        Q    And you report to Mr. Schiller, right?      We saw

    22   that in the video?     We saw him?

    23        A    That's correct.      That's my boss.

    24        Q    Did he tell you that he had received a number

    25   of e-mails about Dr. Gelernter over the years?
Case 16:08-cv-00088-LED
               A   He did Document
                           not.    421 Filed 10/20/10 Page 215 of 252 PageID #: 38786
     2        Q    He didn't share that with you?

     3        A    He did not.

     4        Q    Okay.     Did he tell you whether he ever went to

     5   the Scopeware website?

     6        A    I'm sorry?

     7        Q    Did he ever tell you whether he went to the

     8   Scopeware website?

     9        A    He did not.

    10        Q    Okay.     Now, you've been Vice President of

    11   Product Marketing for the iPod since 2003, right?

    12        A    That's correct.

    13        Q    And for the iPhone since 2007?

    14        A    Well, no.     That's when we publicly announced

    15   the iPhone.   I was actually working on the iPhone since

    16   its inception as well.

    17        Q    Okay.     And marketing, that's another word for

    18   promoting, right?

    19        A    Well, product marketing is different than

    20   outbound marketing.     So product marketing, as I said, is

    21   actually more involved in the definition of the product,

    22   creating the products, and then creating the basic

    23   positioning of the products to our general marketing

    24   teams, which are advertising, marketing communications,

    25   PR, et cetera.
Case 16:08-cv-00088-LED
                   That's Document
                           the broader
                                    421marketing  team. Page
                                         Filed 10/20/10  My team
                                                             216 is
                                                                 of 252 PageID #: 38787
     2   product marketing.

     3           Q   Well, product marketing in the end, does that

     4   help sell the products?

     5           A   Product Marketing's number one goal is to help

     6   to find great products.    And then two, we want to make

     7   sure people understand why do we think they were great

     8   products, and we will then feed the marketing team so we

     9   create great advertisements, hopefully, to help share

    10   that.

    11           Q   So, again, does promoting help sell the

    12   products and what you do help sell the products at the

    13   end of the day?

    14           A   I don't consider what I do promoting or

    15   selling.

    16           Q   You just consider it marketing?

    17           A   I consider it product marketing; that's

    18   correct.

    19           Q   And it's your testimony that doesn't help sell

    20   the products?

    21           A   Again, I hope if we create a great product,

    22   the product is going to help certainly sell itself.       And

    23   if I create great positioning for our marketing teams,

    24   they'll create great marketing which would generate

    25   demand; and, hopefully, our sales teams will be able to
Case 16:08-cv-00088-LED
         create great sales.
                         Document 421 Filed 10/20/10 Page 217 of 252 PageID #: 38788
     2           Q   I'm not really sure what you answered there,

     3   but let's move on.

     4               Now, before Apple began promoting its

     5   products, it tries to identify the key features, right?

     6           A   I'm sorry?

     7           Q   You try to identify the key features you want

     8   to market before you start marketing those products,

     9   right?

    10           A   Yeah.   Oftentimes, we create tent poles, for

    11   example.

    12           Q   Okay.   And you've done that for the iPhone,

    13   right?

    14           A   Yeah.   The iPhone, as I said, the tent poles

    15   are breakthrough phone, great wide-screen iPod, and puts

    16   the internet in your pocket.

    17           Q   And by the great wide-screen iPod, what do you

    18   mean?

    19           A   It means that it's an easy way to take your

    20   music and your video with you.     Obviously, that was an

    21   important part of our -- our assets that we could bring

    22   into this, because iPods themselves had become so

    23   popular, we knew people wanted to take their music with

    24   them everywhere we go.

    25               Certainly, they would want to do that on their
Case 16:08-cv-00088-LED
         phone as well. Document 421 Filed 10/20/10 Page 218 of 252 PageID #: 38789

    2        Q    So the music was an important part of both the

    3   iPhone and the iPod, right?

    4        A    That's correct.

    5        Q    And, in fact, I think the graphic you just

    6   showed us showed that 44 percent of the people chose the

    7   iPhone, at least in part, because of the music

    8   capability, right?

    9        A    Because of the combination of the phone, the

   10   music, and the internet capability.

   11        Q    Well, in fact, in the graphic you showed us,

   12   you listed music first, didn't you?

   13        A    No.    It's the combination.

   14             The question is asked and the answer is in

   15   combination.    That's a very important aspect of the

   16   iPhone.

   17        Q    And music was one of those pieces, right?

   18        A    Music actually did not come up as a solo

   19   answer that high.    It actually was offered in the

   20   choices and would not have come up that high by itself.

   21        Q    I'm sorry.     I thought I took good notes when

   22   you had that graphic up there before and it said about

   23   the iPhone success, 44 percent of the people chose the

   24   iPhone because of the music, e-mail, and the internet.

   25        A    Correct.     The combination of those things.
Case 16:08-cv-00088-LED
               Q   And music was the
                         Document    oneFiled
                                   421   you 10/20/10
                                              listed first,
                                                       Page right?
                                                            219 of 252 PageID #: 38790
     2           A   It had nothing to do with what's first.      It's

     3   the combination of those.

     4           Q   Okay.   But Apple has emphasized music in

     5   promoting the iPod Touch and the iPhone, right?

     6           A   Well, for the iPod Touch, that becomes even

     7   more important, because iPod's music is certainly a big

     8   part of it.

     9               For iPhones, it's, again, the combination of

    10   the fact that they are the breakthrough phone, a great

    11   iPod, and puts the internet in your pocket.

    12               And then we later added to that.   When we

    13   created applications in the App Store, we have now over

    14   250,000 apps that are available for it as well.

    15           Q   Now, you didn't show the jury a video of the

    16   Coverflow feature, did you in your little presentation

    17   here?

    18           A   There was none.

    19           Q   Okay.   Now, let's talk about the iPhone for a

    20   second, okay?

    21           A   Okay.

    22           Q   And if you hold the iPhone up and you're going

    23   to -- let's say you're playing music, right?     And you're

    24   holding it straight up like you're making a phone call,

    25   and then you might put it sideways in what they call the
Case 16:08-cv-00088-LED
         horizontal mode or the landscape
                         Document         orientation.
                                   421 Filed 10/20/10 Page 220 of 252 PageID #: 38791
     2             You've heard those terms?

     3        A    I'm aware, yes.

     4        Q    Okay.   What happens when you turn your iPhone

     5   from vertical to the horizontal when you're playing

     6   music?

     7        A    If you're in the iPod application, and that's

     8   an important distinction, it doesn't happen anytime.     If

     9   you're in the iPod application, then it will switch over

    10   to Coverflow.

    11        Q    Automatically switches to Coverflow?

    12        A    That is correct.

    13        Q    That's built right in?

    14        A    That is correct.

    15        Q    So every time one of those users does that,

    16   it's going into Coverflow, right?

    17        A    If the iPad -- if the iPod application is

    18   active.

    19        Q    Okay.   And when that's active and you go from

    20   vertical to horizontal, it automatically switches into

    21   Coverflow mode, right?

    22        A    That is correct.

    23        Q    And that's both for the iPhone and iPod Touch;

    24   is that right?

    25        A    That is correct.
Case 16:08-cv-00088-LED MR. CANTINE:
                         Document  421James,  can you pull
                                        Filed 10/20/10 Pageup221
                                                              210,
                                                                 of 252 PageID #: 38792
     2   please?

     3             Why don't we go to the first page just so we

     4   can get a -- if you would.

     5        Q    (By Mr. Cantine) Okay.      Do you recognize

     6   that -- this document, Mr. Joswiak?

     7        A    I do.

     8        Q    And what is that?

     9        A    This is a reviewer's guide.      One of the things

    10   I talked about in my job function is going off and

    11   talking to journalists or analysts about our products.

    12             This is a supplement, if you will, to our

    13   visit, which tries to capture a number of the things we

    14   would have said publicly and tries to put them in one

    15   spot to allow the reviewer to come up to speed quickly

    16   on the capabilities of the product.

    17        Q    So this would be an example of your product

    18   marketing; is that right?

    19        A    This -- this would be part of that.

    20        Q    Okay.     Thank you.

    21                     MR. CANTINE:   Let's turn to that page you

    22   had up James, please, 367, I think.

    23                     And can we zoom in on the Coverflow part?

    24        Q    (By Mr. Cantine) Do you see where it says

    25   Coverflow there, sir?
Case 16:08-cv-00088-LED
               A   I do. Document 421 Filed 10/20/10 Page 222 of 252 PageID #: 38793

     2        Q       Okay.     Then let me read you what it says.

     3                It says:     Another great way to look at your

     4   music library is with Coverflow.        Just like in iTunes,

     5   Coverflow lets you enjoy your entire music library using

     6   the album and cover art.

     7                Do you see that?

     8        A       I do.

     9        Q       Did I read that correctly?

    10        A       It looks like you did.

    11        Q       Okay.     Thanks.

    12                And this is an example of Apple's marketing

    13   materials for its iPhone where it's promoting the use of

    14   Coverflow.

    15                Would you agree with that?

    16        A       This, again, was for reviewers to come up to

    17   speed quickly on the capabilities of the product.           It

    18   wasn't distributed publicly.

    19        Q       Well, I thought you said you gave this to

    20   journalists and press people and others, right?

    21        A       Correct.     Individual journalists.   This wasn't

    22   something available, for example, on our website.

    23        Q       Well, we can debate whether that's public

    24   distribution.        But you gave it to these people that were

    25   going to review your products so they could write about
Case 16:08-cv-00088-LED
         it, right?     Document 421 Filed 10/20/10 Page 223 of 252 PageID #: 38794
    2           A   Correct.

    3           Q   And you included Coverflow in that

    4   description, right?

    5           A   We did.

    6           Q   Okay.     And then let's look at what else it

    7   says.

    8               It says:     To use Coverflow, all you have to do

    9   is rotate the iPhone into the landscape orientation.

   10   The iPhone's Accelerometer senses the change and

   11   automatically switches into Coverflow.

   12               Did I read that correctly?

   13           A   You did.

   14           Q   Okay.     And that's what we were just

   15   discussing, right, when you were holding your iPhone up?

   16           A   Exactly.

   17           Q   If you're in the music mode, if you're

   18   navigating music, listening to music, it automatically

   19   switches in to Coverflow, right?

   20           A   When you moved it into landscape mode.

   21           Q   And that's what that graphic is depicting

   22   there, right?

   23           A   That's correct.

   24           Q   Okay.     Now, at the bottom, it says:   Now just

   25   flick your finger left or right to find the album you
Case 16:08-cv-00088-LED
         want. Tap on it,Document
                          and then421
                                   tap Filed
                                       on the  song youPage
                                             10/20/10   want224
                                                             to of 252 PageID #: 38795

     2   listen to.

     3                I guess there's a typo there.

     4                iPhone allows you to touch your music in a way

     5   you never imagined on a phone.

     6                Do you see that?

     7        A       I do.

     8        Q       Okay.   So, again, this represents an example

     9   of Apple marketing the use of Coverflow in connection

    10   with the iPhone, right?

    11        A       Again, it's to bring reviewers up to speed

    12   quickly on the capabilities of the product.

    13        Q       And you wanted them to write favorable pieces

    14   about the iPhone for their magazines and publications,

    15   right?

    16        A       Absolutely.

    17        Q       And you included this Coverflow feature as one

    18   of the things, right?

    19        A       Absolutely.

    20        Q       Okay.   And you did that with the iPod Touch,

    21   too, didn't you?

    22        A       I imagine we did, but I would --

    23        Q       You want me to show it to you?

    24        A       I would believe you.

    25        Q       Okay.   In fact, it's pretty much the same
Case 16:08-cv-00088-LED
         exact type of marketing
                         Documentmaterial, right?
                                   421 Filed 10/20/10 Page 225 of 252 PageID #: 38796
     2        A    We might have copied and pasted it.

     3        Q    Okay.    And using Coverflow in the iPhone and

     4   the iPad, it's easy, right?

     5        A    It is.    Again, you just turn it to the

     6   landscape position, and it comes on.    Unfortunately, I

     7   guess customers didn't find it that easy, because

     8   they're not using it to the extent --

     9        Q    And we'll talk about that in a minute, okay?

    10             Now, when the iPhone is in the Coverflow view,

    11   the album is being played in the center; is that right?

    12        A    That's right.

    13        Q    Okay.    When the iPad Touch is in the Coverflow

    14   view, the album being played is also shown in the

    15   center, right?

    16        A    That's correct.

    17        Q    Okay.    In fact, in all of Apple's products

    18   that include Coverflow, the album being played is always

    19   shown in the center, isn't it?

    20        A    That's correct.

    21        Q    Okay.    Let's talk about the operating system

    22   for a moment on the iPhone.

    23             Are you familiar with the operating system on

    24   the iPhone?

    25        A    I am.
Case 16:08-cv-00088-LED
               Q   Okay. Document
                          Is it -- 421
                                   now, Filed
                                        do you  call it Page
                                              10/20/10   the iOS?
                                                             226 of 252 PageID #: 38797
     2   Is that right?

     3        A     That's correct.

     4        Q     Okay.   And is that -- iOS, is that based on

     5   the Mac OS?

     6        A     At its fundamental levels, absolutely.

     7        Q     Okay.   And is that both for the iPod -- I'm

     8   sorry -- the iPod Touch and the iPhone; they're both

     9   based on the Mac OS?

    10        A     That is correct.

    11        Q     Okay.   Thank you.

    12              Have you ever heard of the term hero shot?

    13        A     I'm very familiar with that term.

    14        Q     Would you tell the jury what you understand

    15   the term hero shot is as used in product marketing?

    16        A     A hero shot is kind of like a beauty shot of a

    17   product.   You want to try to have -- if something is

    18   visually interesting about your products, you want to

    19   just show something that's going to capture somebody's

    20   interest to look at your products.

    21        Q     And isn't it true that Apple considered the

    22   Coverflow view on the iPod as its hero shot when

    23   promoting the iPods?

    24        A     Not all iPods, but some iPods and on occasion.

    25        Q     So on occasion, you'd use the Coverflow view
Case 16:08-cv-00088-LED
         as your hero shotDocument
                           when promoting your
                                   421 Filed   iPods, right?
                                             10/20/10 Page 227 of 252 PageID #: 38798
     2        A       Because it's a great way to show album art,

     3   which is a great way to have people understand it plays

     4   music.     It's very visually interesting.

     5        Q       So that was a yes at the end?

     6        A       That is a yes.

     7        Q       Thank you.

     8                And it was -- this hero shot, that's what

     9   Apple wanted its customers to see, right, in connection

    10   with promoting these products in those instances assess

    11   where you used it?

    12        A       Any instances where we used it; that's

    13   correct.

    14        Q       And those advertisements are meant to get

    15   customers to buy the iPhones and the iPods, right?

    16        A       It would be, again, to capture customers'

    17   interest, ultimately in the hope that they would buy the

    18   product.

    19        Q       Okay.   Now, you testified earlier and you

    20   brought up independently here a moment ago the fact that

    21   you don't think Coverflow is all that popular, right?

    22        A       That's correct.

    23        Q       Did you ever consider telling your customers

    24   that Coverflow is not popular?

    25        A       We don't spend too much time telling people
Case 16:08-cv-00088-LED
         what's not popular.
                         Document 421 Filed 10/20/10 Page 228 of 252 PageID #: 38799
     2        Q       You talked to the press, right?      And that's

     3   part of your job.        You're out trying to market things

     4   with the press and journalists, right?         You testified

     5   about that, right?

     6        A       We do.     We try to --

     7        Q       Did you tell them that Coverflow is not

     8   important?

     9        A       That would not be part of my presentation.

    10        Q       Okay.     Did you ever tell your customers or

    11   anybody in the press that Coverflow is unnecessary?

    12        A       Not to my knowledge.

    13        Q       Did you ever tell upper management that Apple

    14   should stop using Coverflow?

    15        A       We, for instance, in the latest iPod Nano

    16   don't use Coverflow.

    17        Q       Okay.     But you're still using the iPhone,

    18   right?

    19        A       We do.

    20        Q       And you're still using the iPod Touch, right?

    21        A       We do.

    22        Q       And does the company have any plans to stop

    23   using it in those products?

    24        A       Nothing public.

    25                        MR. CANTINE:   Nothing further.
Case 16:08-cv-00088-LED Thank you, 421
                         Document  Your Filed
                                        Honor.10/20/10 Page 229 of 252 PageID #: 38800
     2                   THE COURT:     Redirect?

     3                   MR. PLATT:     No redirect.

     4                   THE COURT:     All right.     You may step

     5   down.

     6                   Who will be your next witness?

     7                   MR. RANDALL:     Your Honor, we have three

     8   short videos.   I understand you want to get out of here

     9   about 5:30.

    10                   The first one will be about 15-and-a-half

    11   minutes.   That's Ed Stone.     He was the Plainfield

    12   corporate designee deponent.

    13                   And this depo is 10 minutes, 32 seconds;

    14   and 9 minutes, 11 seconds for Apple, and 1 minute, 21

    15   seconds for Plaintiff.

    16                   (Video playing.)

    17                   QUESTION:     Could you to please state your

    18   full name and business address for the record?

    19                   ANSWER:     Full name is Edward, middle

    20   initial, S, Stone.

    21                   My current business address is 77 Hobson

    22   Street, Stanford, Connecticut.

    23                   QUESTION:     Do you continue to provide

    24   consulting services to Plainfield Asset Management

    25   regarding monetization of IP?
Case 16:08-cv-00088-LED ANSWER: Yes.
                         Document 421 Filed 10/20/10 Page 230 of 252 PageID #: 38801
     2                   QUESTION:     Now, Plainfield Specialty

     3   Holdings I --

     4                   ANSWER:     Yes.

     5                   QUESTION:     -- is that one of Plainfield's

     6   portfolio companies?

     7                   ANSWER:     My understanding is that

     8   Plainfield Specialty Holdings I is a wholly-owned

     9   subsidiary of Plainfield Acceptance, which is a

    10   wholly-owned subsidiary of Plainfield Special Situations

    11   Master Fund.

    12                   QUESTION:     All right.   Let's break that

    13   down a little bit.

    14                   Okay.     Plainfield Specialty Holdings I,

    15   you said, is a wholly-owned subsidiary of Plainfield

    16   Acceptance?

    17                   ANSWER:     Correct.

    18                   QUESTION:     And who owns Plainfield

    19   Special Situations Master Fund?

    20                   ANSWER:     Investors.

    21                   QUESTION:     Who owns Mirror Worlds, LLC?

    22                   ANSWER:     Plainfield Specialty Holdings.

    23                   QUESTION:     Is Mirror Worlds, LLC, a

    24   wholly-owned subsidiary of Plainfield Specialty

    25   Holdings I?
Case 16:08-cv-00088-LED ANSWER: Yes.
                         Document 421 Filed 10/20/10 Page 231 of 252 PageID #: 38802
     2                  QUESTION:     Okay.    And if you trace it all

     3   the way back through the corporate chain, Mirror Worlds,

     4   LLC, is a wholly-owned subsidiary of the Plainfield

     5   Special Situations Master Fund?

     6                  ANSWER:     I don't think that's right.

     7   Mirror Worlds, LLC, is a wholly-owned subsidiary of

     8   Plainfield Specialty Holdings I.

     9                  QUESTION:     Okay.    And Plainfield

    10   Specialty Holdings I is a wholly-owned subsidiary of

    11   Plainfield Acceptance?

    12                  ANSWER:     Correct.

    13                  QUESTION:     Where is Mirror Worlds, LLC's

    14   principal place of business?

    15                  ANSWER:     It's in Texas.

    16                  QUESTION:     Where in Texas?

    17                  ANSWER:     I believe it's Tyler, Texas.

    18   I'm not sure of the exact --

    19                  QUESTION:     And do you know how many

    20   transactions involving intellectual property assets

    21   Plainfield has been involved in?

    22                  ANSWER:     I don't know the exact number.

    23                  QUESTION:     What's your best estimate?

    24                  ANSWER:     To the extent you want me to

    25   guess, I would say -- let me ask you to clarify.
Case 16:08-cv-00088-LED The intellectual
                         Document        property
                                   421 Filed      takesPage
                                             10/20/10   many232 of 252 PageID #: 38803

     2   forms.    Plainfield is a hedge fund.        We invest in

     3   assets.    We invest in companies.        Sometimes the

     4   companies have intellectual property assets.          Am I --

     5   it's hard for me to guess.

     6                    So if I look at a company to purchase, a

     7   company may have intellectual property, which we look at

     8   as a component of an acquisition.

     9                    QUESTION:     Now, you understand that

    10   you've been designated to testify today on behalf of

    11   Plainfield Specialty Holdings, Inc., correct?

    12                    ANSWER:     Yes.

    13                    QUESTION:     I'm going to step back a

    14   little bit and talk about how it is that you first

    15   came -- you being Plainfield, to be clear -- how it is

    16   that Plainfield first came into contact with Recognition

    17   Interface.

    18                    ANSWER:     Okay.     I believe Frank Weil

    19   contacted me.

    20                    QUESTION:     Okay.     And when was this?

    21                    ANSWER:     I don't know the exact date, but

    22   it would have been in 2007.

    23                    QUESTION:     It's fair to say, though, that

    24   your understanding was that he wanted to sell the

    25   patents to Plainfield so that Plainfield could generate
Case 16:08-cv-00088-LED
         revenue from them?
                         Document 421 Filed 10/20/10 Page 233 of 252 PageID #: 38804
     2                  ANSWER:     It was fairly clear to me that

     3   there was a potential transaction whereby Plainfield

     4   could acquire the rights to the patents from them.

     5                  QUESTION:     You said you were going to

     6   create a new entity.     Why was that?

     7                  ANSWER:     I think we can.

     8                  You create an entity to hold the patents.

     9                  QUESTION:     And that entity was Mirror

    10   Worlds, LLC?

    11                  ANSWER:     Correct.

    12                  QUESTION:     Mr. Stone, could you tell me

    13   what this document is?

    14                  ANSWER:     This looks like a certificate of

    15   formation for Mirror Worlds, LLC.

    16                  QUESTION:     So when you said that

    17   Plainfield was going to create a new company to hold the

    18   Mirror Worlds patents, you were referring to Mirror

    19   Worlds, LLC, as referenced in Stone Exhibit 5, correct?

    20                  ANSWER:     I don't know if the decision was

    21   made at that point as to what company, but there would

    22   be an entity, that this is the ultimate entity.

    23                  QUESTION:     Okay.    And this is a

    24   certificate of formation for Mirror Worlds, LLC, as a

    25   limited liability company in Texas, correct?
Case 16:08-cv-00088-LED ANSWER: Correct.
                         Document 421 Filed 10/20/10 Page 234 of 252 PageID #: 38805
     2                    QUESTION:     And you're listed here as the

     3   managing member, correct?

     4                    ANSWER:     Correct.

     5                    QUESTION:     Okay.     Why did Plainfield

     6   choose to create an entity to hold the patents in Texas?

     7                    ANSWER:     It was on advice of counsel.

     8                    QUESTION:     Do you have an understanding

     9   as to why the name Mirror Worlds, LLC, was reserved in

    10   Texas and then transferred to the Mirror Worlds, LLC,

    11   company?

    12                    ANSWER:     I think I can answer that one.

    13                    You know, Mirror Worlds really was a

    14   tribute to the inventors, particularly David Gelernter.

    15                    QUESTION:     Why do you say that?

    16                    ANSWER:     Why do I say that?      Because

    17   that's what I thought.       He wrote a book called Mirror

    18   Worlds and is a pretty well-known computer scientist and

    19   forward-thinker, and, you know, that's why -- part of

    20   the reason we felt it was important technology.

    21                    QUESTION:     Now, the Mirror Worlds, LLC,

    22   holding company that holds the patents does not have any

    23   employees, correct?

    24                    ANSWER:     Right.     That is my

    25   understanding.
Case 16:08-cv-00088-LED QUESTION: And does
                         Document 421  Filedhave it anyPage
                                             10/20/10   officers
                                                            235 of 252 PageID #: 38806
     2   and directors?

     3                     ANSWER:     I believe it does.

     4                     QUESTION:     And who are the officers and

     5   directors?

     6                     ANSWER:     I believe there are a number of

     7   officers.     I don't know if they're -- I -- I forget,

     8   with the LLC, whether it's officers or directors, but I

     9   believe it's -- you know, Max Holmes, Karen Dykstra, Tom

    10   Fritch, other folks at Plainfield Asset Management.

    11                     QUESTION:     Other than people from

    12   Plainfield Asset Management, are there any officers and

    13   directors in Mirror Worlds, LLC?

    14                     ANSWER:     At this point, I don't believe

    15   so.

    16                     QUESTION:     So from your perspective,

    17   Mirror Worlds, LLC, is basically acting as a holding

    18   company on behalf of Plainfield Asset Management.

    19                     ANSWER:     Yeah.     I would say it's the

    20   opposite.     Plainfield Asset Management manages Mirror

    21   Worlds, LLC, on behalf of Plainfield Specialty

    22   Holdings I.

    23                     QUESTION:     Okay.     Who pays Mirror Worlds,

    24   LLC's taxes?

    25                     ANSWER:     My understanding is that
Case 16:08-cv-00088-LED
         Plainfield pays the expenses
                         Document  421for  Mirror
                                        Filed     Worlds.
                                              10/20/10 Page 236 of 252 PageID #: 38807
     2                     QUESTION:     Who maintains the financial

     3   records for Mirror Worlds, LLC?

     4                     ANSWER:     Plainfield Treasury Department.

     5                     QUESTION:     To the best of your knowledge,

     6   each member identified as the management of Mirror

     7   Worlds, LLC, is an employee of Plainfield Asset

     8   Management, correct?

     9                     ANSWER:     Yes, to the best of my

    10   knowledge.

    11                     QUESTION:     In the case of the Mirror

    12   Worlds patent acquisition, did you or anyone working on

    13   behalf of Plainfield talk to Dr. Gelernter before you

    14   decided to invest in the patents?

    15                     ANSWER:     I did not.

    16                     QUESTION:     Do you know if anyone else

    17   did?

    18                     ANSWER:     I don't believe anybody else at

    19   Plainfield did.

    20                     QUESTION:     What about Mr. Eric Freeman or

    21   Dr. Freeman?

    22                     ANSWER:     Not prior to investing in the

    23   patents.

    24                     QUESTION:     Was it your understanding that

    25   the agreement between Plainfield and Recognition
Case 16:08-cv-00088-LED
         Interface relating to contingent
                         Document         payments
                                   421 Filed        was Page
                                             10/20/10    basically
                                                             237 of 252 PageID #: 38808
     2   a way to distribute revenues generated from the Mirror

     3   Worlds patents?

     4                     ANSWER:     Yes.

     5                     QUESTION:     And Paragraph 2.2 on Page 2 of

     6   Stone Exhibit 7 outlines the distribution of revenues

     7   generated from the Mirror Worlds patents, correct?

     8                     ANSWER:     It outlines the distribution of

     9   the proceeds received from various different types of

    10   contingent payments.

    11                     QUESTION:     Now, Paragraph 2.2A states

    12   that in the event of contingent payments on the Mirror

    13   Worlds patents, or in other words, in the event that

    14   revenue is generated from the patents, the first $5

    15   million is paid to Plainfield, correct?

    16                     ANSWER:     Correct.

    17                     QUESTION:     And then following the $5

    18   million, plus expenses, plus interest, $2.5 million

    19   would get paid to Recognition Interface.

    20                     ANSWER:     Correct.

    21                     QUESTION:     In other words, as part of the

    22   agreement, if Plaintiff is successful in generating

    23   revenues from the patents, Recognition Interface would

    24   make some additional money.

    25                     ANSWER:     Yes.
Case 16:08-cv-00088-LED QUESTION: Now, Filed
                         Document 421  following  the $2.5
                                             10/20/10 Page 238 of 252 PageID #: 38809
     2   million to Recognition Interface and interest, the next

     3   $5 million of any revenues generated from the patents

     4   would come again to Plainfield Specially Holdings,

     5   correct?

     6                     ANSWER:     Correct.

     7                     QUESTION:     Okay.    And then after that,

     8   any additional revenues are distributed according to

     9   Paragraph 2.2D.

    10                     Do you see that?

    11                     ANSWER:     Yes, I see that.

    12                     QUESTION:     And of those additional

    13   revenues, 74 percent would go to Plainfield, correct?

    14                     ANSWER:     Correct.

    15                     QUESTION:     And 19 percent would go back

    16   to Recognition Interface?

    17                     ANSWER:     Correct.

    18                     QUESTION:     2 percent would go to

    19   Mr. Gelernter, Dr. Gelernter?

    20                     ANSWER:     Correct.

    21                     QUESTION:     And Jenner & Block, the law

    22   firm, would receive 5 percent?

    23                     ANSWER:     That's what it says in this

    24   agreement.

    25                     QUESTION:     Why do you say it like that?
Case 16:08-cv-00088-LED ANSWER: Jenner
                         Document      & Block
                                  421 Filed    is no longer
                                            10/20/10 Page 239 of 252 PageID #: 38810
     2   counsel.

     3                    (End of video clip.)

     4                    MR. RANDALL:       Your Honor, the next

     5   witness is also by videotape.          It's Mr. Frank Weil from

     6   Recognition Interface.       It's a 12-minute tape; 7 minutes

     7   32 seconds for Apple, and 4 minutes, 28 seconds for

     8   Mirror Worlds.

     9                    THE COURT:     Okay.     Thank you.

    10                    (Video playing.)

    11                    QUESTION:     Good morning, Mr. Weil.

    12                    ANSWER:     Good morning.

    13                    QUESTION:     When did you first become

    14   aware of the company called Mirror Worlds Technology?

    15                    ANSWER:     I think it was in late 1996.

    16                    QUESTION:     Did there come a time when you

    17   considered investing in Mirror Worlds?

    18                    ANSWER:     Yes.

    19                    QUESTION:     Okay.     And at this time, in

    20   1997, were you affiliated with an entity called Abacus,

    21   LLC?

    22                    ANSWER:     Yes.

    23                    QUESTION:     Were there other investments

    24   that were made that you were involved with through other

    25   mechanisms, other entities and so forth?
Case 16:08-cv-00088-LED ANSWER: Other
                         Document 421 investments   or investors?
                                       Filed 10/20/10  Page 240 of 252 PageID #: 38811
     2                     QUESTION:     Investments by you -- by you

     3   or your family.

     4                     ANSWER:     My investments all were part of

     5   that $9 million.

     6                     QUESTION:     Okay.

     7                     ANSWER:     But other people invested over

     8   the full length of that time, including people who got

     9   there before I was.     It was a company called Richo which

    10   invested before I invested.

    11                     The total investment of all the other

    12   investors through approximately 2004 was approximately

    13   $18 million.

    14                     QUESTION:     You testified you were on the

    15   board.   Were you Chairman of the Board?

    16                     ANSWER:     I think I became Chairman of the

    17   Board, yes.

    18                     QUESTION:     And were you on the board

    19   through the end of Mirror Worlds Technologies?

    20                     ANSWER:     Well, it never really ended.

    21                     QUESTION:     Are you still on the board of

    22   Mirror Worlds Technologies?

    23                     ANSWER:     No.   I am a managing member of a

    24   partnership, a limited liability entity, which now holds

    25   the intellectual -- held the intellectual property that
Case 16:08-cv-00088-LED
         had Mirror Worlds.
                         Document 421 Filed 10/20/10 Page 241 of 252 PageID #: 38812
     2                  QUESTION:     What's the name of that

     3   limited liability entity?

     4                  ANSWER:     Recognition Interface, LLC.   I

     5   believe that's the name of it.

     6                  QUESTION:     And 2000 -- in approximately

     7   the 2004 timeframe, Abacus had invested about $9 million

     8   in Mirror Worlds, correct?

     9                  ANSWER:     Yes.

    10                  QUESTION:     What percentage of the --

    11   roughly, of the assets under management by Abacus did

    12   that investment represent?

    13                  ANSWER:     2-1/2 percent.   Now I'm going to

    14   have to shoot you all.

    15                  QUESTION:     Wait until the deposition is

    16   over.

    17                  So the Mirror Worlds patents were

    18   transferred from Mirror Worlds Technologies to

    19   Recognition Interface, correct?

    20                  ANSWER:     Correct.

    21                  QUESTION:     And what was the approximate

    22   amount of those funds that were provided from

    23   Recognition Interface to Mirror Worlds?

    24                  ANSWER:     Well, first of all, I'm not sure

    25   it was ever provided to Mirror Worlds.      It may have gone
Case 16:08-cv-00088-LED
         directly to the creditors, but Filed
                         Document 421   I'm not  sure. Page 242 of 252 PageID #: 38813
                                              10/20/10
     2                    QUESTION:     Okay.

     3                    ANSWER:     But it was on the order of

     4   magnitude of 250 to $300,000.

     5                    QUESTION:     What is the business of

     6   Recognition Interface today?

     7                    ANSWER:     Recognition Interface today is

     8   a -- holds the residual interest of the intellectual

     9   property that resulted from the transaction with

    10   Plainfield.

    11                    QUESTION:     Going back to Mirror Worlds

    12   Technologies, what was the largest annual revenues,

    13   approximately, for the company?

    14                    ANSWER:     I don't remember.

    15                    QUESTION:     Was it ever over $1 million a

    16   year?

    17                    ANSWER:     I don't think so.

    18                    QUESTION:     You would agree it was never a

    19   commercial success such that it could support the

    20   company -- the Mirror Worlds company's ongoing

    21   operation, right?

    22                    ANSWER:     That is correct.

    23                    QUESTION:     Now, you said -- you testified

    24   that the Scope -- Scopeware product overcame many

    25   obstacles.    What obstacles are you referring to?
Case 16:08-cv-00088-LED ANSWER: Well,
                         Document 421 obstacles  in thePage 243 of 252 PageID #: 38814
                                       Filed 10/20/10
     2   marketplace, among -- among them, the famous defensive

     3   mechanism that large companies in the software business

     4   utilize, which is referred to often as vaporware.      A lot

     5   of companies said:   Don't worry about those upstarts.

     6   We've got something coming better.

     7                   QUESTION:     So would you name some of the

     8   companies that created obstacles?

     9                   ANSWER:     Microsoft, Apple, Google, X1.

    10   It's a long list.

    11                   QUESTION:     Mr. Weil, do you recognize

    12   Exhibit Raich 23?

    13                   ANSWER:     I do, but I don't recollect the

    14   name Azure at all.

    15                   QUESTION:     There's a table at the bottom

    16   of the page, Financial Snapshot, and it shows revenues

    17   and gross profits for 2001 and 2002E and 2003E.

    18                   I'll just draw your attention to -- on

    19   the first page of the document, this is dated April

    20   18th, 2002.   So do you understand the numbers for 2002

    21   and 2003 to be estimates?

    22                   ANSWER:     I think that's what E means.

    23                   QUESTION:     And in 2001, it shows $475,000

    24   in revenue for Mirror Worlds Technologies, correct?

    25                   ANSWER:     Correct.
Case 16:08-cv-00088-LED QUESTION: The 5.8-million-dollar
                         Document 421  Filed 10/20/10 Page 244 of 252 PageID #: 38815
     2   estimate for 2002, based on your testimony earlier that

     3   the revenue never exceeded $1 million, that -- that

     4   never happened, did it?

     5                  ANSWER:     No.

     6                  QUESTION:     Okay.   And the 20.5 million

     7   for 2003, that never happened, did it?

     8                  ANSWER:     No.

     9                  QUESTION:     What is your understanding, as

    10   an investor and member of the board of Mirror Worlds, of

    11   why those estimates were never met?

    12                  ANSWER:     Because the team that Satow

    13   brought and led with the general purpose of trying to

    14   market the product didn't succeed.

    15                  QUESTION:     And what were the reasons that

    16   you are aware of for their failure to succeed in

    17   marketing the product?

    18                  ANSWER:     Some of the reasons we've

    19   discussed, which was increasing awareness in the

    20   marketplace that the major companies were -- would be

    21   coming with major products and perhaps some inadequacies

    22   in the abilities of the people who were doing the job

    23   for the company.

    24                  QUESTION:     Let's mark as Exhibit Weil 6,

    25   a document with Production No. RI-005254.
Case 16:08-cv-00088-LED Mr. Weil, is
                         Document    Exhibit
                                   421        Weil 6 an Page
                                        Filed 10/20/10   e-mail
                                                             245 of 252 PageID #: 38816
     2   from Michael Satow to you?

     3                   ANSWER:     Uh-huh.

     4                   QUESTION:     Sorry.    That's a yes?

     5                   ANSWER:     Yes.   I'm sorry.

     6                   QUESTION:     That's okay.

     7                   And is -- Mr. Satow is bringing your

     8   attention to a new Apple product; is that right?

     9                   ANSWER:     Yes.   That's what it seems to

    10   say.

    11                   QUESTION:     You don't recall ever

    12   personally contacting Apple at all, right?

    13                   ANSWER:     Never, to my -- the best of my

    14   knowledge or recollection, ever had any contact with

    15   Apple at all.

    16                   QUESTION:     Okay.    So why is it that you

    17   contacted Microsoft and Google, and you had your -- and

    18   Yahoo!, and you had your son contact AOL, but you never

    19   contacted Apple?

    20                   ANSWER:     Good question.      I don't have an

    21   answer.

    22                   QUESTION:     Now, the -- focusing on the

    23   Plainfield deal, the -- there was a -- as you testified,

    24   a purchase price component and a -- which you referred

    25   to as a residual component, correct?
Case 16:08-cv-00088-LED And the purchase
                         Document        price
                                   421 Filed   is what's
                                             10/20/10 Page 246 of 252 PageID #: 38817
     2   specified in Section 2 of Exhibit Raich 12, right?

     3                  ANSWER:     Right.

     4                  QUESTION:     Of $5 million dollars?

     5                  ANSWER:     Right.

     6                  QUESTION:     Before we go there, the

     7   5-million-dollar purchase price, that was -- was that

     8   the result of an arm's-length negotiation between

     9   Recognition Interface and Plainfield?

    10                  ANSWER:     Yes.

    11                  QUESTION:     And was Recognition Interface

    12   at some point demand -- or seeking more than a

    13   5-million-dollar purchase price?

    14                  ANSWER:     Oh, the conversation began at

    15   much lower levels.

    16                  QUESTION:     When you say both, you're

    17   referring to Plainfield and Intellectual Ventures?

    18                  ANSWER:     As I said earlier, we were

    19   having parallel conversations.

    20                  QUESTION:     The residual arrangement --

    21   you mentioned earlier that Recognition Interface would

    22   receive a 19-percent residual.        So that's really after

    23   some --

    24                  ANSWER:     Yes.     I said residual.   That

    25   means the end, yes.
Case 16:08-cv-00088-LED QUESTION: Okay.Filed
                         Document 421     So 10/20/10
                                             the 19 percent is of 252 PageID #: 38818
                                                      Page 247
     2   what -- after the first $7.5 million that's received in

     3   a settlement, correct?

     4                     ANSWER:     However we get it, yes.

     5                     QUESTION:     And David Gelernter receives 2

     6   percent, right?

     7                     ANSWER:     Yes.

     8                     QUESTION:     Why did David Gelernter get 2

     9   percent?

    10                     ANSWER:     Because he had a relatively

    11   small residual interest after all the financing in

    12   Mirror Worlds -- or what was Recognition Interface --

    13   everybody agreed, as the inventor -- the original

    14   inventor, he deserved to be cut into this.

    15                     QUESTION:     By the way, was that you that

    16   pushed for Dr. Gelernter to get some of the residual?

    17                     ANSWER:     No.    I think it was originally

    18   pushed for by Plainfield, and I think correctly so, and

    19   I concurred in it.     And in fact, if I remember

    20   correctly, originally, we were to get 20 percent, and we

    21   pitched in 1 percent to make it 2.

    22                     QUESTION:     Is the agreement beginning --

    23   the 2000 purchase agreement beginning at Plainfield

    24   000084 the purchase agreement for the rights to the --

    25   Dr. Gelernter's patent application and related
Case 16:08-cv-00088-LED
         technology?    Document 421 Filed 10/20/10 Page 248 of 252 PageID #: 38819
    2                   ANSWER:     What's the question?

    3                   QUESTION:     Yeah.    In this agreement, the

    4   agreement by which Mirror Worlds acquired --

    5                   ANSWER:     Appears to be.

    6                   QUESTION:     -- the patent rights from --

    7                   ANSWER:     Correct.

    8                   QUESTION:     I had a question for you this

    9   morning about the cost to Mirror Worlds for acquiring

   10   those patent rights.      And if you'd turn to Page 2 of

   11   that agreement, it's 000085, the purchase price is

   12   specified as $598,482.50; is that right?

   13                   ANSWER:     Yes.

   14                   QUESTION:     Okay.    And that was the --

   15   the -- for that purchase price, Mirror Worlds acquired

   16   the entire rights, except for a license back to Yale for

   17   the Mirror Worlds patents, correct?

   18                   ANSWER:     Correct.

   19                   QUESTION:     And those are the patent

   20   rights that you now say are potentially worth millions

   21   of dollars --

   22                   ANSWER:     Yes.

   23                   QUESTION:     -- correct?

   24                   ANSWER:     Yes.   That was in 1999.

   25                   QUESTION:     Yes, that Mirror Worlds
Case 16:08-cv-00088-LED
         acquired the patent rights421
                         Document   to --  that
                                        Filed   it now --
                                              10/20/10    that
                                                       Page 249you
                                                                of 252 PageID #: 38820
     2   now say are worth millions of dollars for $600,000 in

     3   1999.

     4                   ANSWER:     Yes, I stand on it.

     5                   QUESTION:     Okay.    Let's --

     6                   ANSWER:     That was then.    Now is now.

     7                   (End of video clip.)

     8                   MR. RANDALL:     Your Honor, I don't know if

     9   you want to push on.      We have an 8-minute tape, one

    10   8-minute tape right now.

    11                   THE COURT:     No.    I believe we'll recess

    12   for the evening.

    13                   MR. RANDALL:     Okay.

    14                   THE COURT:     Ladies and Gentlemen of the

    15   Jury, thank you again for your hard work today and

    16   attention.   I know it's been another long day.

    17                   The good news is that I think we're

    18   fairly on track to finish the testimony tomorrow, but we

    19   will start at 9:00, and we'll do a short lunch tomorrow,

    20   and then we'll let you go as soon as we finish the

    21   evidence tomorrow.

    22                   And hopefully, we'll be able to get you

    23   out of here a little earlier tomorrow afternoon.        And

    24   then we'll come back on Friday for the closing arguments

    25   and the jury deliberations.
Case 16:08-cv-00088-LED SoDocument
                           with the421
                                    Court's
                                        Filedthanks,
                                              10/20/10you're
                                                        Page 250 of 252 PageID #: 38821
     2   excused.     Please remember my instructions.        Don't

     3   discuss the case among yourselves or with anyone else.

     4   And come Friday, you'll be able to do that, okay?

     5   All right.

     6                     COURT SECURITY OFFICER:        All rise for the

     7   jury.

     8                     THE COURT:     The jury is excused.

     9                     (Jury out.)

    10                     THE COURT:     Please be seated.

    11                     All right.     The parties have any matters

    12   to take up outside the presence of the jury?

    13                     Anything from the Plaintiff?

    14                     MR. CARROLL:     No, Your Honor.

    15                     THE COURT:     Anything from the Defendant?

    16                     MR. RANDALL:     We do want -- need to get

    17   whatever -- the objections, if any, they've got to our

    18   exhibits.     We've exchanged an exhibit list with them

    19   yesterday morning and haven't got a response back.

    20                     THE COURT:     When are they going to have

    21   that, Mr. Carroll?

    22                     MR. CARROLL:     We'll get it to them by

    23   tonight, 7:00 o'clock.

    24                     MR. STEIN:     7:00 o'clock.

    25                     MR. DIAMANTE:     7:00 o'clock.
Case 16:08-cv-00088-LED THE COURT: 421
                         Document   Okay.   Well,
                                        Filed     that should
                                              10/20/10        have
                                                       Page 251 of 252 PageID #: 38822
     2   been in by this morning, so...

     3                     MR. CARROLL:     My apologies to you and our

     4   friends, Your Honor.

     5                     THE COURT:     All right.

     6                     MR. STEIN:     They gave us a substitute

     7   list yesterday.

     8                     THE COURT:     They what?

     9                     MR. STEIN:     They gave us a substitute

    10   shorter list yesterday, so there was a little confusion,

    11   and that's why it was --

    12                     THE COURT:     Okay.   Well, let's get the

    13   confusion resolved and get those in.

    14                     Anything further from the Defendant?

    15                     MR. RANDALL:     The only issue that's

    16   pending is that privilege waiver issue, Your Honor,

    17   that's been fully briefed now, and I don't know when

    18   you'd like to --

    19                     THE COURT:     I'll rule on that in the

    20   morning.

    21                     Okay.   Anything further?

    22                     MR. RANDALL:     No, Your Honor.

    23                     THE COURT:     Okay.   All right.   Let me see

    24   in chambers lead counsel for each side, decision-maker

    25   for each side, and Mr. Patterson.
Case 16:08-cv-00088-LED BeDocument
                           in recess.
                                   421 Filed 10/20/10 Page 252 of 252 PageID #: 38823
     2                  COURT SECURITY OFFICER:     All rise.

     3                  (Court adjourned.)

     4

     5

     6                            CERTIFICATION

     7

     8                  I HEREBY CERTIFY that the foregoing is a

     9   true and correct transcript from the stenographic notes

    10   of the proceedings in the above-entitled matter to the

    11   best of our abilities.

    12

    13

    14   /s/______________________
         SHEA SLOAN, CSR                     Date
    15   Official Court Reporter
         State of Texas No.: 3081
    16   Expiration Date: 12/31/10

    17

    18
         /s/___________________
    19   JUDITH WERLINGER, CSR               Date
         Deputy Official Court Reporter
    20   State of Texas No.: 731
         Expiration Date 12/31/10
    21

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